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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                          )
DAMOND LEE WILLIAMS,                      )
                                          )
            Plaintiff,                    )      Civil Action No. 16-2062 (EGS)
                                          )
            v.                            )
                                          )
U.S. DEPARTMENT OF VETERANS               )
AFFAIRS, et al.,                          )
                                          )
            Defendants.                   )
                                          )

                                 INDEX OF EXHIBITS

Exhibit A   Relevant Excerpts from Plaintiff’s Answers to Defendants’ First Set of
            Interrogatories and Requests for Production of Documents, dated Feb. 1, 2018.

Exhibit B   Relevant Excerpts from the Transcript of the Deposition of Plaintiff, taken March
            4, 2019.

Exhibit C   Relevant Progress Notes regarding VA’s consultations with Plaintiff, dated
            October 29-30, 2013.

Exhibit D   ICU Admit Note dated November 4, 2013, from Harborview Medical Center.

Exhibit E   Form SF-95 and Supplement, dated October 1, 2015.

Exhibit F   Expert Report of Fernando A. Porter, M.D., dated August 15, 2018.

Exhibit G   Expert Report of Robert W. Macht, M.D., dated January 9, 2018.

Exhibit H   Relevant Excerpts from the Transcript of the Deposition of Fernando Porter,
            M.D., taken March 4, 2019.

Exhibit I   Dr. Porter’s Notes, produced by Plaintiff’s counsel on March 25, 2019.

Exhibit J   “Medical Documentation Requirements / Quick Reference Guide – All Regions,”
            produced by Plaintiff’s counsel on March 25, 2019

Exhibit K   “Practice Guidelines for the Diagnosis and Management of Skin and Soft Tissue
            Infections: 2014 Update by the Infectious Diseases Society of America,”
            produced by Plaintiff’s counsel on March 25, 2019.
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                EXHIBIT A
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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
      _______________________________
                                      )
DAMOND LEE WILLIAMS,                  )
                                      )
                   Plaintiff,         )
                                      )
v.                                    ) Civil Action No. 16-2062 (EGS)
                                      )
U.S. DEPARTMENT OF VETERANS           )
AFFAIRS,                              )
                                      )
                   Defendant.         )
____________________________________)

              PLAINTIFF’S ANSWERS TO DEFENDANT’S FIRST SET OF
            INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
                             DOCUMENTS

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Damond

L. Williams, (hereinafter, referred to as “Plaintiff”) hereby responds to the First Set

of Interrogatories and Production of Documents propounded by the Defendant as

follows:


                                GENERAL RESPONSE

1. Plaintiff's investigation and development of all facts and circumstances relating to
this action is ongoing. These responses and objections are made without prejudice
to, and are not a waiver of, Plaintiff's right to rely on other facts or documents at
trial.

2. By making the accompanying responses and objections to Defendant's requests
for documents and interrogatory, Plaintiff does not waive, and hereby expressly
reserves, its right to assert any and all objections as to the admissibility of such
responses into evidence in this action, or in any other proceedings, on any and all
grounds including, but not limited to, competency, relevancy, materiality, and
privilege. Further, Plaintiff makes the responses and objections herein without in
any way implying that it considers the requests and interrogatory, and responses to
the requests and interrogatory, to be relevant or material to the subject matter of
this action.



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3. Plaintiff will produce responsive documents only to the extent that such
documents are in the possession, custody, or control of Plaintiff, as set forth in the
Federal Rules of Civil Procedure. Plaintiff's possession, custody, or control does not
include any constructive possession that may be conferred by Plaintiff's right or
power to compel the production of documents or information from third parties.

4. A response to a document request or interrogatory stating that objections and/or
indicating that documents will be produced shall not be deemed or construed that
there are, in fact, responsive documents, that Plaintiff performed any of the acts
described in the document request, interrogatory, or definitions and/or instructions
applicable to the document request or interrogatory, or that Plaintiff acquiesces in
the characterization of the conduct or activities contained in the document request,
interrogatory, or definitions and/or instructions applicable to the document request
or interrogatory.

5. Plaintiff expressly reserves the right to supplement, clarify, revise, or correct any
or all of the responses and objections herein, and to assert additional objections or
privileges, in one or more subsequent supplemental response(s).

6. Plaintiff will make available for inspection at Plaintiff's offices responsive
documents. Alternatively, Plaintiff will produce copies of the documents.

7. Publicly available documents including, but not limited to, newspaper clippings,
court papers, and documents available on the Internet, will not be produced.

                                GENERAL OBJECTIONS

1. Plaintiff objects to each instruction, definition, document request, and
interrogatory to the extent that it purports to impose any requirement or discovery
obligation greater than or different from those under the Federal Rules of Civil
Procedure and the applicable Rules and Orders of the Court.

2. Plaintiff objects to each document request and interrogatory that is overly broad,
unduly burdensome, or not reasonably calculated to lead to the discovery of
admissible evidence.

3. Plaintiff objects to each document request to the extent that it calls for production
of a privilege log for internal documents of Plaintiff. A request for such a log is
unreasonable and unduly burdensome in light of the work product doctrine,
governmental deliberative process privilege, and other privileges protecting such
internal documents from discovery.

4. Plaintiff objects to each instruction, definition, document request, and
interrogatory to the extent that it seeks documents protected from disclosure by the
attorney-client privilege, deliberative process privilege, attorney work product



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doctrine, or any other applicable privilege. Should any such disclosure by Plaintiff
occur, it is inadvertent and shall not constitute a waiver of any privilege.

5. Plaintiff objects to each instruction, definition, document request, and
interrogatory as overbroad and unduly burdensome to the extent it seeks
documents or information that are readily or more accessible to Defendant from
Defendant's own files, from documents or information in Defendant's possession, or
from documents or information that Defendant previously produced to Plaintiff.
Responding to such requests and interrogatory would be oppressive, unduly
burdensome, and unnecessarily expensive, and the burden of responding to such
requests and interrogatory is substantially the same or less for Defendant as for
Plaintiff. This objection encompasses, but is not limited to, documents and answers
to interrogatories previously produced by Defendant to Plaintiff in the course of
Plaintiff's administrative petition, all correspondence between the Plaintiff and
Defendant, all other information provided by Defendant to Plaintiff, and all
information produced by Plaintiff to Defendant in response to discovery requests of
Defendant. All such documents and information will not be produced.

6. Defendant's document requests and interrogatory call for the production of
documents and information that were produced to the Plaintiff by other entities and
that may contain confidential, proprietary, or trade secret information.

7. To the extent any of Defendant's document requests or its interrogatory seek
documents or answers that include expert material, including but not limited to
survey materials, Plaintiff objects to any such requests and interrogatory as
premature and expressly reserves the right to supplement, clarify, revise, or correct
any or all responses to such requests, and to assert additional objections or
privileges, in one or more subsequent supplemental response(s) in accordance with
the time period for exchanging expert reports set by the Court.

8. Plaintiff incorporates by reference every general objection set forth above into
each specific response set forth below. A specific response may repeat a general
objection for emphasis or some other reason. The failure to include any general
objection in any specific response does not waive any general objection to that
request. Moreover, Plaintiff does not waive its right to amend its responses.

9. The inadvertent provision of information or the production by Plaintiff of
documents pursuant to Fed. R. Civ. P. 33(d) containing information protected from
discovery by the attorney-client privilege, work product doctrine or any other
applicable privilege, shall not constitute a waiver of such privileges with respect to
that information or those or any other documents. In the event that inadvertent
production occurs, the Defendant shall return all inadvertently produced
documents to the Plaintiff upon request, and/or shall make no use of the contents of
such information or documents nor premise any further discovery on information
learned therefrom.



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10. Plaintiff objects to any interrogatory to the extent that it purports to impose
upon him any obligation beyond those imposed by the Federal Rules of Civil
Procedure, including, but not limited to, any interrogatory that exceeds the scope of
Federal Rules of Civil Procedure 26(b) and 33.



               OBJECTIONS AND ANSWERS TO INTERROGATORIES

1. Identify each person who has knowledge of facts or evidence relevant to the claims
and allegations raised in your complaint and describe in detail the knowledge you
believe he or she may have.

Answer to Interrogatory # 1

A.      Charley Hammel, RN - In a non-clinical setting she saw Plaintiff before and
on October 30, 2013, and based on Plaintiff’s appearance she advised Plaintiff to go
to the VA for evaluation and treatment.

B.      Nicole Allen - She is a friend of Plaintiff who sees him frequently. She has
observed the adverse impact on Plaintiff; post incident, when he performs activities
of daily living. She has observed when he is suffering chronic swelling, stiffness, and
pain as result of the injuries sustained from his claims in this action.

C.      Alek Laroche – Friend of Plaintiff wh has observed the adverse impact on
Plaintiff; post incident, when he performs activities of daily living. He has observed
when Plaintiff is suffering chronic swelling, stiffness, and pain as result of the
injuries sustained from his claims in this action.

D.     Charmayne Tyler Jackson, BN, MPH – Plaintiff’s mother whom he barrowed a
cane from to go to the VA for evaluation and treatment at the VA on October 30,
2013. She also flew out to Washington state to be with Plaintiff when he was
discharged from the hospital. She provided care for him during the period of being
discharged until he was in stable enough condition to fly back to Maryland. She also
was present for many of his therapy visits at the VA.

E.     Maureen Toler – Friend of Plaintiff who was present with Plaintiff post
incident and observed him attempting to regain his physical fitness and the
challenges he faced.

F.    Samuel Fields – Plaintiff’s professional manager in Miami Florida from May
2016 – December 2017, who witnessed Plaintiff performing his job duties with
apparent limitations.




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G.    Dean Robinette – Plaintiff’s work supervisor in Indianapolis, IN, from
October 2014 – May 2016. He witnessed Plaintiff performing his job duties with
apparent limitations.

H.    Mamie Brown – Plaintiff’s friend who has know him for over 20 years. She
provided care and comfort while he was recovering from his injuries.

VA Staff members who provided care for Plaintiff.

2. Identify all non-expert witnesses whom you may call at the trial of this action and
describe in detail the subject matter of his or her expected testimony.

Answer to Interrogatory # 2

A-H provided in Answer #1 and Plaintiff.

3. Identify every injury or impairment, whether physical, mental or psychological, that
you allege you have suffered as a result of Defendant’s actions.

Answer to Interrogatory #3

All of the treatment that Plaintiff underwent at Providence Regional Medical Center
and Harborview Medical Center as stated in his administrative claim, complaint, and
the medical treatment notes.

Subsequently Plaintiff underwent months of physical therapy. During this period
where he could not work and thereafter he suffered depression.

Plaintiff’s desire was to leave the field as an aircraft maintenance engineer and start
his own physical fitness training company. However, the injuries suffered as a
result of Defendant’s negligence has severely limited his mobility and durability as it
relates to physical fitness training.

Plaintiff has long-term nerve damage and chronic swelling and stiffness from his left
kneecap down to his foot. Due to the chronic edema Plaintiff has chronic swelling in
his left.

Plaintiff has also suffered serve damage to his lymphatic system. In addition, his
right foot and ankle are becoming impaired because they over compensate for
limitations in his left leg.

As Plaintiff ages these problems will only become more significant

4. Identify every medical provider who treated you in connection with your infection
beginning in or around October 2013.



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Answer to Interrogatory #4

Except for life saving and sustaining measures in Washington state all of Plaintiff’s
treatment related to this cause of action was at and through the VA.

5. Identify all financial and non-financial damages you claim to have sustained as a
result of Defendant’s actions and give a line-by-line accounting, itemizing any losses or
expenses which you claim were incurred by you, or on your behalf, as a result of your
injury.

Answer to Interrogatory #5

Plaintiff has actual medical expenses of sixty-three dollars ($62,063.00 USD) with
sixteen thousand dollars ($16,000.00 USD) from Providence Regional Medical
Center and forty five thousand dollars ($45,000.00 USD) from Harborview Medical
Center.

Plaintiff was unable to work from on or about November 4, 2013 – June 2014 until
because he was either in the hospital, in therapy, or recovering from his injuries.

After being discharged from the hospital in Washington state Plaintiff incurred bills
and living expenses from having to stay in an extended stay hotel because he was
not stable enough to travel.

Plaintiff had a loss of opportunity with not being able to further develop his physical
training fitness company.


6. Describe in detail all efforts you have made to mitigate your alleged damages.

Answer to Interrogatory #6

Plaintiff followed the advice and advisements of the health care professionals
providing him care. He worked really hard in therapy for months, but due to the
nature of his injury there was a limit to how much he actually could recover.

7. If you are claiming compensatory damages for medical conditions, state fully,
precisely, and in detail, each medical condition you allege you are suffering from,
including when you began to suffer from each medical condition and how each
medical condition has affected the quality of your life.

Answer to Interrogatory #7

All of these issues arose for Plaintiff, after Defendant’s negligence gave rise to
Plaintiff’s underlying cause of action. See Plaintiff’s Answer to Interrogatory #3.



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Also note:
Limitations with long walks and running. Left leg is not stable due to muscle
detrition and atrophy. Constant swelling in Plaintiff’s left foot. At times he cannot
put his shoe on. He must daily wear compression socks on his left foot to mitigate
swelling.

On flights over an hour, Plaintiff experiences pain and swelling in his left leg.
Plaintiff has to apply ice to his foot and elevate it because of the swelling.

Moreover, this event had taken a psychological toll on Plaintiff. He constantly
struggles with the fact that his body was negatively impacted due to someone else’s
professional failures.

8. Identify every medical provider you have seen for any reason since January 1, 2007.

Answer to Interrogatory #8

Objection. Overly broad and relevance.

To the best of Plaintiff’s knowledge:

British Columbia, Canada – 2008 -2009 Check-ups and physicals. Plaintiff cannot
recall the providers name.

Tucson, Arizona, 2007-2008 Check-ups and physicals. Plaintiff cannot recall the
providers name.


Dr. Anderson (Dentist)
259 Peninsula Farm Road, Suite 269
Arnold, MD 21012 On or about August/September 2013 – tooth extraction.

Atlas Orthopedics & Sports Medicine
36600 Guion Road, Suite 230
Indianapolis, IN 46222 2/24/2015

Philip D. Zarcteas Ph.D., M.D.
9240 North Meridan Street
Suite 650
Indianapolis, IN 46260-1849 3/4/2015

Every other health care provider was through the VA

9. Identify all other instances since January 1, 2007, in which you suffered from an
infection regardless of whether medical treatment was sought for same.



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Answer to Interrogatory #9

Tooth infection August/September 2013. Tooth was extracted by Dr. Anderson’s
office listed above.


10. Describe in detail all of your employment and sources of income since January 1,
2012.

Answer to Interrogatory #10

On or about January 2012 Plaintiff was laid-off from Gulfstream Aerospace on
Andrews Air Force Base.

Subsequently Plaintiff began working independently as a personal physical fitness
trainer – On or about January 2012 – October 2013.

Launch Aerospace – Wilmington, OH On or about June 2014 – September 2014

Triumph /NAAS Field Division On or about October 2014 – Present (Indianapolis, IN
and Miami, FL)

11. State whether you have ever filed or been a party or witness to a lawsuit, and if so,
identify the lawsuit and your involvement in it.

Answer to Interrogatory #11

Plaintiff has not, to the best of his knowledge.

12. Identify and describe in detail every act and/or omission of the Agency which you
contend constitutes the basis of your claims in this action.

Answer to Interrogatory #12

NP McGarrah failed to diagnosis Plaintiff and order the appropriate labs.
Defendant’s NP level of care and attention to detail is reflected in the fact that in her
treatment notes she does not even mention the fact that Plaintiff was using a cane to
assist him with walking or the swelling in his left foot/ankle area.

NP. McGarrah was not appropriately supervised.

13. For each alleged act or omission described in your response to interrogatory 12,
describe in detail each and every factual basis you allege supports your allegations
that the Agency’s acts or omissions were negligent.

Answer to Interrogatory #13


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VA protocol and healthcare guidelines dictate that Defendant’s NP McGarrah, should
have at least ordered labs and performed an oral examination on Plaintiff during his
visit. Defendant’s failure to both was negligent.

Plaintiff has a good faith belief and understanding that NP McGarrah had
professional restrictions that prohibited from providing patient care without
oversight.

14. Describe in detail your recollection of your medical visit on October 30, 2013.

Answer to Interrogatory #14

Plaintiff went to the VA because he was experiencing swelling in his jaw, throat and
left foot. He arrived to the VA using a cane to walk because the swelling had
impacted his ability to walk without support. He was checked in.. The admitting
nurse checked his vitals and advised all questions would be answered by the nurse
practitioner.

Plaintiff’s visit with NP McGarrah lasted for approximately ten (10) minutes. She
checked Plaintiff’s temperature, and advised it was high. She attempted to do an
exam on check his ears, nose, and throat but the office equipment (otoscope) was
not working properly. She was about to exit the room to get another device to check
Plaintiff’s ears, nose and throat but she never did. She stopped before she left the
room, and she said: “fuck it, I am not supposed to do this.” She walked back toward
Plaintiff touched his neck where the lymph are and never performed a clinical oral
exam, to inspect Plaintiff’s throat.” Finally, she wrote Plaintiff a script.

NP McGarrah also counseled Plaintiff on drug and prescription pill abuse because
she thought he was drug seeking. This was odd to Plaintiff because he has never
intentionally used tobacco, alcohol, or partaken in recreational drug use.


15. State the factual basis for your contention that the Agency acted negligently as
alleged in your complaint, see ¶¶ 17-41.

Answer to Interrogatory #15

See Plaintiff’s Answers to Interrogatories #13 and 14, respectively.

Moreover, please note:
Plaintiff has a good faith belief that NP McGarrah had professional restrictions on
her ability to provide care. She was not supposed to be treating or providing care to
patients without direct oversight. Defendant is the actor who placed NP McGarrah
on restrictions but they allowed her to evaluate and treat Plaintiff without
supervision.


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In NP McGarrah’s treatment notes it states that the ear nose and throat exam was
unremarkable. In fact, she never performed it because the equipment (otoscope)
was faulty and she elected not to get another one. Without performing a complete
thorough exam she prescribed medication.

16. State the factual basis for your contention that the Agency negligently supervised
staff as alleged in your complaint, see ¶¶ 42-48.

Answer to Interrogatory #16

See Plaintiff’s Answers to Interrogatories #13, #14, and #15.

17. State the factual basis for your contention that the Agency’s acts or omissions were
the cause of your damages sought in this lawsuit.

Answer to Interrogatory #17

See Plaintiff’s Answers to Interrogatories #13, #14, and #15.


        I have read the foregoing Responses, which are based on a diligent and
reasonable effort by me to obtain information currently available. I reserve the
right to make changes in or additions to any of these answers if it appears at any
time that errors or omissions have been made or if more accurate or complete
information becomes available. Subject to these limitations, these Responses are
true to the best of my present knowledge, information, and belief.



       ______________                                      ________ __/s/________________
       Date                                                Damond L. Williams




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Plaintiff does not have private health insurance coverage. His care has been
provided by the VA. The other visits were self-pay.

14.   All notes, diaries, journals, or logs regarding the allegations contained in your
complaint.

Plaintiff has none to provide.

15. All documents related to any effort by you to mitigate any alleged damage that
you are claiming in this action.

Plaintiff has none to provide.


        I have read the foregoing Responses, which are based on a diligent and
reasonable effort by me to obtain information currently available. I reserve the
right to make changes in or additions to any of these answers if it appears at any
time that errors or omissions have been made or if more accurate or complete
information becomes available. Subject to these limitations, these Responses are
true to the best of my present knowledge, information, and belief.



       02/01/2018                                         ________ __/s/________________
       Date                                               Damond L. Williams




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                 EXHIBIT B
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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

    - - - - - - - - - - - - - - - - x
                                    :
    DAMOND LEE WILLIAMS,            :
                                    :
                  Plaintiff,        :     Civil Action No.
                                    :     16-2062 (EGS)
            v.                      :
                                    :
    U.S. DEPARTMENT OF VETERANS     :
    AFFAIRS, et al.,                :
                                    :
                  Defendants.       :
                                    :
    - - - - - - - - - - - - - - - - x

                                     Washington, D.C.

                                     Monday, March 4, 2019



    Deposition of:

                           DAMOND LEE WILLIAMS

    a witness of lawful age, taken on behalf of the Defendants

    in the above-entitled action, before Nate Riveness, Notary

    Public in and for the District of Columbia, in the Office of

    the United States Attorney, 501 Third Street, N.W.,

    Washington, D.C. 20005, commencing at 9:51 a.m.




                 Diversified Reporting Services, Inc.

                             (202) 467-9200
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                                                                Page 2
     APPEARANCES:
           On Behalf of the Plaintiff:
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           On Behalf of the Defendants:


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                  Assistant United States Attorney
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                                                               Page 22
1         Q      Yes.

2         A      Around a week.

3         Q      Okay.   And can you please describe that athletic

4    event?

5         A      It’s called a Tough Mudder.   Several miles of

6    obstacle course.

7         Q      And where was this event?

8         A      I don’t remember the exact address.

9         Q      No.    I’m not asking the exact address, but I’d

10   like to know --

11        A      I believe -- I believe it was either in Maryland

12   or Virginia.

13        Q      You don’t recall the --

14        A      I would have to go -- I would have to go into my

15   records and emails, because at that time I was actually in a

16   relationship and she went ahead and made the arrangements

17   for that.

18        Q      Okay.

19        A      So I would have to contact her and get all of the

20   information for that.     But a lot of events, a lot of

21   activities that I took part of, were in either Maryland or

22   Virginia at the time.

23        Q      And how often did you participate in the Tough

24   Mudder events in Maryland or Virginia?

25        A      Tough Mudder was one that I’ve done several, as
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                                                               Page 23
1    far as Tough Mudder, Spartan, and other ones that are

2    smaller or around the same magnitude.     I live a pretty

3    active life, or I try to.

4          Q    How many miles was this Tough Mudder event that

5    you participated in about a week before your visit to the

6    VA?

7          A    I’m guessing that that one was 12, since they all

8    do not have the same length.

9          Q    And what did you do during that event?     I

10   understand the concept of an obstacle course, but can you be

11   a little more specific about the nature of the obstacles and

12   what you are required to do to get through the course?

13         A    Climbing rope, pulling stones, carrying logs,

14   running up hills, running down hills, pulling sleds,

15   climbing walls, that sort of thing.

16         Q    What is the nature of the terrain of that course,

17   if you can remember?

18         A    Woods, nature, forest.

19         Q    And did you experience any injuries during that

20   event?    Again, approximately one week prior to October 30,

21   2013.

22         A    Prior to the event or during the event?

23         Q    Well, we’ll start with during.

24         A    During, I didn’t notice any injuries.

25         Q    And prior to the event?
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                                                               Page 24
1         A     Prior to the event, not one single injury.

2         Q     Did you suffer scrapes on your legs from that

3    event?

4         A     From that event?    A scrape on my foot.

5         Q     Which foot was that?

6         A     Left foot.

7         Q     And what did you do to address that scrape after

8    the event?

9         A     Clean it, shower, clean, take care of yourself.

10        Q     Did you apply a bandage to the scrape on your

11   foot?

12        A     At first, yes.

13        Q     And then it -- you stopped using a bandage?

14        A     When it seemed as if it healed up and stopped

15   bleeding, yes.

16        Q     Do you remember what caused the scrape on your

17   foot?

18        A     A pebble.

19        Q     How did that happen?     You’re wearing footwear

20   during this competition.

21        A     Mm-hmm.

22        Q     Oh.   Pebble was inside the -- inside your shoe?

23        A     Yeah.

24        Q     Did you have any pain or discomfort with a toe

25   after the Tough Mudder event in October of 2013?
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                                                               Page 25
1         A     Do you mean initially or later?

2         Q     Either one.

3         A     Initially, no.   Later, from the same area, yes,

4    within a few days.

5         Q     Can you describe that pain or discomfort with your

6    toe that occurred within a few days of the Tough Mudder

7    competition?

8         A     Well, it wasn’t the toe.   It was actually the

9    foot.    But stiffness, swelling, difficulty to walk.

10        Q     Is this different from the scrape, or is it the

11   same injury as the scrape on the foot that we talked about

12   from the pebble?

13        A     Elaborate?

14        Q     Yeah.   I asked you about if you had any scrapes

15   from the Tough Mudder competition, and you said that you --

16   yes, you had from a pebble that was in your shoe.      Is that

17   right?

18        A     Yeah.

19        Q     Now I’m asking you about if you had any pain or

20   discomfort with a toe, on either foot, from the Tough Mudder

21   competition.

22        A     A few days later --

23              MR. HAMMEL:   Counsel, the question was, was the

24   pain different from the toe with the scrape and the pebble,

25   if they’re different.    That is the question that was
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                                                               Page 32
1    that day?

2           A     What I was wearing?   Particular clothing, don’t

3    know.      But I believe I had on this jacket right here, the

4    same one she gave me.

5           Q     And do you recall how you were walking on that

6    day?

7           A     No.

8           Q     Okay.   Did you carry any instruments with you to

9    assist your walking?

10          A     I believe I had a cane.

11          Q     And where did you get that cane?

12          A     From her.

13          Q     You’re referring to your mother?

14          A     Yes, sir.

15          Q     And whose idea was it to use a cane on that day?

16          A     It was hers.

17          Q     Had you used a cane on the previous day --

18          A     No, sir.

19          Q     -- the 29th?

20          A     No, sir.

21          Q     And are you able to describe what your foot looked

22   like on that day, the 30th of October 2013?

23          A     Stiff, swollen, a little bit of a reddish tint.

24          Q     What area of the foot had a reddish tint?

25          A     Probably three-quarters of it, and a centralized
Case 1:16-cv-02062-EGS Document 44-2 Filed 07/24/19 Page 22 of 131


                                                                 Page 33
1    location was one of where the pebble had scraped my skin.

2         Q      Which was the part of the foot that did not have a

3    reddish tint?

4         A      To be honest, I can’t recollect as far as the back

5    side of where my heel was.    But at that time, I know what I

6    was looking at was the top portion of my foot.

7         Q      And you’re saying three-quarters --

8         A      Three-quarters where I can see was miscolored.

9         Q      And how would you describe the swelling on your

10   left foot on that day?

11        A      Noticeable.

12        Q      Okay.   You entered the VA Medical Center at

13   50 Irving Street on October 30, 2013.     And then what

14   happened?

15        A      I went to be seen.    The first nurse saw me.

16        Q      Where was this?   Was it on the main floor, or do

17   you go to another floor?

18        A      It was a couple of floors up.

19        Q      Okay.   And how did you get to that floor?

20        A      I limped, elevator.

21        Q      Had you been there before?

22        A      I’ve been to that hospital numerous times,

23   relatives.

24        Q      Was this the first time that you were seeking

25   treatment at that hospital?
Case 1:16-cv-02062-EGS Document 44-2 Filed 07/24/19 Page 23 of 131


                                                               Page 34
1         A    Yes, sir.   From the best of my knowledge.

2         Q    So did you know where to go when you entered?

3         A    Initially, no.    Help Desk at the front told me

4    where I had to go.

5         Q    So I guess you then went to the place where you

6    were directed and you checked in, or what happened?

7         A    I believe I gave my information, and she

8    was -- she told me that someone will be there to see me.

9    They called my name, and that’s when I ended up seeing the

10   first nurse after my name was called, waiting in the room.

11   She saw me, took my temperature, told me it was high.

12        Q    Okay.   Did you mention anything to her at that

13   point about your medical conditions on that day?      Or was she

14   simply there to take your vital signs?

15        A    I told her the issues that I had.     Sorry.   I told

16   her the issues that I had.    I told her that I had problems

17   walking, problem swallowing, that my foot was swollen, and

18   those were the reasons why she examined me in one -- the

19   first nurse.

20        Q    Okay.   So the first nurse took what action in

21   response to your mentioning of those medical conditions?

22   You said took your temperature.

23        A    Mm-hmm.

24        Q    Anything else?

25        A    Took my temperature, looked at my foot, checked my
Case 1:16-cv-02062-EGS Document 44-2 Filed 07/24/19 Page 24 of 131


                                                               Page 35
1    -- she looked in -- I believe she checked my temperature,

2    and I can’t recollect that she looked at my foot or not.

3         Q    Okay.   We’re still with the first nurse.     Took

4    your temperature.   Do you recall taking your shoes off and

5    socks off?

6         A    I can’t remember if I -- I can’t remember if I

7    took my shoes and socks off at that time.

8         Q    And how long were you with this first nurse?

9         A    Only a matter of minutes.

10        Q    And there came a time where you met another nurse

11   practitioner?

12        A    After I was told to wait for her to see me.

13        Q    Okay.   And you -- I guess your name got called

14   again, and did you go back to the same room, or a different

15   room?

16        A    Different room.

17        Q    And do you recall the name of the nurse

18   practitioner that you saw in this second room?

19        A    I don’t remember her name.     Off the top of my

20   head, I don’t remember her name.

21        Q    And what did you say to her when you I guess were

22   asked -- did she ask you, look, why are you here? Or maybe -

23   -

24        A    I told her I had a problem swallowing, told her my

25   foot was swollen, that I didn’t feel well, and that my right
Case 1:16-cv-02062-EGS Document 44-2 Filed 07/24/19 Page 25 of 131


                                                               Page 36
1    arm was actually getting stiff, and my neck was swollen.

2    And that was also added to my foot being swollen.

3           Q     Can you repeat that last thing you said?

4           A     And that was also in addition to my foot being

5    swollen?

6           Q     Yeah.   Okay.   And after you mentioned this to the

7    nurse practitioner, what did she do?

8           A     She took a look at my foot.   She also reached

9    forward and touched my neck, my glands in my neck area,

10   right here.

11          Q     I want the record to show that he used one finger

12   from each hand and pointed directly to his neck under his

13   chin.      Is that a fair characterization of the gesture you

14   made?

15          A     Yes, sir.   Do you want me to continue?

16          Q     Yes, please.

17          A     She checked under there.   She asked me if -- she

18   asked me when was the last time I had my -- my glands

19   checked.     I said, “I don’t know.”    She said, “You should get

20   them checked because they look spongy.”

21          Q     Okay.   I’d like you to continue if there’s more to

22   say.

23          A     Okay.   So she continued -- she continued writing.

24   Then she went over to the wall to grab the device for the

25   ear, nose, and throat.       She went to turn the light on, and
Case 1:16-cv-02062-EGS Document 44-2 Filed 07/24/19 Page 26 of 131


                                                               Page 38
1         Q     Why don’t we stop at that point.

2         A     Okay.

3         Q     And I’ll ask you some follow-ups.      So it’s your

4    testimony that with the second nurse you did take off your

5    shoes and socks?

6               MR. HAMMEL:    Nurse practitioner, counsel, right?

7               MR. CIRINO:    Correct.   Nurse practitioner.

8               THE WITNESS:   The nurse practitioner, yes.

9               BY MR. CIRINO:

10        Q     Okay.   Did you take both shoes and socks off, on

11   both feet or only your left foot?      Do you recall?

12        A     I don’t remember if I took the right one off, but

13   I know I took the left one off.

14        Q     Okay.   And you said you mentioned that you had

15   stiffness in your right arm --

16        A     Mm-hmm.

17        Q     -- as well?

18        A     Right shoulder.

19        Q     Do you know what the nurse practitioner was

20   writing down?   You mentioned you saw her writing things

21   down.    Do you know what that was?

22        A     What she was writing down other than the

23   penicillin G, I can’t recollect.      I cannot recollect -- me

24   as a patient, whenever I go into a facility to see any type

25   of medical professional, I assume what they’re writing is
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                                                                Page 44
1         A    I went to the first floor of the building where

2    they take your prescription and -- where they take your

3    prescription and they -- you get on the waiting list to have

4    your name called out.   And I gave the guy my prescription,

5    asked him how long it would take, and they were busy that

6    day and he said anywhere between 30 to 40 minutes.

7              And I’m not the -- and I’m the type that I’ll wait

8    my time in line.   So since it was a wait, I said thank you,

9    I turned around to go sit down.    He saw how much pain I was

10   in, and he went ahead and gave me my prescription within

11   less than five minutes.

12        Q    You’re referring to him in your answer.      Is that

13   the pharmacist?

14        A    Yes, sir.   What I would suspect of the pharmacist

15   that’s on the first floor.

16        Q    Now, did the nurse practitioner -- what did she

17   say about your foot when she examined it?

18        A    I don’t remember her -- I don’t remember her

19   making a statement of it’s swollen or not.     As far as

20   remarks towards my physical presence that day, I believe

21   that she -- like I said before, she did mention that I

22   should get my glands checked because they seemed swollen or

23   spongy.

24             As far as her making a remark for my foot, I don’t

25   remember her making any remark on the foot at this current
Case 1:16-cv-02062-EGS Document 44-2 Filed 07/24/19 Page 28 of 131


                                                               Page 45
1    time.

2         Q     Did you ask the nurse practitioner to take some

3    tests of any kind?

4         A     Again, me being a patient, for me to -- for me to

5    recommend testing, it’s not of my profession.     It’s not my

6    specificity.     So when you go and I go, like anyone else,

7    into a medical facility to get something checked out, it is

8    not in my responsibility to say I need this done, I need --

9    or that done.    It’s up to my trust within the medical

10   profession -- that I go to the medical professional and say,

11   “Hey, I have this problem.”    If they tell me that I should

12   take this pill or that pill, I have to trust that hospital.

13   I have to trust that practitioner to do so.

14              So it’s the trust that I have towards her to sit

15   there and to have me say, if I need testing, she will have -

16   - she or he will have -- will tell me that I have to get

17   tested for this or -- or whatever ailment I come in there

18   with.    So if they haven’t told me to get tested, it’s not my

19   responsibility to go tell them I need to get tested.

20        Q     Okay.   I understand your answer.   My question was

21   very specific was, did you ask for any tests while you were

22   with the nurse practitioner?

23        A     No.

24        Q     So the pharmacist handed you the medication, and

25   then what happened, where did you go?
Case 1:16-cv-02062-EGS Document 44-2 Filed 07/24/19 Page 29 of 131


                                                               Page 46
1         A    I believe there was a Starbucks in the lobby. I

2    was going to wait in line to go to the Starbucks, and the

3    line was too long, and they were talking way too much.      So I

4    went to the water fountain in the lobby and used that for my

5    first pill.

6         Q    Okay.    And then did you remain in the hospital, or

7    did you leave?

8         A    I left.

9         Q    Okay.    Where did you go?

10        A    I went to my cousin’s place, rested there until I

11   had to return back to the hospital to pick up my mother.

12        Q    And approximately where is your cousin’s place?

13        A    The exact address I can’t really say, but -- well,

14   I don’t remember the exact address at the moment, but on

15   Peabody Street, Northwest.

16        Q    What is your cousin’s name?

17        A    Shawn.

18        Q    And the last name?

19        A    I don’t want to be incorrect.     I can’t remember

20   her last name at the moment.    I believe she got married at

21   one point.

22        Q    So later in the day you returned to the hospital?

23        A    Yes, sir.

24        Q    And picked up your mother and drove back to your

25   home.
Case 1:16-cv-02062-EGS Document 44-2 Filed 07/24/19 Page 30 of 131


                                                                Page 47
1         A      Back to her place, yes, sir.

2         Q      Back to her place.   Anything eventful for the rest

3    of that day?   And, again, talking specifically about October

4    30, 2013.

5         A      Other than still being in pain and discomfort, I

6    don’t remember.     The only thing I would remember is

7    confirming my dates to travel and get things out of storage.

8         Q      All right.   Well, let’s move on, then, to the

9    following day.      Let’s take the next few days together if we

10   could, October 31, November 1, November 2, do you recall on

11   which day you traveled?

12        A      That weekend, as far as like the exact day, I

13   don’t remember the exact day that I traveled, but I did

14   travel to Seattle.

15        Q      So if October 30 is a Wednesday, October 31 is a

16   Thursday, November 1 is a Friday, when do you think you

17   boarded a plane to Seattle?

18        A      I think I boarded the plane on that Friday.

19        Q      Okay.   That’s November 1st.   Do you recall

20   anything eventful on the day before the flight?

21        A      Still feeling bad.   Not really much improvement.

22   The swelling seemed to still be there.

23        Q      How about the pain in and around the neck area?

24        A      It seemed about the same.

25        Q      Okay.   And you continued taking the medication on
Case 1:16-cv-02062-EGS Document 44-2 Filed 07/24/19 Page 31 of 131


                                                               Page 51
1    but we can -- we can --

2         A      Okay.

3         Q      -- get into that.   But so you checked into, was it

4    Providence Medical Center?

5         A      In Everett, Washington, yes.

6         Q      Okay.   And what prompted you to go to that

7    hospital?

8         A      Because a friend of mine wanted me to go to the

9    hospital the day before, and I told her, I said, “If I feel

10   the same or worse when I wake up, then we’re going to the

11   hospital.”   So because I was feeling worse when I woke up, I

12   told her, I said, “We need to go to the hospital.”

13        Q      And what is your friend’s name?

14        A      Judy Firomski.

15        Q      Perhaps you should spell the last name --

16        A      I can --

17        Q      -- for the Court Reporter.   Sure.   Feel free to

18   take out your phone and spell it accurately.

19               THE COURT REPORTER:   I can get it at the end if

20   you want.

21               THE WITNESS:   F-i-r-o-m-s-k-i.

22               BY MR. CIRINO:

23        Q      And what do you recall about your time at the --

24   at Providence Medical Center in Everett?      You --

25        A      Do you want my initial getting in there?
Case 1:16-cv-02062-EGS Document 44-2 Filed 07/24/19 Page 32 of 131


                                                               Page 52
1         Q      You went there, you -- and then what did you do?

2         A      She drove me to the front door.   Well, she drove

3    me to the curb by the front door.    She asked if I needed

4    help getting in.    I told her, “I’ll make it to the front;

5    park the car.”     She went to go park the car. I went into the

6    hospital.   I dragged my leg because I could no longer stand

7    on it, but put really good pressure on it, walking like a

8    zombie.

9                At this moment, I could not fit a shoe on any

10   more.    So it would leave a -- through the socks that I had

11   on, it left a lime green trail, like a snail, from the curb

12   to the front desk.

13        Q      Did you have your cane with you at this moment?

14        A      Yes.   To the best of my ability, yes.

15        Q      And what did they tell you at Providence Medical

16   Center?

17        A      Well, initially, the lady at the front, she told

18   me -- she asked me if she could check my temperature.      After

19   she checked my temperature, she asked if she could check it

20   again because it was reading high.    She checked it the

21   second time.   When she checked it the second time, she told

22   me that it actually got higher from that moment, from the

23   first to the second.

24               They admitted me, so after they admitted me I went

25   to the room.   The doctor that was in the room, I asked if he
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                 EXHIBIT C
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Progress Notes                                                                                                   Printed On Dec 11, 2017

           ADDITIONAL COMMENTS/INFORMATION:

           MAL nurse received call from patient's mother requesting a call from PCP at
           her earliest convenience. Pt was admitted to Harbard Hospital in Seattle,
           WA. Stated pt's WBC's 40,000. Note forwarded to PCP.


           ++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++
           Call Type: MESSAGE TO PROVIDER.
           Facility Appointed PCP: LIPSCOMBE,DAWN K (GB CBOC TWO )
           No Associate Provider Identified

           Caller Response: *OTHER.

           Protocol(s) used: <Not identified>.


           Evaluation/Management Code: HC PRO PHONE CALL 5-10 MIN (98966).
           Starting at: 11/4/2013 @ 8:53:18 AM
           Ending at: 11/4/2013 @ 8:56:57 AM
           Length: 3 minutes.
           Author: CALHOUN,PAMELA T
           Conversation with OTHER indicates that WILLIAMS,DAMOND LEE has a chief
           complaint of: Not applicable to call.

           Identified problem: OTHER UNSPECIFIED COUNSELING.

           The following identifiers were used to verify this patient:                                    SSN.

           /es/ Pamela T Calhoun
           RN STAFF
           Signed: 11/04/2013 08:57

           Receipt Acknowledged By:
           11/05/2013 09:29         /es/ naveena SOMPALLI
                                         PHYSICIAN

            LOCAL TITLE: PRIMARY CARE NURSING TRIAGE NOTE
           STANDARD TITLE: PRIMARY CARE NURSING TRIAGE NOTE
           DATE OF NOTE: OCT 30, 2013@08:46     ENTRY DATE: OCT 30, 2013@08:46:52
                 AUTHOR: GRAY,ARLEEN T        EXP COSIGNER:
                URGENCY:                            STATUS: COMPLETED

                *** PRIMARY CARE NURSING TRIAGE NOTE Has ADDENDA ***

           Age: 38

           Chief Complaint (include date of onset):c/o pain and swelling of neck and jaw

PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)   VISTA Electronic Medical Documentation
WILLIAMS,DAMOND LEE                                              Printed at WASHINGTON VA MEDICAL CENTER
11202 WILLOW COURT
CLINTON, MARYLAND 20735



                                                                                                                                Page 58
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Progress Notes                                                                                              Printed On Dec 11, 2017
           from infected tooth rt. lower molar x 4 days.

           Vital Signs:
              BP: 116/72 (10/30/13)                      P: 95 (10/30/13)                     R: 20 (10/30/13)
             WT:                                        T: 97.7 (10/30/13)                   HT:

              SpO2:100% RA

           History: (PMH)
             Asthma (Icd-9-cm 493.90)
             Back pain: duration > 3 months (Icd-9-cm 799.9)
             Health Maintenance (Icd-9-cm V65.9)
             Hypercholesterolemia (Icd-9-cm 272.0)
             Syphilis (Icd-9-cm 097.9)
             w/ Mixed Emotions (Icd-9-cm 309.28)

           [] Tobacco user. Smoking cessation counseling done.

           Clinical Observation (include signs & symptoms):A&O x3. NAD. slight swelling
           rt side of jaw.

           Medications: No records found.

           Over-the-counter drugs:Benadyl, Ibuprofen

           Triage protocols/interventions: Ms. McGarrah informed. Pt asked to wait in
           waiting area. Pt. verbalized undertanding.

           Labs/x-rays ordered:

           Patient Disposition: to pt waiting area.
             Pain Assessment:
               Pain Intensity Score
               Pain Location: neck, jaw,
               Previous Pain Score: 0 (09/10/2013 10:37)
               Pain intensity score now:
                 7
               PAIN EDUCATION PROVIDED TO:
               Patient
               PAIN TOPICS DISCUSSED:
               Cause(s) of pain
               Assessing and reporting pain
               Pain intensity scale
               Importance of effective pain management
               Pain management with medications
               .
                 Level of Understanding: Good
               Medications
                 Comment: benadryl, ibuprofen
               EFFECTIVENESS OF CURRENT PAIN MANAGEMENT
PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)   VISTA Electronic Medical Documentation
WILLIAMS,DAMOND LEE                                              Printed at WASHINGTON VA MEDICAL CENTER
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Progress Notes                                                                                               Printed On Dec 11, 2017
                  Patient NOT satisfied with pain control.                           Accepts referral to a
                  provider.



           /es/ arleen t GRAY
           RN STAFF
           Signed: 10/30/2013 08:56

           Receipt Acknowledged By:
           10/30/2013 09:19         /es/ MARGUERITE MCGARRAH,NP
                                         MWM//

           10/30/2013 ADDENDUM                      STATUS: COMPLETED
           Pt c/o pain and infection x 2 weeks s/p root canal.

           mouth; unremarkable; no pus, no gum edema; has past hx of requesting antibx for
           dental.


           a/p:
           --
           PenVK ordered
           R ant cerv LAD
           thyroid feels puffy.

           /es/ MARGUERITE MCGARRAH,NP
           MWM//
           Signed: 10/30/2013 09:33

           10/30/2013 ADDENDUM                                               STATUS: COMPLETED
           Note signed prematurely.

           HPI:
           ---
           Pt has hx requesting antibx for dental issues.
           Pt states that hhe will see his dentist in 6 days. States dentist refused to
           order antibx w/o seeing him.

           Exam:
           ------
           Neck: Right side: 1+ puffiness;cannot appreciate A/C lymph nodes; puffiness
           extends around to thyroid.

           Dentition:
           -- R lower molar. No gum edema, no erythema, no pus. NO lesions.
           his dentist in 6 days.

           A/P
           ----
PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)   VISTA Electronic Medical Documentation
WILLIAMS,DAMOND LEE                                              Printed at WASHINGTON VA MEDICAL CENTER
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                                                                                                                            Page 60
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Progress Notes                                                                                                   Printed On Dec 11, 2017
           --Pt declines consult to dental clinic;
           -- Renewed PEN VK order, with some misgivings, in light of past hx and concern
           for antibx resistance.


           /es/ MARGUERITE MCGARRAH,NP
           MWM//
           Signed: 10/30/2013 09:52

            LOCAL TITLE: ADVICE LINE
           STANDARD TITLE: TELEPHONE ENCOUNTER NOTE
           DATE OF NOTE: OCT 29, 2013@14:23:27 ENTRY DATE: OCT 29, 2013@14:29:12
                 AUTHOR: ZARRABI,JANICE O     EXP COSIGNER:
                URGENCY:                            STATUS: COMPLETED

                *** ADVICE LINE Has ADDENDA ***

           Type of call: SYMPTOM.
           Facility Appointed PCP: LIPSCOMBE,DAWN K

           The following identifiers were used to verify this patient:                                    SSN.
           Contact Phone Number:
           The patient, WILLIAMS,DAMOND LEE (         ) Phone:                                                called the
           call center.
           Caller Area: GREENBELT CBOC

           Caller Response: *OTHER


           Evaluation/Management Code: HC PRO PHONE CALL 5-10 MIN (98966).
           Starting at: 10/29/2013 @ 2:23:27 PM
           Ending at: 10/29/2013 @ 2:26:50 PM
           Length: 3 minutes.

           Comments:
           Pt calls for anti -bx for infection in right lower molar. Has swelling and
           pain in right jaw and back of throat. Ongoing x 5day. would like to pick up
           antibx.
           today. To contact pt, pls call cp. Pt declined to come in and be seen.
           Author: ZARRABI,JANICE O

           Chief Complaint: Not applicable to call.
           Identified problem: OTHER UNSPECIFIED COUNSELING.
           No Associate Provider Identified
           Team: GB CBOC TWO

           /es/ JANICE O. ZARRABI
           RN
           Signed: 10/29/2013 14:29

PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)   VISTA Electronic Medical Documentation
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Progress Notes                                                                                            Printed On Dec 11, 2017

           Receipt Acknowledged By:
           10/29/2013 15:31         /es/ DAWN K LIPSCOMBE
                                         NURSE PRACTITIONER

           10/29/2013 ADDENDUM                      STATUS: COMPLETED
           10/29/2013-please inform pt he needs to be seen

           /es/ DAWN K LIPSCOMBE
           NURSE PRACTITIONER
           Signed: 10/29/2013 15:31

           10/30/2013 ADDENDUM                      STATUS: COMPLETED
           Contacted pt and he is at DCVA to pick up antibx. Reiterates the dental people
           wants to be paid up front and he can not pay. Just wants antibx. Apparently
           this is an ongoing dental problem/infection. After much discussion, pt agrees to
           go to green clinic. [says "won't be able to go back to gbc- feels bad"] says
           feels tired.

           /es/ JANICE O. ZARRABI
           RN
           Signed: 10/30/2013 08:06

           Receipt Acknowledged By:
           10/30/2013 08:25         /es/ DAWN K LIPSCOMBE
                                         NURSE PRACTITIONER

            LOCAL TITLE: PCC - ESTABLISHED - PROBLEM FOCUSED
           STANDARD TITLE: PRIMARY CARE NOTE
           DATE OF NOTE: SEP 10, 2013@10:53     ENTRY DATE: SEP 10, 2013@10:54:09
                 AUTHOR: SOMPALLI,NAVEENA     EXP COSIGNER:
                URGENCY:                            STATUS: COMPLETED

                *** PCC - ESTABLISHED - PROBLEM FOCUSED Has ADDENDA ***

           Age: 38             Sex: MALE              Race: RACE UNKNOWN


           Reason for Visit:
           This is a 38 y/o male here for paperwork to filled for a prospective job with
           metro transit police. Paperwork asks if patient is physically capable of running
           a mile, doing 11 push-ups etc.
           patient states he is a boot camp fitness instructor and is very physically fit.
           recently completed a spartan mud-run which was several miles.
           denies any current medical issues. does not take any medications

           Allergies: Patient has answered NKA

           I REVIEWED THE MEDICATIONS THE PATIENT HAS BEEN TAKING AND THE FOLLOWING

PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)   VISTA Electronic Medical Documentation
WILLIAMS,DAMOND LEE                                              Printed at WASHINGTON VA MEDICAL CENTER
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                 EXHIBIT D
                        Case 1:16-cv-02062-EGS Document 44-2 Filed 07/24/19 Page 40 of 131

          WILLIAMS, DAMOND LEE H3483758
          Admit Note Authenticaled
          Service Date: Nov-04-2O13
          Dictated by Kading, MD, Kellan James on Nov-04-20'13



          lCU ADMIT NOTE

          Hospital Day: o

          Chief Concern (Requked for all billing levels)
          38 yo M with concem for LLE NSTI.

          History of Present lllness
         Damond Williams is an otherwise healthy 38 year old man with a I week history of LLE infection that has
         progressed over the past 3 days. He participated in a "mud run" about 2 weeks ago but otherwise denies
         trauma to the area. He first noticed the infection beginning on the dorsum of his left foot. From there it has
         spread over his foot and up his leg to the knee. He denies overt fever, chills. He was previously evaluated in an
         urgent care clinic, but has not received treatment of his infection. He denies SOB, fatigue. He has no h/o
         MRSA. Nothing like this has ever happened to him before.

         Problem List
         Left leg cellulitis
         NECROTIZING FASCIITIS

         Allergies
         NKA

         Medications Prior to Admission
         None

         Past Medical History
         Denies

         Family History
         Non<;ontributory

         Social History
         Denies habits

         Rev iew of Systems ! Unable to Obtain due to Patient Condition
         CONSTITUTIONAL [X] Negative _ EYES [X] Negative _ ENMT [X] Negative _
         CARDIOVASCULAR [X] Negative _ RESPIRATORY [X] Negative _ cl [X] Negative _
         GENITOURINARY [X] Negative _ NEURO [X] Negative _ MUSCULOSKELETAL fl Negative _
         SKIN Ll Negative _ ENDOCRINE fl Negative _ ALLERGY/IMMUNOLOGY [_] Negative _
         HEI\4EILYMPH [X] Negative _ PSYCHIATRIC fl Negative _

         Vitals (i|fost recent and 24 hour range.)
         Date Result Last MIN - MAX
lu wrc     Palient: WILLIANIS, DAMoND L H3483758)    Doc pg   '1   of 4   Job   107 of 195   td'. 111314404'   hos,net : 1226113 08:51:29
                       Case 1:16-cv-02062-EGS Document 44-2 Filed 07/24/19 Page 41 of 131

      11103113 22:09           Temp C: 37.& 37"8 - .]/.t]
      11103113 22:09           HR: 101 1C1 - 10i
      11103113 22:09           RR: 16 16 - 16
      11103113 22:09           SBP Non-lnv: 134 134   - 134
      11103113 22:09           DBP Non-lnv: 5G 56    56

      l&O Data
      Height: Height (cm): No Results Found.
      Admit Wt:Admit Wt: No Results Found.
      BMI: No Results Found.
      Last Daily Wt: No Results Found.
      Previous Daily Wt: No Results Found.

      (24 Hour lO Tolal = lrom 06:00lhe prio. daylo 05:59listed day)
               Resull           1110112013 111U212O13 11/0320'13              llMlml3     1110512013 Tdal
        lntake Tolal (0600)        0             0               0               330           0            330
       Oulput Tolal (0600)         0             0               0                000
       Net l&O Tolal (0600)        0             0               0               330           0            330


      Respiratory Da|a (tlost                 recent and 24 hour range.)
      Date       11103113 22:09
      O2   Sat:      99

      Physical Exam
      General/Constitutional: laying comfortably in bed, NAD, speaking in full sentences, A&O x4
      Eyes: anicteric sclera
      Neck: full ROM, supple
      Respiratory: easy respiratory effort on RA, CTAB
      Cardiovascular: RRR, no MRGs appreciated
      Chest: symmetric rise, atraumatic
      Gl/Abdominal: +BTs, soft, nondistended, nontender to palpation
      GU: defened
      Musculoskeletal: left lower leg with e$hema, bullae below the knee to the foot, leg is swollen and edematous
      mmpared to right, popped blisters contained clear yellowish/orange fluid, leg superior to knee is normal in
      caliber, leg is nontender, normal sensation, ROM limited by swelling but able to move toes and foot at the ankle
      Neurologic: as above
      Psychiatric: normal affect

      Laboratory Studles (Most recent results in 24 hour range.)
                                              RESULTS FROM             TODAY          RESULTS FROM YESTERDAY
                                                                                  11103113 22:55


        l-   lCa--- l- lCa---
                              l- ca---            133    100          17         Ca ?.9
                                                 l- Ms---                                                    <103 l- t\4g---
                             l- Phos---               3.5   26        1.11 l- Phos - - -

                                             RESULTS FROIV]            TODAY          RESULTS FROM YESTERDAY
                                                                                  11103113 22:55

                                                                         l- Pr---       f  i.6    l- PT 1s.0
                                                                      l- rNR---        38.63 l---------------------[    200      l-   tNR 1.3
FMC     Patjer{ WILLIAMS. DAMOND       L (H3483758)                  fDoc   pg, or4     I"b   ps los        1r5   Req ld:1'11314404   hosaet : 1226113 O8t51 29
                                                                                                       "f
                        Case 1:16-cv-02062-EGS Document 44-2 Filed 07/24/19 Page 42 of 131

                  l-   PTr - -    - :r:   l-   PTT 39

        Other Laboratory Studies                   (Most recent and 24 hour range.)
        Date     11    l03l 13 22:55
        AST  (coT):    29
        ALT (cPT): 18
        Alk Phos (Total): 2:0
        Bilirubin (Total): 2.6
        Albumin:         1   -6


        Last 6 Hematocrits in Preceding 24 Hours
        (NOTE: Comments/notes for Labs are viewable on Flowsheet)
        11to3t13
          22:55



        Assessment / Plan

        UPDATED MORNING ROUNDS PLAN
        38 yo otherwise healthy M with concern for LLE NSTI, although more likely severe cellulitis given prolonged
        time course, lack of tendemess on exam, and clinical/HD stability given the size of involvement.

       #Possible LLE NSTI vs cellulitis
       - Closely follow with clinical exams. Will tenatively plan for OR today since patient not showing signs of
       improvement with resuscitation and lV antibiotics. Will follow up GS recs post-op.
       - Trend CBC QGhr (WBC 43K at OSH)
       - Quad abx, wound culture obtained - broad spectrum until speciation (f/u culture results at OSH)
       ..clinda, levo, PCN G, vanco
       - Repeat LLE duplex to rule out DW

       #Sepsis: leukocytosis with borderline tachycardia
       - IVF resuscitation with LR
       - Monitor VS, UOP, repeat labs

       #Hyperbilirubinemia - etiology unknown
       - Follow up repeat labs

       #lCU checklist
       Fluids/nutrition: MIVF, NPO
       Analgesia/sedation: lV morhpine
       WE prophylaxis: SCDs, will discuss starting Lovenox tonight
       HOB elevation/activity: HOB elevated
       Gl prophylaxis: Nl
       Glucose control: Nl
       Spine precautions: N/A
       TLD: PIVs
       Code: full
       Dispo: TICU

       ATTENDING STATEMENT:
       I saw and evaluated the patient and agree with Dr. Kading's note. I am providing concurrent care forthe ma nagement
       of the   ent's multi le medical issues as documented above
IHMC     Patient: WILLIAMS, oAMOND L (H3483758)            Doc pg 3   of4   Job pg 109 of 195   Req ld:1113'14404   hosrner : 1226113 08t51:29
                        Case 1:16-cv-02062-EGS Document 44-2 Filed 07/24/19 Page 43 of 131


          Date of Service: 111412013




          Signature Line
          Electronically Reviewed/Signed           On   11104113 at 03:31

          Kading, MD, Kellan James
          Resident, Department of General/trauma Surgery Se
          Box 359702
          Seattle WA

          Electronically Co-Signed On: 11104113 at          'l 'l   :05

          Kading, MD, Kellan James
          Resident, Department of General/trauma Surgery Se
          Box 359702
          Seattle WA

          Electronically Co-Signed On: 11107113 al 15:26

          Krishnamoorthy, MD, Vijay
          Attending, Anesthesiology
          Box359724
          Seattle WA




          KJK
          DD:11104113




          GC Address lnformation
          none




H   NlC    Patenl: WILLIAMS. DAMOND L (H3483758)           Doc pg 4   of4   Job pg '110 of'195   Req ld:1113'14404   hosrner : 1226113 08:51i29
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                 EXHIBIT E
       Case 1:16-cv-02062-EGS Document 44-2 Filed 07/24/19 Page 45 of 131
                     CL ~IM FOR DAM     , •                                   INSTRUCTIONS: Please read carefully                 st        on the                    FORM APPROVED
                                                                              reverse side and supply information requested on bot        es of this                  OMB NO. 1105-0008
                      I~ JURY, OR DEATH                                       form . Use add~iona l sheet(s) if necessary. See reverse side for
                                                                              additiona l instructions.
      ~ - ;:-::::::::7.:::t:;:::::-:;::::;-:=:-:-:::::-::--~~~~~~~'--~~~~~~~.--:-:-~~~~~~~~~~~~~--1~~~~~~~~~-'
      1 ~.!to Appo ~le Federal Agency:                                                                      2. Name, add ress of claimant, and claiman ts personal representaave if any .
            ~                                                                                                  (See instructions on reverse). Number, Street. City , State and Zip code .

      Department )f Veteran's Affairs I Office of Regional Counsel                                          Damond Lee Will iams

I     1722 I Stree NW, Suite 302
      Washington , DC 20421
                                                                                                            3514 ldlewood Parkway, Apartment419
                                                                                                            Indianapolis, IN 46214

I
!
     3. TYPE OF EMPI OYMENT

            0   MIUTA~ ·t   (8J CIVILIAN
                                               4. DATE OF BIRTH              5. MAR ITAL STATUS            6. DATE ANO DAY OF ACCIDENT                               7. TIME (A.M. OR P.M.)

i
~
                                                                             Single                         Wednesday                            10/30/2013          9:00 AM .
     8. BASIS OF Cl.AM {State in detail the krlO'Nn facts and circumstances attending the damage. in1ury , or death , identifying persons and property invofved, the place of occurrence and

I'
        the cause !her< >f. Use add itional pages Wnecessary).
j

i    I am a veter; n of the United States Air Force; I was honorbaly discharged. On the above date I was seen by a nurse
i    practitioner< t the DC VA hospital for pain in my jaw, throat, & foot. Not ordering an ultrasound of my throat or at least a CBC,
     the NP devi ted from best practice protocol. If she would have done that and not treated me as if I were drug seeking she
i
l    would have iscovered the infection which almost killed me. However it was discovered on 11 /3 by a medical team . See attach
!
i
     9.                                                                                  PROPERTY DAMAGE
!
!'   NAME AND ADDI ESS OF 0\ll'NER, IF OTHER THAN CLAIMANT (Number, Street, City, State. and Zip Code ).
                                                                                                                                             RECEIVED
     BRIEFLY DESCF BE THE PROPERTY, NATU RE ANO EXTENT OF THE DAMAGE ANO THE LOCATION OF WHERE THE PROPERT"(}eT BI li6'7!WJO.
     (See instructions
                   H1 reverse side).


                                                                                                                                             VA REGIONAL COUNSEL
                                                                                                                                              1722 1ST, NW, STE 302
     10                                                                       PERSONAL INJURY/WRONGFUL DEATH                                 •     ·~   ""'-'
                                                                                                                                                                1UI~ , UL 20421

     i..k-
     O~~JURE
                :-:E NAl lJRE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH. WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME
                         I PERSON OR DECEDENT.

     Due to the . egligence of the NP who failed to screen or test for the bacterial infection on my 10/30 visit, the infection grew to
     where my 1. BC was at 43K, just four (4) days after my visit. In the short term I almost lost my life. Ultimately, I underwent
     several emergency medical procedures, resulting in my mobility & quaility of life being forever impacted. See attached .

     11 .                                                                                    WITNESSES

                                     NAME                                                                  AD DRESS (Nu mber, Siteet, City. State, and Zip Code)

i    None at thi1 time resevere the right to amend




     12. (See instruct Pns on reverse) .                                           AMOUNT OF CLAIM (in donars)

     12a. PROPERr DAMAGE                       12b. PERSONAL INJUR Y                                12c. WRONGFUL DEA TH                         12d. TOTAL (Fa ilure to specify may cause
                                                                                                                                                      forfeiture of your rights}.

                                               $1 .75 million dollars                                                                            $1.75 million dollars
     I CERTIFY THA THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
     FULL SATISFA TION AND FINAL SETTLEMENT OF THIS CLAIM.

                                                                                                           13b. PHONE NUMBER OF PERSON SIGNING FORM 114. DATE OF SIGNATURE

                                                                                                           (240) 755-5555                                                 I 0 It I('5
                                   CIVIL PENAL TY FOR PRESENTING                                                         CRIMINAL PENAL TY FOR PRESENTING FRAiiDJLENT
                                          FRAUDULENT CLAIM                                                                    CLAIM OR MAKING FALSE STATEMENTS

     The claimant is t.able to the United States Government for a civil penalty of not le ss than          Fine , imprisonment, or both . (See 18 U.S.C . 287 , 1001 .)
     $5 ,000 and not '9ore than $10 .000 , plus 3 times the amount of damages susta ined
     by t!le Govemn •nt. (See 31 U.S.C. 3729).

     Authorized to Local Reproduction                                                 NSN 7540-00-63-4-<1046                                             STANDARD FORM 95 (REV. 2/2007)
     Previous Edlti >n is not Usable                                                                                                                     PRESCRIBED BY OEPT. OF JUSTICE
                                                                                                                                                         26 CFR 14.2
     95-109




                       I

                      I

                      I
                                                                                                                                                                                              VA0082
 Case 1:16-cv-02062-EGS Document 44-2 Filed 07/24/19 Page 46 of 131
                                                                                       INSURANCE COVE RAGE

 In O<der that su        ation da ims may be adjudicated , ~   Is essential tllat tile claimant provide tile following infonnation regard ing tile insu rance coverage of the vehicle or property .
                         · ent Insurance?      0    Yes     II yes, give name and address of insurance company (Nu mber, Street, C~ . State, and Zip Code) and policy number.                [8J   No




 16. Have you fll      a cla im with your insurance carrier in this instance, and if so, is it full cOverage or deductible?      0    Yes      X   No      17. II deductible.state amount.




18. If   a daim ha    been filed with your carrier, what action has you r insurer taken or proposed to take with refe rence to your claim ? (It is necessary that you ascertain these facts)




19.   Do you carry ublic liabtlity and property damage insurance?        D     Yes     If yes, give name and address of in surance carrier (Number, Street City . State, and Zip Code).        {8] No




                                                                                            INSTRUCTIONS

Claims pres nted under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
employee(& was involved In the incident. If the Incident involves more than one claimant, each claimant should submit a separate
claimfonn .

                                                             Complete all Items - Insert the word NONE where applicable.

  <"LAIM SHAL BE DEEMEO TO HAVE BEEN PRESENTED v.ti EN A FEDERAL                                      DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
        Y RECE  S FR OM A CLAIMANT, HIS DULY AUTHORIZE D AGENT, OR LEGAL                              INJURY, OR DEATH ALLEGEO TO HAVE OCCURRED BY REASON OF THE INCIOE NT.
       ESENTA  E. AN EXECUTED STANDA RD FORM 95 OR OTH ER M ITTEN                                     THE CLAIM MUST BE PRESENTED TO THE APP ROPRIATE FEDERAL AGENCY WITHIN
     IFICATION FAN IN CIDENT, ACCOMPANIED BY A CLAIM FOR MONEY                                        TWO YEARS AFTER THE CLAIM ACC RUES.

Failure to com '9tely execute tht• fonn or to suppty the requntad material within                      The amount claimed should be substantiated by competent evktence as follows:
two yH rs from the date the ca.Im accrued may rend.r your claim lnv elld. A clatm
la dHmed pre nted when It ls received by the appropriate agency , not whe n it is                      (a) In support of the claim for personal injury or de ath , the daimant &hould submit a
m•lled.                                                                                                written report by the attending physician, showing the nature and extent of the injury, the
                                                                                                       nature and extent of treatment. the degree of permanent d isab ility, if any, the prognosis,
                                                                                                       and the period of hospitalization , or incapacitaOOn, attaching itemized bills for medic.al ,
If instruction is     ed in compreting th is form, the agency listed in item • 1 on the reverse        hospital, or buria l expenses actually incurred.
side may be co tacted. Com~te regulations pertaining to claims asserted un der the
Federal Tort Cl lms Ad can be found in T111e 28, Code of Federal Regulations, Part 14.
Many agencies       ve publ ished suppfementlng regulations. If more than one agency is                (b) In support of claims for damage to property, which has been or ca n be econom icalty
involved , plea   state each agency .                                                                  repa ired. the d a imant should submit at least two itemized signed statements or estimates
                                                                                                       by reliabfe, d isinterested concerns , or, if payment has been made, the itemized signed
                                                                                                       receipts evidencing payment.
                        fil led by a duly authorized agent c.- other legal representative. provided
                              to the Government ts submitted with the d aim establ ishing express
authority to act      r the claimant. A daim presented by an agent or legal representative             (c) In support of claims for damage to property whtch is not economica lry repairable, or it
                    ed in the name of the daimant If the claim is signed by the agent or               the property is lost or destroyed, the daimant should submit statements as to the original
                    rive, it m ust show the titie or legal capacity of the person signing and be       cost of tile property , tile date of purchase, and the value of the property , both before and
                   : evidence of his/her authority to present a da im on beha lf of the claimant       after the accident. Such statements should be by disinterested competent persons.
                       r. administrator, parent, guard ian or other representative.                    preferably reputable dealers °'officials familiar with tile type of property damaged, °' by
                                                                                                       two or more competitive bidders, and shouki be certified as being just and correct.

                     s to file for both personal Injury and property damage, the amount for
                      wn In item number 12 of this form.                                              (d) F•tlu re to apectfy •sum ce rtain wlll render your c lai m Invalid and may reeult In
                                                                                                      forfelturt of y o ur rights.

                                                                                        PRIVACY ACT NOTICE
This Notice is ovided in ac:cordance w ith the Privacy Act, 5 U.S.C. 552a (e)(3), and                 B. Principal Purpose: The information requested i.s to be used in evaluating ciaims.
concerns the I rmation requested in the letter to whtch this Notice Is attached .                     C. Routine Use: See the Notices of Systems of Records for the agency to whom you are
   A . Autho : The requested informabon is solicited pursuant to one or more of the                      su bmitting this form for this information.
       followi g: 5 U.S.C. 301, 28 U.S.C. 501 et seq ., 28 U.S.C. 2671 et seq ., 28 C.F.R.            D. Ellec/ of Faflure to Respond: Disclosure is voluntary. However, failure to supply the
        Part 1                                                                                           requested information or to execute the form may render your claim "Invalid."

                                                                             PAPERWORK REDUCTION A CT NOTICE

                        for the purpose of the Paperwork Reduction Ad , 44 U.S.C. 3501. Public reporting burden for this collection of information is estimated to average 6 hours per
                    ing the time for revtewing W'lstructions. searching existing data sources, gathering and ma inta ining the data needed, a nd completing and reviewing the collection of
                   nd comments regarding th is burden estimate or a ny other aspect of this collection or information . including suggestions for reducing this burden , to the Director. Torts
                     : Paperwori< Reduction Staff, Civil Division, U.S. Department of Justice, Washington, DC 20530 or to the Office of Management and Budget. Do not mail completed
                    addresses.

                                                                                                                                                   STANDARD FORM 95 REV. (2/2007) BACK




                                                                                                                                                                                              VA0083
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       ctober I, 2015                                            VIA HAND DELIVERY

       epartment of Veteran Affairs                      FOR SETTLEMENT PURPOSES ONLY
       ffice of Regional Counsel                         NOT TO BE USED AT TRIAL
      722 I Street NW, Suite 302
        ashington, DC 20421                                                                                  Page   11
      202) 530-9420 (Office)
      877) 389-4685 (Fax)

                   Supplement to Claimant's Standard Form 95
            RE:            Our Client             Damond Lee Williams
                           Date of Birth
                           Date of Accident :     Wednesday, October 30, 2013
                           Military Status :      Veteran, United States Air Force
                                                  Honorably Discharged I 0/26/1997
      ear Counsel:

             Please be advised that the undersigned represents Mr. Damond L. Williams (hereinafter
     eferred to as "Mr. Williams") for the resulting injuries, subsequent pain and suffering, and
       rmanency of bodily harm resulting from the Department of Veteran's Affairs (hereinafter referred
     o as "VA") negligence. Specifically, seeking relief for the departure from best practice standards
      nd following of medical protocols in providing medical care for Mr. Williams on or about
     10/30/2013. As a result of the aforementioned, Mr. Williams condition necessitated extensive
       edical and surgical interventions, permanent loss of mobility, and persistent and debilitating
      hronic pain and nerve damage, both of which will forever adversely affect his quality of life.

            Per the conditions and directives of the Federal Tort Claim Act, Mr. Williams submits the
     enclosed Standard Form 95 and this supplemental packet.

                                              BACKGROUND

            At the time of accident Mr. Williams was a 38-year-o ld single man with no children. Mr.
     Williams' social security number is XXX-XX-XXXX. At a very early age Mr. Williams made a
     personal commitment to never drink alcohol or smoke tobacco due to a devastating family history
     of alcohol and other substance abuse. In addition, Mr. Williams has always made it a priority to
     maintain his physical fitness through hab itual exercise and maintaining a balanced diet. The
     relevance of Mr. Williams' lifestyle commitments and lifestyle choices is - but for said choices this
     matter may have been a wrongful death action. It is beyond speculation that Mr. Williams' physical



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                                                                                                                    VA0084
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      1tness helped save his life. Secondly, it helps the evaluator better appreciate the totality of the
      mpact this matter has had and is still having on Mr. Williams' overall quality of life.

             Mr. Williams' classification in the United States Air Force was an aircraft fuel maintenance
      ngineer. Upon separation from the Armed Services this skillset kept Mr. Williams gainfullyPa e I 2
      mployed while traveling the world. However, in 2013, due to the trade's taxing nature; g
      pecifically operating heavy machinery and the potential impacts of daily being exposed to
      hemicals Mr. Williams decided to make a professional change with the start of Aspiration Fitness
      LC. A personal training company dedicated to helping clients get smart about taking care of their
      hysical fitness coupled with meal advisement.

             Mr. Williams' hopes of starting said company were dashed due to the VA ' s breach of
      rofessional duty of care, resulting in personal injury injuries to Mr. Williams, limiting his ability to
       ork as a personal trainer. No longer being able to be a physical fitness trainer Mr. Williams is
      ow back working as an aircraft fuel maintenance engineer.

                                          BASIS OF CLAIM CONTINUED

              On or about 10/30/2013, after Mr. Williams mother and sister saw his condition they had a
      amity discussion encouraging Mr. Williams to go to the VA for treatment. That morning, Mr.
        illiams hobbling with a cane borrowed from his mother, entered Veteran's Affairs hospital
      hereinafter referred to as "VA") located at 50 Irving Street NW, Washington, DC . The purpose of
      is visit was to obtain a medical evaluation and treatment due to a recently developing difficulty
       ith swallowing and walking. Approximately a week earlier Mr. Williams completed a cross-
     country athletic competition in which he ran, jumped, and did callisthenic type exercises without
     any unexpected difficulty.

             At the VA Mr. Williams was evaluated and treated by a nurse practitioner (hereinafter
     referred to as "NP"). VA medical notes enclosed in Tab 3. Although Mr. Williams complained of
     issues with swallowing connected with throat and jaw pain and difficulty with walking due to
     swelling in his left foot, the NP' s progress notes solely reflect her attention to "pain and swelling of
     neck and jaw." Furthermore, the NP noted sl ight swelling in Mr. Williams jaw.

             The NP provided Mr. Williams with patient education on pain management with
     medications, noted a history of requesting antibiotics for dental issues, performed an oral exam,
     referred Mr. Williams to a provider, and with documented misgivings renewed Mr. Williams
     antibiotic prescription. Mr. Williams' account is that the NP spoke to him about drug seeking and

c    drug abuse. Based on the NP' s course of treatment and notes it appears Mr. Williams recollection is
     accurate.


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                                                                                                                 VA0085
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                                         PERSONAL INJURY CONTINUED

                                        Departure From VA Standard of Care
                                                                                                           Page   I3
              The NP perfonned the oral exam and found no remarkable findings with no obvious cause
      or the discomfort. Howc,:ver, it was notated that Mr. Williams had right neck swelling with
      uffiness extending to the thyroid. But, the NP failed to mention his acute left leg pain, swollen foot
      nd ambulation with a cane. VA protocols mandate for a patient with said conditions, to at
       inimum, have a complete blood count lab assessed and an ultrasound of the swollen thyroid. At a
      are minimum, the NP should have perfonned a culture of Mr. Williams throat, examined Mr.
        illiams' left leg and foot and recommended follow-up in 48-72 hours, sooner if worrisome
      ymptoms manifested. None of this occurred. Making the NP's lack of action more egregious is
       at Mr. Williams was being treated at the main hospital in the region, with all lab equipment on
      ite. The purpose of the aforementioned exams is to detennine the source of medical need and
      otential intervention for the patient.

            That day in the hospital Mr. Williams appeared disheveled and sickly. However, the NP
      reached her duty in providing care, inaccurately assessing and assuming Mr. Williams was a drug-
      eeking patient.
              The impact of the NP's professional negligence can be seen in the enclosed Tab 4, hospital
     notes from Providence Regional Medical Center Evert. On November 3, 20 13, just four (4) days
     after his VA NP visit; Mr. Williams was in Everett, Washington to retrieve items from storage.
     Each day since the VA visit, unknown to him, the infection grew until it crippled Mr. Williams.

              Upon admittance into Providence Regional Medical Center, Mr. Williams' white blood cell
      count had spiked to forty three thousand two hundred (43,200). On 10/30 if the VA NP had ordered
      a complete blood count the lab results wou ld have revealed that Mr. Williams needed immediate
      medical intervention to address the growing infection in his body and would have postponed his
      cross-country travel. Further, by 11 /03, the bacterial infection had become so aggressive that it was
      difficult to assess, causing intense suffering for Mr.Williams. Physically, his leg had swollen so
      large that he could no longer walk. Also noted in Providence Medical Center records is that Mr.
      Williams states he advised the VA NP about the infection/issue with his left foot, but that is absent
      from the medical notes of the VA NP.



c
            Due to a need for advanced medical care and surgical expertise on 11 /03 a transfer
      recommendation was submitted for Mr. Williams to be transferred to Harborview Medical Center.


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                                                                                                                  VA0086
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       otes from Harborview Medical Center are enclosed in Tab 5. At Harborview Medical Center it
       as discovered that Mr. Williams had such significant swelling and was showing signs of overall
      ody infection that the plan of care to save Mr. Williams' left leg was to perform a fasciotomy
      rocedure. During the fasciotomy the medical staff made four (4) large incisions on said area;
      ltimately the efforts saved Mr. Williams' limb. Additionally, the muscle mass in Mr. Williams'Page / 4
       ft leg coupled with his stellar health, were both significant factors in him being able to keep his
       ft leg.

              To address pain management at Harborview Medical Center the medical staff treated Mr.
        illiams with narcotic medication to include Morphine and Roxicodone. Due to the extensive
      igns of sepsis and potential life threatening consequences from the unknown and uncontrolled
       fection, Mr. Williams was prescribed a cocktail of antibiotics. They were: Clindamycin,
       evofloxacin, Penicillin G, and Vancomycin.




                                                         are the direct and     roximate cause of the


             On I 1/14/2013, after the bacterial infection was eradicated from Mr. Williams' body and his
      ondition was stable he was discharged from Harborview Medical Center. Post being released from
       arborview Medical Center, Mr. Williams could not immediately travel. Thus, he incurred hotel
      xpenses while staying in Washington State. In addition, during this time Mr. Williams suffered in
      xtreme pain. Photos of Mr. Williams left leg and foot post release are enclosed in Tab 6.

              The VA 's departure from the standard of care is the sole and proximate cause of the
       odily injury sustained by Mr. Williams and the permanent limitations of his limited physical
       ondition. If the VA 's NP would have followed protocol Mr. Williams condition could have been
      imely evaluated and better managed with early medical interventions preventing the infection
      rom spreading and growing. Thus, preventing Mr. Williams from being hospitalized, enduring
       ain and suffering, and permanent physical change.

                                       DAMAGES AMOUNT OF CLAIM


c          Upon returning to Maryland Mr. Williams was under the care of the medical staff at the VA.
     Mr. Williams underwent months of physical therapy and substantial wound care. Even with all of


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                                                                                                            VA0087
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                                               Hammel Law

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     t e treatments the permanency and debilitating impact of Mr. Williams' injuries will only increase
      s he ages. Every evening Mr. Williams has swelling in his ankle and foot area. He wears a
      ompression stocking to mitigate pain and swelling. The bodily injured suffered by Mr. Williams is
       direct result of the negligence of the VA 's NP.
                                                                                                                  Page   I5
                     Further, Mr. Williams has developed neuropathy resulting from the swell ing and
      ompression of nerves in and around his ankle and foot. As Mr. Williams ages his mobility will be
     I mited and his career options reduced. Moreover, hi s plan of becoming a personal fitness trainer is
       ot an option and does appear to be long-term proposition.

             Mr. Williams total medical expenses were sixty two thousand and sixty-three dollars
      $62,063.00 USO) with sixteen thousand dollars ($16,000.00 USO) from Providence Health and
      ervices and forty five thousand dollars ($45,000.00 US O) from Harbor View Medical Center. See
       edical bills enclosed in Tab 7. Moreover, Mr. Williams incurred hotel expenses and was not able
        work for six (6) months post his procedures in Washington . Most importantly for the rest of Mr.
       illiams' life he will have to suffer from the vestiges of the negligence of the VA . His career
      ptions are limited and he will not be able to enjoy his passion of working out and training others.



'            There is no precise way to monetize or determine appropriate relief for Mr. Williams.
        owever, as a guide, our office has researc hed jury verdicts and settlements for medical malpractice
      nd personal injury actions in the District of Columbia. Juxtaposing our research to the tragic
       ircumstances in thi s matter, including but not limited to the near loss of life, personal injury , pain
       nd suffering, medical expenses, and lost wages, we request a tender of one million seven hundred
      ifty thousand dollars ($1, 750,000.00 USD), as full and final payment of all claims arising from
      his matter for both Mr. Williams.

             Please give thi s matter your immediate attention. If yo u have any questions, or need further
      nformation to evaluate thi s demand , contact o ur office. Finally, please contact o ur office to
      on firm receipt of the enclosed.

      espectfully Submitted,



                                                                                            I 0/0I /20 15
                                                                                            Date




     A TH/tjm I Enclosures


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                                                                                                                         VA0088
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                 EXHIBIT G
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 HARBOR COURT OFFICE BLDG.                                                           ALLAN H. MACHT, M.D.
                                                                                              ( 1 924 - 2007)
575 S. CHARLES ST., SUITE 200
BALTIMORE, MARYLAND 21201                                                           ROBERT W. MACHT, M.D.
   (410) 727-3615 PHONE                 MACHT MEDICAL                                       GENERAL SURGEON
                                                                                 CERTIFIED INDEPENDENT MEDICAL EXAMINER

     (410) 752-8430 FAX                 -G ROUP-                                    JOSHUA B. MACHT, M.D.
                                                                                   BOARD CERTIFIED IN INTERNAL MEDICINE
                                                                                 CERTIFIED INDEPENDENT MEDICAL EXAMINER




            January 9, 2018


                                EXPERT OPINION FOR DAMOND L. WILLIAMS
                                 Federal Case No.: Civil Action No. 16-2062




            My office was retained by attorney Andre T. Hammel to review the negligence claim

            by Mr. Damond L. Williams ("Mr. Williams") against the Veteran's Affairs

            Administration, with emphasis focused on the departure from the acceptable

            standards of care evidenced by nurse practitioner Ms. Marguerite McGarrah (NP

            McGarrah") that occurred on October 30, 2014.



             Background:

            Mr. Williams is a forty one (41) year old man born on                       At the time

            of event, which is the basis for this letter, he was thirty-eight (38) years of age.

            It is stated that Mr. Williams was a non-smoker of tobacco or other products, did

            not use drugs, or consume alcohol.      On October 30, 2014, except for the pain

            he was experiencing with swallowing and walking, when Mr. Williams was

            seen by NP McGarrah he was seemingly in overall good health for a man of his age.




                                                      1
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 HARBOR COURT OFFICE BLDG.                                                           ALLAN H. MACHT, M.D.
                                                                                              ( 1 924 - 2007)
575 S. CHARLES ST., SUITE 200
                                              �                                     ROBERT W. MACHT, M.D.
BALTIMORE, MARYLAND 21201
   (410) 727-3615 PHONE                  MACHT MEDICAL                                      GENERAL SURGEON
                                                                                CERTIFIED INDEPENDENT MEDICAL EXAMINER

     (410) 752-8430 FAX                 -G RO UP-                                   JOSHUA B. MACHT, M.D.
                                                                                   BOARD CERTIFIED IN INTERNAL MEDICINE
                                                                                CERTIFIED INDEPENDENT MEDICAL EXAMINER




            saving proce dure s that occurre d at Provide nce     Re gional Me dical Ce nte r and

            Harborview Medical Center.



                 NP McGarrah's negligence in providing care Mr. Williams is the direct cause of

            the e xte nsive injurie s suffe re d by Mr. Williams. Again, if the infection had been

            detected earlier, by prope r e xamination and te sting, Mr. Williams' would not have

            had to undergo such extensive treatments and procedures. To determine the long

            term impact on Mr. Williams health an independent medical exam should be

            performed.




            "I hold all of my opinions with a reasonable degree of medical probability. This
            report is not intended to be a complete or final statement of my opinions, and I
            reserve the right to expand, modify or otherwise amend my opinions as the
            discovery process proceeds. I do not spend more than 20% of my professional
            activities directly related to testimony in personal injury cases."




                                                                              \ /q / Ji
            Robert W. Macht, M.D.                                           Date




                                                      5
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                EXHIBIT H
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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

    - - - - - - - - - - - - - - - - x
                                    :
    DAMOND LEE WILLIAMS,            :
                                    :
                  Plaintiff,        :     Civil Action No.
                                    :     16-2062 (EGS)
            v.                      :
                                    :
    U.S. DEPARTMENT OF VETERANS     :
    AFFAIRS, et al.,                :
                                    :
                  Defendants.       :
                                    :
    - - - - - - - - - - - - - - - - x

                                     Washington, D.C.

                                     Monday, March 4, 2019



    Deposition of:

                          FERNANDO PORTER, M.D.

    a witness of lawful age, taken on behalf of the Defendants

    in the above-entitled action, before Nate Riveness, Notary

    Public in and for the District of Columbia, in the Office of

    the United States Attorney, 501 Third Street, N.W.,

    Washington, D.C. 20005, commencing at 1:58 p.m.




                 Diversified Reporting Services, Inc.

                             (202) 467-9200
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                                                                Page 2
     APPEARANCES:
           On Behalf of the Plaintiff:
                  ANDRE T. HAMMEL, ESQ.
                  Hammel Law LLC
                  9701 Apollo Drive, Suite 301
                  Largo, Maryland      20774
                  andre.hammel@hamlawus.com




           On Behalf of the Defendants:


                  PAUL CIRINO, ESQ.
                  Assistant United States Attorney
                  Civil Division
                  U.S. Attorney’s Office for the District
                    of Columbia
                  555 Fourth Street, N.W.
                  Washington, D.C.      20530
                  (202) 252-2529
                  paul.cirino@usdoj.gov




           Also Present:


                  Damond Lee Williams, Plaintiff
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                                                               Page 10
1    ask you to guess or speculate.    You know, if you don’t know,

2    we’ll make --

3         A    I mean --

4         Q    Give us your best estimate, but I don’t want you

5    guessing or speculating.    Is that understood?

6         A    Okay.    Yeah.   I was going to say, yeah, based on

7    when I completed my report, it was in -- I believe it was in

8    August of 2018.

9         Q    Okay.

10        A    Yeah.    yeah.   August of 2018.

11        Q    And what was the nature of the questions that you

12   had after taking a first look at the file?

13        A    So based on looking at the file, there was one set

14   of documentation that did not go along with the

15   hospitalization.   And so my questions pertained more to what

16   his side of the story was and what his presenting complaint

17   was when he actually went to this acute care facility to be

18   seen.

19        Q    Okay.    Tell me what you meant when you said that

20   there was one set of documents that didn’t go along with

21   something else.    I don’t understand.

22        A    So the document here only refers to part of what

23   his complaint was, and that’s after -- after hearing his

24   side of it.   And that kind of filled in the gaps between

25   what was omitted from care and his actual hospitalization.
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                                                               Page 11
1         Q    I see.   So you felt that there was a gap in the

2    information that you had been provided.

3         A    Yes.

4         Q    Okay.    And based on that information gap, you

5    wanted to speak with the Plaintiff.

6         A    Correct.

7         Q    And you did speak with the Plaintiff.

8         A    I did.

9         Q    Okay.    Do you recall when that conversation took

10   place?

11             MR. HAMMEL:    Objection.   Asked and answered.

12             You can answer the question.     Go ahead.

13             THE WITNESS:   I do not.

14             BY MR. CIRINO:

15        Q    And do you recall some of the questions you asked

16   the Plaintiff, Mr. Williams?

17        A    Not exactly.   I do recall asking him, you know,

18   tell me your story.   And I asked him specifically were there

19   any injuries that occurred between the time that he was seen

20   and the time that he actually went to the hospital.      Those

21   two questions I do remember asking.

22             We did review his -- his general health prior to

23   any of his current.   We did review his social history, his

24   past medical history.    And I remember that based on my

25   documentation from my -- my review.
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                                                               Page 12
1         Q    Okay.   And why was it important to you to have the

2    Plaintiff tell his story?

3         A    Well, it did not appear that, again, based on his

4    hospitalization and his -- his acute care -- his acute care

5    visit at the VA, it didn’t appear that the entire story was

6    presented to me in his file.

7         Q    And why not?

8         A    The extent of his injuries and the extent of the

9    hospitalization would have had to amount to a very tragic

10   injury between the time of his acute care visit and his --

11   and his hospitalization.    And so the likelihood that this

12   didn’t exist prior to, or something didn’t exist prior to,

13   was -- was suspicious to me.    So it made me ask more

14   questions about, was there anything that had been going on

15   before the visit that occurred?

16        Q    And in addition to questioning Mr. Williams, did

17   you ask questions of anybody else in connection with trying

18   to fill in these gaps?

19        A    I did not.

20        Q    Why not?

21        A    In health care, when you are documenting, for

22   legal purposes, for reviewing purposes, for handing off

23   purposes from one physician to the next, your documentation

24   is the most important form of communication.     And that’s --

25   I guess the lack thereof is what led me to ask more
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                                                               Page 17
1         Q    What new information would be presented to you?

2    Do you have something in mind?

3              MR. HAMMEL:    Objection, Your Honor.   That calls

4    for speculation.   We need a Judge right here.    I keep saying

5    Your Honor.   Bad habit.   So you answer the question.

6              THE WITNESS:     I’m sorry.   Say it one more time?

7              BY MR. CIRINO:

8         Q    The question was:    are you expecting any new

9    information to come about?

10        A    I am not.

11        Q    Okay.    And I accept -- I accept that that’s your

12   position, that if new information comes you expect to look -

13   - have the opportunity to look at it again.     Does your

14   report contain the facts or data that you considered in

15   forming your opinions?

16        A    Yes.

17        Q    And does the document in the back, which looks

18   like your resume, is that a list of your qualifications?

19        A    That is correct.

20        Q    Okay.    Now, do you have any publications that you

21   have authored in the past 10 years?

22        A    No, sir.

23        Q    And it’s correct that you have not testified

24   previously as an expert at trial or at a deposition?

25        A    That’s correct.
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                                                               Page 21
1         Q    Now, in preparation for this deposition, what did

2    you do?

3         A    I reviewed the file.      I -- probably another two or

4    three times.    I reviewed my documentation, and that was it.

5    I spoke with I guess someone from your office and someone

6    from Attorney Hammel’s office, and I was afforded the copy

7    of the Defendant’s expert witness, reviewed his opinion, his

8    or her opinion, and that was it.

9         Q    Okay.   And when did you receive the Defendant’s

10   expert’s opinion -- report?

11        A    About 10 days ago.

12        Q    And you’ve never been qualified as an expert by a

13   court or a tribunal?

14        A    Tribunal?    What is --

15        Q    It could be an administrative court or some other

16   adjudicative panel would be a tribunal.

17        A    That would be correct.

18        Q    Okay.   Now, you have -- have you met Mr. Williams

19   before today?

20        A    I have not.

21        Q    So you have not evaluated Mr. Williams’ medical

22   condition?

23        A    When you say, “I have not evaluated his medical

24   condition,” what do you mean by that?

25        Q    Well, good question.      I was getting at, have you
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                                                                Page 25
1    deal with infections of urinary tracts.     I deal with

2    infections of genitals.    I deal with infections of eyes.

3    And, on a rare occasion, infections of the neurological

4    system.

5         Q      Okay.   What if we take from the 20 to 30 percent,

6    and what if I ask you what percentage of your practice is

7    dedicated to infections on the skin?

8         A      I don’t know that I can answer that question, just

9    simply because it was just -- I mean, I see quite a few

10   patients.    I’m not real sure --

11        Q      Okay.

12        A      -- how to guesstimate that.

13        Q      All right.   It’s not -- well, it -- I mean,

14   roughly half of all infections would be skin infections, or

15   is it some more or some less?

16        A      Again, I couldn’t -- that would be speculation on

17   my part.

18        Q      Well, I definitely don’t want you to speculate.

19   And have you ever diagnosed a patient with cellulitis?

20        A      I have.

21        Q      How many?

22        A      Too many to count.   I don’t know the exact number.

23        Q      Okay.   And have you ever diagnosed a patient with

24   fasciitis?

25        A      I have.
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                                                               Page 26
1         Q    Okay.   How many?

2         A    At least four.

3         Q    And of the four, how many were necrotizing?

4         A    All of them.

5         Q    And have you ever treated a patient with

6    necrotizing fasciitis?

7         A    I have assisted with the treatment.     However, the

8    direct treatment is beyond my scope of practice.

9         Q    And how did you assist with the treatment?

10        A    I made the diagnosis, and I referred to a

11   specialist.

12        Q    Okay.   Now, the reference in your resume in the

13   first paragraph to incision and drainage procedures I see is

14   repeated a few times.    It’s in the -- it’s in the fourth

15   paragraph pertaining to the MedStar prompt care.

16        A    That’s correct.

17        Q    And then it’s in the following paragraph regarding

18   your formal work at --

19        A    That’s correct.

20        Q    -- Chestnut Hill Hospital.     Was your discussion of

21   what that involves, is that the same for each of those, or

22   are there differences in some of these three positions?

23        A    I’m sorry.    Say it one more time.

24        Q    You’ve testified about what you meant by the

25   phrase “incision and drainage procedures.”
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                                                                 Page 78
1         Q      First of all, what was the mouth pain that was

2    complained of?

3         A      He complained about difficulty with swallowing.

4         Q      Okay.   What did --

5         A      And throat pain.

6         Q      Forgive me for interrupting.    What did the nurse

7    practitioner do in response to that complaint?

8         A      She did an oral exam and neck exam, and based on I

9    guess -- I’m not really sure.      But based on -- she had

10   normal findings of the mouth, which is what is documented,

11   and an abnormal neck exam, or an exam that is not normal

12   based on her documentation of the neck.

13               And her, then, assessment of it was to give

14   penicillin, and I’m not sure for what reason.

15        Q      Okay.

16        A      Because that’s not necessarily accurately depicted

17   as to why based on her physical exam findings.

18        Q      Okay.   All right.    Same question with regard to

19   the foot.   So he complains of foot pain.     What is the

20   situation with the foot?

21        A      What’s the situation?    I don’t -- I don’t --

22        Q      What’s going on with the foot that needs to be

23   addressed in your view?

24        A      Just to look at it, examine it.    I’m not saying

25   that -- I’m not saying that she -- I’m not saying that she
Case 1:16-cv-02062-EGS Document 44-2 Filed 07/24/19 Page 80 of 131


                                                                Page 79
1    would have been able to directly address that issue, or,

2    excuse me, I’m not saying that she would have been able to

3    do surgery if that were needed, but just examine it would

4    have --

5         Q    You mean you wanted the nurse practitioner to have

6    the Plaintiff take off his shoes and socks and have her look

7    at it.

8         A    Yes.

9         Q    Okay.   Do you have any issue with -- well, strike

10   that.

11             MR. CIRINO:    Okay.   Well, I think I have no

12   further questions at the moment.    Thank you for coming, Dr.

13   Porter.   I appreciate your time.

14             THE WITNESS:   Thank you.

15             MR. CIRINO:    And now we should go off the record,

16   so I can make a copy of an exhibit for counsel.

17             MR. HAMMEL:    And, counsel, pardon me.    Just two,

18   since you’ve rested now.

19                EXAMINATION BY COUNSEL FOR PLAINTIFF

20             BY MR. HAMMEL:

21        Q    All right.    Dr. Porter, good afternoon.    You

22   stated earlier that you, in speaking with Mr. Williams, you

23   inquired about what happened between the VA visit on the

24   30th and his admission into the hospital, in Providence.

25   Why did you inquire about those days in between?
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                  EXHIBIT I
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Fernando Porter, MD
FEDERAL CASE NO: 16-2062

August 3rd 2018
Patient History:
-38 yo at the time of the event
- eval done at the Washington DC VA with a cc of painful/difficulty swallowing, throat pain, subjective
fevers, foot pain, and difficulty walking (had been using his mothers cane days prior to his
presentation).
- Had taken anti-inflammatory to help with pain prior to presentation but was found to be ineffective.
- Called VA acute care office and was told he needed to be seen for treatment.
- 2 weeks prior to the presentation participated in an obstacle course race in WVa.
- Also had a dental procedure (root canal) prior to the presentation
- Pt states that his provider’s disposition aggressive was accused of “drug seeking”. Also states that he
did not have a complete oral and throat exam (no otoscope, ophthalmoscope, or other source of light
was used to evaluate his throat).
-PT states that his foot was not examined at all despite that being a part of his complaint. The left foot
was said to be red, swollen, and had a blister present.
- He states that he was discharged with antibiotics and told to follow up with his dentist and given a
lecture about antibiotic abuse.
- He began to take the medication which he states was not effective in reducing his symptom s of his
lower extremity. He thought that he needed more time for the medication to be effective for his leg
and continued to press on with his travel plans to Seattle Washington. Prior to his travel, the patient
reports no further trauma, or medical evaluations prior to his arrival to Seattle. On his arrival to Seattle
Wa, He felt worse and immediately proceeded to the hospital where he was found to have a significant
cellulitis of the left lower foot and extremity.
- He was treated, had several surgeries (pre, intra, and post hospital noted detail care rendered),
completed several months of physical therapy, and has over the years since his treatment has had
issues, with numbness, and sharp shooting/ aching pain, swelling of the lower ext, difficulty with
running (limited in ability), exercising, standing in the left lower extremity.

Social History :
    - Air Force Veteran (retired)
    - Personal Trainer (prior to event)
            o At the time of the event the pt was said to be working towards discontinuing his service
                 with the FAA and pursuing a career in fitness. He had several paying clients who he
                 trained several times weekly in addition to working out on his own regularly.
    - Currently works for FAA
    - No ETOH, Tobacco, Elicit Drug use.

Family History:
No Family history of early coronary artery disease.
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                 EXHIBIT J
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                                        TriWest Healthcare Alliance


               Medical Documentation
                   Requirements
                      Quick Reference Guide – All Regions
            Key Points:
               Medical documentation is required for all services provided to a Veteran under the
               Department of Veterans Affairs (VA) Patient-Centered Community Care (PC3) Program
               and the Veterans Choice Program (VCP).
               Medical documentation should be uploaded as soon as possible, but no later than 30
               days from the date of service. Specific categories may require faster timelines.
               Providers located in the TriWest expansion regions (Regions 1, 2 and 4) must submit
               medical documentation to the authorizing VA Medical Centers (VAMC) within the VA-
               defined timeframes.
               Providers in Regions 3, 5 and 6 should submit medical documentation to TriWest.
               TriWest will then upload these documents to the VAMC.
               NEVER submit medical documentation with claims!


General Medical Documentation Content Requirements:
       Providers must submit all required records to the Veteran’s authorizing VAMC (Regions 1, 2 and 4)
       or TriWest (Regions 3, 5 and 6).
       Community Care programs in general require the initial appointment and end-of-episode-of-care
       documentation. However, some specialties may have additional requirements.
       If additional care is needed, providers should submit a Request for Care (RFS) or Secondary
       Authorization Request (SAR).
           o If the Veteran’s authorizing VAMC is scheduling care and setting appointments, then the RFS
                should be submitted directly to VA. This may be done via the HealthShare Referral Manager
                (HSRM) portal. If you cannot submit the RFS via the portal, please contact your VAMC for
                alternate options.
           o If TriWest is scheduling care and setting appointments for your state, please complete a
                Secondary Authorization Request (SAR) form and fax this to TriWest. This applies to all of
                Regions 3, 5 and 6 and those locations in Regions 1, 2 and 4 where VA is not managing the
                appointing process. SAR forms can be downloaded from TriWest’s provider portal or from
                TriWest’s Payer Space on Availity.
           o Please follow the Authorization Request Quick Reference Guide for more information.
       To be compliant, any faxed records must have the Veteran’s unique identifiers on each page.
       Unique identifiers should include the following at a minimum:
           o Veteran’s name                                     o Date of birth
           o Authorization number                               o Last four digits of social security number
       Providers must sign and date all submitted records/reports. Signatures will be requested for
       noncompliant documentation.
       Depending upon your region, TriWest or VA may be contacting your for any missing
       documentation/health records. Document submission is a program requirement.


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                                         TriWest Healthcare Alliance

Specific Medical Documentation Submission Timelines and Deadlines:
Service              VCP and PC3 Submission Maximum Timeframe Requirements

                     •   30 calendar days after discharge
                     •   Discharge summary related to the episode of care
                     •   Provider will coordinate with TriWest or VA (depending upon region) to arrange
Inpatient                necessary supplies, home health services and equipment.
(includes surgery)   •   For surgery, also complete and submit the VA Purchased Surgical Care Patient
                         Outcome Form
                     •   If additional care is required, please submit a request for additional care to TriWest
                         or the VAMC as appropriate.

                     •   Within 30 calendar days after discharge
                     •   Include functional status and status change from onset of treatment through
                         discharge
Inpatient
                     •   Use the CMS Inpatient Rehabilitation Facility Patient Assessment Instrument
Rehabilitation
                         (IRF-PAI)
                     •   The IRF-PAI example can be found at: https://www.cms.gov/Medicare/CMS-
                         Forms/CMS-Forms/Downloads/CMS10036.pdf

                     •   30 calendar days after the initial appointment
                     •   If additional appointments are authorized, submit to TriWest within 30 days upon
Outpatient
                         completion of episode of care
Specialty
                     •   For surgery, also complete and submit the VA Purchased Surgical Care Patient
Services                 Outcome Form to TriWest
(includes surgery)
                     •   If additional visits or procedures are required, please submit a request for additional
                         care to TriWest or the VAMC as appropriate.

                     •   Definition: a test result or interpretation that, if left untreated, could be life
                         threatening or place the Veteran at serious health risk; includes results from
                         laboratory, cardiology, radiology and other diagnostic areas are determined to be
                         “critical,” regardless of ordering priority
Critical             •   Within 24 hours of identification, reach point of contact at authorizing VAMC by
Findings                 phone
Category             •   Indicate the VAMC staff name (point of contact) and date/time of contact in your
                         discharge summary
                     •   After notifying VA, submit medical documentation as soon as possible, but no later
                         than 30 days. Providers must comply with any VA request for earlier upload in order
                         to expedite care.

                     •   Within 24 hours by phone to authorizing VAMC point of contact
Suicide Risk
*Critical Finding    •   A newly identified suicide risk in a Veteran not referred for inpatient mental health
                         should be considered a Critical Finding


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Service             VCP and PC3 Submission Maximum Timeframe Requirements

Cancer              •   Within 48 hours by phone to authorizing VAMC point of contact
Diagnosis           •   Although less urgent, a new diagnosis of cancer should be considered a Critical
*Critical Finding       Finding

Urgent Follow-      •   Within 24 hours by phone to authorizing VAMC point of contact
Up/Additional       •   If provider determines urgent follow-up is needed after completion of care, OR
Care                    urgent additional care needed during episode of care.

                    •   Within 5 business days of request for slides
Pathology
                    •   These are made available to VA for review/assessment

                    •   Additional documentation for Gastroenterology procedures is required from the
Gastroenterology
                        provider
Procedures
                    •   Please review the Gastroenterology Quick Reference Guide for details

Medical/            •   Additional documentation for Medical/Radiation Oncology services is required.
Radiation           •   Please review the Radiation Oncology Quick Reference Guide for details
Oncology
Services

                    •   Within 3 business days of start of care: submit initial assessment (OASIS)
Skilled Home        •   Within 5 business days of completion of episode of care: submit final discharge
Health Care             summary to your VAMC
                    •   Please review the Home Health Care Quick Reference Guide for additional details

                    •   Within 30 calendar days after discharge
                    •   Include functional status and status change from onset of treatment through
                        discharge
Inpatient
                    •   Use the CMS Inpatient Rehabilitation Facility Patient Assessment Instrument
Rehabilitation
                        (IRF-PAI)
                    •   The IRF-PAI example can be found at: https://www.cms.gov/Medicare/CMS-
                        Forms/CMS-Forms/Downloads/CMS10036.pdf

                    •   Within 30 calendar days after discharge
                    •   Suicide risk is a clinical issue, so the Veteran shall always be provided a written
Inpatient Mental        copy of their personal Suicide Prevention Safety Plan
Health              •   Please reference VA’s planning
                        manual: http://www.mentalhealth.va.gov/docs/VA_Safety_planning_manual.pdf
                    •   The plan must include the Veterans Crisis Line telephone number, 1-800-273-8255




                                           Confidential and Proprietary                                   3

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                                        TriWest Healthcare Alliance

Service             VCP and PC3 Submission Maximum Timeframe Requirements

                    •   Behavioral Health Forms to speed submission are available online from TriWest. If
                        requested to submit using these forms, please download them from TriWest’s Payer
                        Space within Availity or from the TriWest Provider portal (www.triwest.com/provider)
                    •   As soon as possible, but no less than 30 days from the session, an Initial
                        Assessment and a Completion of Episode of Care (EoC) should be submitted
                            o If an extension or addition to authorized care/therapy is required, submit a
Outpatient
                               Behavioral Health RFS (VA) or fax a SAR (TriWest) as soon as possible
Mental and                  o With additional authorized care, VA may require ongoing Progress
Behavioral                     Summaries
Health              •   Providers should never submit psychotherapy process notes with contents of a
                        private session. This is a HIPAA violation.
                    •   Providers should submit Clinical Progress notes. These are considered part of the
                        Veterans medical record.
                    •   For additional documentation requirements, please read the Mental Health Quick
                        Reference Guide (QRG)
                    •   An initial plan of care (CMS 485) should be submitted within three business days
Home Health
                    •   An end EoC record should be submitted within five business days
and Home
                    •   Infusion therapy requires nursing notes and delivery tickets that support all services
Infusion Therapy
                        and medications billed
(HIT)               •   Please refer to the Home Health Quick Reference Guide for additional information


  What should you include in your medical records for VA or TriWest?
  Minimum requirements for content of medical documentation or records, as applicable to the care,
  may include:
       An executive summary of the encounter to include any procedures performed and
       recommendations for further testing or follow-up (i.e. discharge summary for inpatient);
       Results of community testing or imaging such as MRI, CT scan;
       Actual results of any ancillary studies/procedures which would impact recommended follow-up
       such as biopsy results (i.e. positive biopsy results from EoC GI provider who recommends a follow
       up such as surgery); and
       Any recommended prescriptions, durable medical equipment (DME) and treatment plans.

  Submission of clinical records and documentation allow VA to ensure Veterans are receiving care that is
  both clinically sound and cost effective. If records are not submitted, VA will contact you to ensure that
  these records are submitted.




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                 EXHIBIT K
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      IDSA GUIDELINE




                   Practice Guidelines for the Diagnosis
                   and Management of Skin and Soft Tissue




                                                                                                                                                                                Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
                   Infections: 2014 Update by the Infectious
                   Diseases Society of America
                   Dennis L. Stevens,1 Alan L. Bisno,2 Henry F. Chambers,3 E. Patchen Dellinger,4 Ellie J. C. Goldstein,5 Sherwood L. Gorbach,6
                   Jan V. Hirschmann,7 Sheldon L. Kaplan,8 Jose G. Montoya,9 and James C. Wade10
                   1
                    Division of Infectious Diseases, Department of Veterans Affairs, Boise, Idaho; 2Medical Service, Miami Veterans Affairs Health Care System, Florida;
                   3
                    San Francisco General Hospital, University of California; 4Division of General Surgery, University of Washington, Seattle; 5University of California, Los
                   Angeles, School of Medicine, and R. M. Alden Research Laboratory, Santa Monica, California; 6Department of Community Health, Tufts University, Boston,
                   Massachusetts; 7Medical Service, Puget Sound Veterans Affairs Medical Center, Seattle, Washington; 8Department of Pediatrics, Baylor College of
                   Medicine, Houston, Texas; 9Department of Medicine, Stanford University, California; and 10Geisinger Health System, Geisinger Cancer Institute, Danville,
                   Pennsylvania

                   A panel of national experts was convened by the Infectious Diseases Society of America (IDSA) to update the
                   2005 guidelines for the treatment of skin and soft tissue infections (SSTIs). The panel’s recommendations were
                   developed to be concordant with the recently published IDSA guidelines for the treatment of methicillin-
                   resistant Staphylococcus aureus infections. The focus of this guideline is the diagnosis and appropriate treatment
                   of diverse SSTIs ranging from minor superﬁcial infections to life-threatening infections such as necrotizing fas-
                   ciitis. In addition, because of an increasing number of immunocompromised hosts worldwide, the guideline
                   addresses the wide array of SSTIs that occur in this population. These guidelines emphasize the importance
                   of clinical skills in promptly diagnosing SSTIs, identifying the pathogen, and administering effective treatments
                   in a timely fashion.



                   EXECUTIVE SUMMARY                                                                         the age of methicillin-resistant Staphylococcus aureus
                                                                                                             (MRSA). In addition, Figure 2 is provided to simplify
                   Summarized below are the recommendations made in                                          the approach to patients with surgical site infections.
                   the new guidelines for skin and soft tissue infections                                    The panel followed a process used in the development
                   (SSTIs). Figure 1 was developed to simplify the manage-                                   of other Infectious Diseases Society of America (IDSA)
                   ment of localized purulent staphylococcal infections                                      guidelines, which included a systematic weighting of the
                   such as skin abscesses, furuncles, and carbuncles in                                      strength of recommendation and quality of evidence
                                                                                                             using the GRADE (Grading of Recommendations
                      Received 17 April 2014; accepted 21 April 2014.
                                                                                                             Assessment, Development, and Evaluation) system
                      It is important to realize that guidelines cannot always account for individual var-   (Table 1) [1–4]. A detailed description of the methods,
                   iation among patients. They are not intended to supplant physician judgment with
                                                                                                             background, and evidence summaries that support each
                   respect to particular patients or special clinical situations. IDSA considers adher-
                   ence to these guidelines to be voluntary, with the ultimate determination regarding       of the recommendations can be found in the full text of
                   their application to be made by the physician in the light of each patient’s individual   the guidelines.
                   circumstances.
                      Correspondence: Dennis L. Stevens, PhD, MD, Infectious Diseases Section, VA
                   Medical Center, 500 W Fort St, Bldg 45, Boise, ID 83702 (dlsteven@mindspring.
                   com).                                                                                     I. What Is Appropriate for the Evaluation and Treatment
                   Clinical Infectious Diseases 2014;59(2):e10–52                                            of Impetigo and Ecthyma?
                   © The Author 2014. Published by Oxford University Press on behalf of the Infectious       Recommendations
                   Diseases Society of America. All rights reserved. For Permissions, please e-mail:
                   journals.permissions@oup.com.
                                                                                                               1. Gram stain and culture of the pus or exudates
                   DOI: 10.1093/cid/ciu296                                                                   from skin lesions of impetigo and ecthyma are


e10   •   CID 2014:59 (15 July)      •   Stevens et al
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                                                                                                                                                                    Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
Figure 1. Purulent skin and soft tissue infections (SSTIs). Mild infection: for purulent SSTI, incision and drainage is indicated. Moderate infection: pa-
tients with purulent infection with systemic signs of infection. Severe infection: patients who have failed incision and drainage plus oral antibiotics or those
with systemic signs of infection such as temperature >38°C, tachycardia (heart rate >90 beats per minute), tachypnea (respiratory rate >24 breaths per
minute) or abnormal white blood cell count (<12 000 or <400 cells/µL), or immunocompromised patients. Nonpurulent SSTIs. Mild infection: typical cel-
lulitis/erysipelas with no focus of purulence. Moderate infection: typical cellulitis/erysipelas with systemic signs of infection. Severe infection: patients who
have failed oral antibiotic treatment or those with systemic signs of infection (as deﬁned above under purulent infection), or those who are immunocom-
promised, or those with clinical signs of deeper infection such as bullae, skin sloughing, hypotension, or evidence of organ dysfunction. Two newer agents,
tedizolid and dalbavancin, are also effective agents in SSTIs, including those caused by methicillin-resistant Staphylococcus aureus, and may be approved
for this indication by June 2014. Abbreviations: C & S, culture and sensitivity; I & D, incision and drainage; MRSA, methicillin-resistant Staphylococcus
aureus; MSSA, methicillin-susceptible Staphylococcus aureus; Rx, treatment; TMP/SMX, trimethoprim-sulfamethoxazole.




recommended to help identify whether Staphylococcus aureus                            (b) Oral therapy for ecthyma or impetigo should be a 7-day
and/or a β-hemolytic Streptococcus is the cause (strong, moder-                       regimen with an agent active against S. aureus unless cultures
ate), but treatment without these studies is reasonable in typical                    yield streptococci alone (when oral penicillin is the re-
cases (strong, moderate).                                                             commended agent) (strong, high). Because S. aureus isolates
 2. Bullous and nonbullous impetigo can be treated with                               from impetigo and ecthyma are usually methicillin suscepti-
oral or topical antimicrobials, but oral therapy is recommended                       ble, dicloxacillin or cephalexin is recommended. When
for patients with numerous lesions or in outbreaks affecting sev-                     MRSA is suspected or conﬁrmed, doxycycline, clindamycin,
eral people to help decrease transmission of infection. Treat-                        or sulfamethoxazole-trimethoprim (SMX-TMP) is recom-
ment for ecthyma should be an oral antimicrobial.                                     mended (strong, moderate).
                                                                                      (c) Systemic antimicrobials should be used for infections
   (a) Treatment of bullous and nonbullous impetigo should                            during outbreaks of poststreptococcal glomerulonephritis to
   be with either mupirocin or retapamulin twice daily (bid)                          help eliminate nephritogenic strains of S. pyogenes from the
   for 5 days (strong, high).                                                         community (strong, moderate).


                                                                                       IDSA Practice Guidelines for SSTIs    •   CID 2014:59 (15 July)    •   e11
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                                                                                                                                                                 Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
Figure 2. Algorithm for the management and treatment of surgical site infections (SSIs). *For patients with type 1 (anaphylaxis or hives) allergy to β-lactam
antibiotics. If Gram stain not available, open and debride if purulent drainage present. Where the rate of infection with methicillin-resistant Staphylococcus
aureus infection is high, consider vancomycin, daptomycin, or linezolid, pending results of culture and susceptibility tests. Adapted and modiﬁed with permis-
sion from Dellinger et al [96]. Abbreviations: GI, gastrointestinal; MRSA, methicillin-resistant Staphylococcus aureus ; WBC, white blood cell count.




II. What Is the Appropriate Evaluation and Treatment for Purulent                 4. Gram stain and culture of pus from inﬂamed epidermoid
SSTIs (Cutaneous Abscesses, Furuncles, Carbuncles, and                           cysts are not recommended (strong, moderate).
Inﬂamed Epidermoid Cysts)?                                                        5. Incision and drainage is the recommended treatment for
Recommendations                                                                  inﬂamed epidermoid cysts, carbuncles, abscesses, and large fu-
  3. Gram stain and culture of pus from carbuncles and ab-                       runcles, mild (Figure 1) (strong, high).
scesses are recommended, but treatment without these studies                      6. The decision to administer antibiotics directed against
is reasonable in typical cases (strong, moderate).                               S. aureus as an adjunct to incision and drainage should be


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Table 1. Strength of Recommendations and Quality of the Evidence

Strength of                          Clarity of Balance Between
Recommendation and                   Desirable and Undesirable           Methodological Quality of
Quality of Evidence                             Effects               Supporting Evidence (Examples)                         Implications
Strong recommendation,            Desirable effects clearly          Consistent evidence from well-         Recommendation can apply to most
  high-quality evidence             outweigh undesirable effects,      performed RCTs or exceptionally        patients in most circumstances.
                                    or vice versa                      strong evidence from unbiased          Further research is unlikely to
                                                                       observational studies                  change our confidence in the
                                                                                                              estimate of effect




                                                                                                                                                            Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
Strong recommendation,            Desirable effects clearly          Evidence from RCTs with important      Recommendation can apply to most
  moderate quality                  outweigh undesirable effects,      limitations (inconsistent results,     patients in most circumstances.
  evidence                          or vice versa                      methodological flaws, indirect, or     Further research (if performed) is
                                                                       imprecise) or exceptionally strong     likely to have an important impact on
                                                                       evidence from unbiased                 our confidence in the estimate of
                                                                       observational studies                  effect and may change the estimate
Strong recommendation,            Desirable effects clearly          Evidence for at least 1 critical       Recommendation may change when
  low-quality quality               outweigh undesirable effects,      outcome from observational             higher-quality evidence becomes
  evidence                          or vice versa                      studies, RCTs with serious flaws       available. Further research (if
                                                                       or indirect evidence                   performed) is likely to have an
                                                                                                              important impact on our confidence
                                                                                                              in the estimate of effect and is likely
                                                                                                              to change the estimate
Strong recommendation,            Desirable effects clearly          Evidence for at least 1 critical       Recommendation may change when
  very low-quality evidence         outweigh undesirable effects,      outcome from unsystematic              higher-quality evidence becomes
  (very rarely applicable)          or vice versa                      clinical observations or very          available; any estimate of effect for
                                                                       indirect evidence                      at least 1 critical outcome is very
                                                                                                              uncertain.
Weak recommendation,              Desirable effects closely          Consistent evidence from well-         The best action may differ depending
 high-quality evidence              balanced with undesirable          performed RCTs or exceptionally        on circumstances or patient’s or
                                    effects                            strong evidence from unbiased          societal values. Further research is
                                                                       observational studies                  unlikely to change our confidence in
                                                                                                              the estimate of effect
Weak recommendation,              Desirable effects closely          Evidence from RCTs with important      Alternative approaches likely to be
 moderate-quality                   balanced with undesirable          limitations (inconsistent results,     better for some patients under
 evidence                           effects                            methodological flaws, indirect, or     some circumstances. Further
                                                                       imprecise) or exceptionally strong     research (if performed) is likely to
                                                                       evidence from unbiased                 have an important impact on our
                                                                       observational studies                  confidence in the estimate of effect
                                                                                                              and may change the estimate
Weak recommendation,              Uncertainty in the estimates of    Evidence for at least 1 critical       Other alternatives may be equally
 low-quality evidence               desirable effects, harms, and      outcome from observational             reasonable. Further research is very
                                    burden; desirable effects,         studies, from RCTs with serious        likely to have an important impact on
                                    harms, and burden may be           flaws or indirect evidence             our confidence in the estimate of
                                    closely balanced                                                          effect and is likely to change the
                                                                                                              estimate
Weak recommendation,              Major uncertainty in the           Evidence for at least 1 critical       Other alternatives may be equally
 very low-quality evidence         estimates of desirable effects,     outcome from unsystematic              reasonable. Any estimate of effect,
                                   harms, and burden; desirable        clinical observations or very          for at least 1 critical outcome, is very
                                   effects may or may not be           indirect evidence                      uncertain
                                   balanced with undesirable
                                   effects

Abbreviation: RCT, randomized controlled trial.




made based upon presence or absence of systemic inﬂamma-                     antibiotic active against MRSA is recommended for patients
tory response syndrome (SIRS), such as temperature >38°C or                  with carbuncles or abscesses who have failed initial antibiotic
<36°C, tachypnea >24 breaths per minute, tachycardia >90                     treatment or have markedly impaired host defenses or in pa-
beats per minute, or white blood cell count >12 000                          tients with SIRS and hypotension (severe; Figure 1 and
or <400 cells/µL (moderate; Figure 1) (strong, low). An                      Table 2) (strong, low).




                                                                                 IDSA Practice Guidelines for SSTIs   •   CID 2014:59 (15 July)   •   e13
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e14




                                                                                                                                                                                                                      Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
                        Table 2.       Antimicrobial Therapy for Staphylococcal and Streptococcal Skin and Soft Tissue Infections
•
CID 2014:59 (15 July)



                        Disease Entity                         Antibiotic          Dosage, Adults                     Dosage, Childrena                                       Comment
                                   b
                        Impetigo                       Dicloxacillin             250 mg qid po          N/A                                         N/A
                          (Staphylococcus and          Cephalexin                250 mg qid po          25–50 mg/kg/d in 3–4 divided doses po       N/A
                          Streptococcus)
                                                       Erythromycin              250 mg qid poc         40 mg/kg/d in 3–4 divided doses po          Some strains of Staphylococcus aureus and Streptococcus
                                                                                                                                                      pyogenes may be resistant.
                                                       Clindamycin               300–400 mg qid po      20 mg/kg/d in 3 divided doses po            N/A
                                                       Amoxicillin-clavulanate   875/125 mg bid po      25 mg/kg/d of the amoxicillin component     N/A
•




                                                                                                          in 2 divided doses po
Stevens et al




                                                       Retapamulin ointment      Apply to lesions bid   Apply to lesions bid                        For patients with limited number of lesions
                                                       Mupirocin ointment        Apply to lesions bid   Apply to lesions bid                        For patients with limited number of lesions
                        MSSA SSTI                      Nafcillin or oxacillin    1-2 g every 4 h IV     100–150 mg/kg/d in 4 divided doses          Parental drug of choice; inactive against MRSA
                                                       Cefazolin                 1 g every 8 h IV       50 mg/kg/d in 3 divided doses               For penicillin-allergic patients except those with immediate
                                                                                                                                                      hypersensitivity reactions. More convenient than nafcillin
                                                                                                                                                      with less bone marrow suppression
                                                       Clindamycin               600 mg every 8 h IV    25–40 mg/kg/d in 3 divided doses IV or      Bacteriostatic; potential of cross-resistance and emergence
                                                                                   or                   25–30 mg/kg/d in 3 divided doses po           of resistance in erythromycin-resistant strains; inducible
                                                                                 300–450 mg qid po                                                    resistance in MRSA
                                                       Dicloxacillin             500 mg qid po          25–50 mg/kg/d in 4 divided doses po         Oral agent of choice for methicillin-susceptible strains in
                                                                                                                                                      adults. Not used much in pediatrics
                                                       Cephalexin                500 mg qid po          25–50 mg/kg/d 4 divided doses po            For penicillin-allergic patients except those with immediate
                                                                                                                                                      hypersensitivity reactions. The availability of a suspension
                                                                                                                                                      and requirement for less frequent dosing
                                                       Doxycycline,              100 mg bid po          Not recommended for age <8 yd               Bacteriostatic; limited recent clinical experience
                                                         minocycline
                                                       Trimethoprim-             1–2 double-            8–12 mg/kg (based on trimethoprim           Bactericidal; efficacy poorly documented
                                                          sulfamethoxazole         strength tablets       component) in either 4 divided doses IV
                                                                                   bid po                 or 2 divided doses po
                        MRSA SSTI                      Vancomycin                30 mg/kg/d in 2        40 mg/kg/d in 4 divided doses IV            For penicillin allergic patients; parenteral drug of choice for
                                                                                   divided doses IV                                                   treatment of infections caused by MRSA
                                                       Linezolid                 600 mg every 12 h      10 mg/kg every 12 h IV or po for children   Bacteriostatic; limited clinical experience; no cross-
                                                                                   IV or 600 mg bid       <12 y                                       resistance with other antibiotic classes; expensive
                                                                                   po
                                                       Clindamycin               600 mg every 8 h IV    25–40 mg/kg/d in 3 divided doses IV or      Bacteriostatic; potential of cross-resistance and emergence
                                                                                   or 300–450 mg          30–40 mg/kg/d in 3 divided doses po         of resistance in erythromycin-resistant strains; inducible
                                                                                   qid po                                                             resistance in MRSA. Important option for children
                                                       Daptomycin                4 mg/kg every 24 h     N/A                                         Bactericidal; possible myopathy
                                                                                   IV
                                                       Ceftaroline               600 mg bid IV          N/A                                         Bactericidal
                                                       Doxycycline,              100 mg bid po          Not recommended for age <8 yd               Bacteriostatic; limited recent clinical experience
                                                         minocycline
                                                       Trimethoprim-             1–2 double-            8–12 mg/kg/d (based on trimethoprim         Bactericidal; limited published efficacy data
                                                          sulfamethoxazole         strength tablets       component) in either 4 divided doses IV
                                                                                   bid po                 or 2 divided doses po
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               III. What Is the Appropriate Treatment for Recurrent Skin




                                                                                                                                         Abbreviations: bid, twice daily; IV, intravenous; MRSA, methicillin-resistant Staphylococcus aureus; MSSA, methicillin-susceptible Staphylococcus aureus; N/A, not applicable; po, by mouth; qid, 4 times daily; SSTI, skin
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Abscesses?
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Recommendations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 7. A recurrent abscess at a site of previous infection should
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               prompt a search for local causes such as a pilonidal cyst, hidra-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               denitis suppurativa, or foreign material (strong, moderate).
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 8. Recurrent abscesses should be drained and cultured early
                        Comment




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               in the course of infection (strong, moderate).
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 9. After obtaining cultures of recurrent abscess, treat with a




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               5- to 10-day course of an antibiotic active against the pathogen
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               isolated (weak, low).




                                                                                                                                                                                                                                                                                                                                                                       Doses listed are not appropriate for neonates. Refer to the report by the Committee on Infectious Diseases, American Academy of Pediatrics [246], for neonatal doses.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 10. Consider a 5-day decolonization regimen twice daily of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               intranasal mupirocin, daily chlorhexidine washes, and daily de-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               contamination of personal items such as towels, sheets, and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               clothes for recurrent S. aureus infection (weak, low).
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 11. Adult patients should be evaluated for neutrophil disor-
                                         N/A

                                                                                         N/A




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ders if recurrent abscesses began in early childhood (strong,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               moderate).
                                                                                            resistance is <1% but may be increasing in
                                         antimicrobial agents for patients with severe


                                                                                            daptomycin, or telavancin. Clindamycin




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               IV. What Is Appropriate for the Evaluation and Treatment
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               of Erysipelas and Cellulitis?
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Infection due to Staphylococcus and Streptococcus species. Duration of therapy is 7 days, depending on the clinical response.
                                                                                         Clindamycin, vancomycin, linezolid,
                     Dosage, Childrena




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Recommendations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 12. Cultures of blood or cutaneous aspirates, biopsies, or
                                           penicillin hypersensitivity




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               swabs are not routinely recommended (strong, moderate).
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 13. Cultures of blood are recommended (strong, moderate),
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               and cultures and microscopic examination of cutaneous aspi-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               rates, biopsies, or swabs should be considered in patients with
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               malignancy on chemotherapy, neutropenia, severe cell-mediat-
                                                                                            Asia




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ed immunodeﬁciency, immersion injuries, and animal bites
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               (weak, moderate).
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 14. Typical cases of cellulitis without systemic signs of infec-
                                                                                           100 000 units/kg/

                                                                                         10–13 mg/kg dose
                        Dosage, Adults




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               tion should receive an antimicrobial agent that is active against
                                                                                           dose every 6 h
                                         Pediatric dosage




                                                                                         50 mg/kg/dose

                                                                                         33 mg/kg/dose
                                                                                           every 8 h IV



                                                                                           every 8 h IV




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               streptococci (mild; Figure 1) (strong, moderate). For cellulitis
                                                                                         Penicillin 60–




                                                                                           every 6 h




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               with systemic signs of infection (moderate nonpurulent; Fig-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Adult dosage of erythromycin ethylsuccinate is 400 mg 4 times/d po.




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ure 1), systemic antibiotics are indicated. Many clinicians
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               could include coverage against methicillin-susceptible S. aureus
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               (MSSA) (weak, low). For patients whose cellulitis is associated
                                                                                         Nafcillin 1–2 g every 4–

                                                                                         Cefazolin 1 g every 8 h
                                                                                            units every 4–6 h IV




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               with penetrating trauma, evidence of MRSA infection else-
                                                                                         Clindamycin 600–900




                                                                                         Penicillin VK 250–500
                                                                                         Penicillin 2–4 million




                                                                                         Cephalexin 500 mg
                                                                                            mg every 6 h po




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               where, nasal colonization with MRSA, injection drug use, or
                                                                                            mg every 8 h IV
                        Antibiotic




                                                                                            every 6 h po




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               SIRS (severe nonpurulent; Figure 1), vancomycin or another an-
                                         Adult dosage




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               timicrobial effective against both MRSA and streptococci is rec-
                                                                                                                                         and soft tissue infection; tid, 3 times daily.
                                                                                            6 h IV




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ommended (strong, moderate). In severely compromised
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     See [246] for alternatives in children.
                                                                                            IV




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               patients as deﬁned in question 13 (severe nonpurulent;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Figure 1), broad-spectrum antimicrobial coverage may be con-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               sidered (weak, moderate). Vancomycin plus either piperacillin-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               tazobactam or imipenem/meropenem is recommended as a
Table 2 continued.




                                                                                         Streptococcal skin
                                         Non-purulent SSTI




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               reasonable empiric regimen for severe infections (strong,
                        Disease Entity




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               moderate).
                                                                                           infections
                                           (cellulitis)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 15. The recommended duration of antimicrobial therapy is 5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               days, but treatment should be extended if the infection has not
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               improved within this time period (strong, high).
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               b



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     d
                                                                                                                                                                                                                                                                                                                                                                       a



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               c




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  IDSA Practice Guidelines for SSTIs   •   CID 2014:59 (15 July)   •   e15
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  16. Elevation of the affected area and treatment of predispos-      >38.5°C, heart rate >110 beats/minute, or white blood cell
ing factors, such as edema or underlying cutaneous disorders,         (WBC) count >12 000/µL (weak, low).
are recommended (strong, moderate).                                     24. A brief course of systemic antimicrobial therapy is indi-
  17. In lower-extremity cellulitis, clinicians should carefully      cated in patients with surgical site infections following clean op-
examine the interdigital toe spaces because treating ﬁssuring,        erations on the trunk, head and neck, or extremities that also
scaling, or maceration may eradicate colonization with patho-         have systemic signs of infection (strong, low).
gens and reduce the incidence of recurrent infection (strong,           25. A ﬁrst-generation cephalosporin or an antistaphylococcal
moderate).                                                            penicillin for MSSA, or vancomycin, linezolid, daptomycin, tela-
  18. Outpatient therapy is recommended for patients who do           vancin, or ceftaroline where risk factors for MRSA are high (nasal




                                                                                                                                             Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
not have SIRS, altered mental status, or hemodynamic instabil-        colonization, prior MRSA infection, recent hospitalization, recent
ity (mild nonpurulent; Figure 1) (strong, moderate). Hospitali-       antibiotics), is recommended (strong, low). See also Tables 2 and 3.
zation is recommended if there is concern for a deeper or               26. Agents active against gram-negative bacteria and anaer-
necrotizing infection, for patients with poor adherence to ther-      obes, such as a cephalosporin or ﬂuoroquinolone in combina-
apy, for infection in a severely immunocompromised patient, or        tion with metronidazole, are recommended for infections
if outpatient treatment is failing (moderate or severe nonpuru-       following operations on the axilla, gastrointestinal tract, perine-
lent; Figure 1) (strong, moderate).                                   um, or female genital tract (strong, low). See also Table 3.


V. Should Anti-inﬂammatory Agents Be Used to Complement               VIII. What Is the Preferred Evaluation and Treatment
Antibiotic Treatment of Cellulitis?                                   of Necrotizing Fasciitis, Including Fournier Gangrene?
Recommendation                                                        Recommendations
 19. Systemic corticosteroids (eg, prednisone 40 mg daily for           27. Prompt surgical consultation is recommended for pa-
7 days) could be considered in nondiabetic adult patients with        tients with aggressive infections associated with signs of system-
cellulitis (weak, moderate).                                          ic toxicity or suspicion of necrotizing fasciitis or gas gangrene
                                                                      (severe nonpurulent; Figure 1) (strong, low).
VI. What Is the Preferred Evaluation and Management of Patients         28. Empiric antibiotic treatment should be broad (eg, vanco-
With Recurrent Cellulitis?                                            mycin or linezolid plus piperacillin-tazobactam or a carbape-
Recommendations                                                       nem; or plus ceftriaxone and metronidazole), as the etiology
 20. Identify and treat predisposing conditions such as               can be polymicrobial (mixed aerobic–anaerobic microbes) or
edema, obesity, eczema, venous insufﬁciency, and toe web ab-          monomicrobial (group A streptococci, community-acquired
normalities (strong, moderate). These practices should be per-        MRSA) (strong, low). See also Table 4.
formed as part of routine patient care and certainly during the         29. Penicillin plus clindamycin is recommended for treat-
acute stage of cellulitis (strong, moderate).                         ment of documented group A streptococcal necrotizing fasciitis
 21. Administration of prophylactic antibiotics, such as oral         (strong, low). See Figures 1, 2, and Table 4.
penicillin or erythromycin bid for 4–52 weeks, or intramuscular
benzathine penicillin every 2–4 weeks, should be considered in
                                                                      IX. What Is the Appropriate Approach to the Management of
patients who have 3–4 episodes of cellulitis per year despite         Pyomyositis?
attempts to treat or control predisposing factors (weak, moder-       Recommendations
ate). This program should be continued so long as the predis-           30. Magnetic resonance imaging (MRI) is the recommended
posing factors persist (strong, moderate).                            imaging modality for establishing the diagnosis of pyomyositis.
                                                                      Computed tomography (CT) scan and ultrasound studies are
VII. What Is the Preferred Management of Surgical Site                also useful (strong, moderate).
Infections?                                                             31. Cultures of blood and abscess material should be ob-
Recommendations                                                       tained (strong, moderate).
  22. Suture removal plus incision and drainage should be per-          32. Vancomycin is recommended for initial empirical ther-
formed for surgical site infections (strong, low).                    apy. An agent active against enteric gram-negative bacilli should
  23. Adjunctive systemic antimicrobial therapy is not routine-       be added for infection in immunocompromised patients or fol-
ly indicated, but in conjunction with incision and drainage may       lowing open trauma to the muscles (strong, moderate).
be beneﬁcial for surgical site infections associated with a signiﬁ-     33. Cefazolin or antistaphylococcal penicillin (eg, nafcillin or
cant systemic response (Figure 2), such as erythema and indu-         oxacillin) is recommended for treatment of pyomyositis caused
ration extending >5 cm from the wound edge, temperature               by MSSA (strong, moderate). See Table 2.


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  34. Early drainage of purulent material should be performed          XIII. Should Tetanus Toxoid Be Administered for Animal Bite
(strong, high).                                                        Wounds?
  35. Repeat imaging studies should be performed in the pa-            Recommendation
tient with persistent bacteremia to identify undrained foci of in-      43. Tetanus toxoid should be administered to patients with-
fection (strong, low).                                                 out toxoid vaccination within 10 years. Tetanus, diptheria, and
  36. Antibiotics should be administered intravenously initial-        tetanus (Tdap) is preferred over Tetanus and diptheria (Td) if
ly, but once the patient is clinically improved, oral antibiotics      the former has not been previously given (strong, low).
are appropriate for patients in whom bacteremia cleared
promptly and there is no evidence of endocarditis or metastatic        XIV. In Which Patients Is Primary Wound Closure Appropriate for




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abscess. Two to 3 weeks of therapy is recommended (strong,             Animal Bite Wounds?
low).                                                                  Recommendation
                                                                        44. Primary wound closure is not recommended for wounds,
                                                                       with the exception of those to the face, which should be man-
X. What Is the Appropriate Approach to the Evaluation and
                                                                       aged with copious irrigation, cautious debridement, and
Treatment of Clostridial Gas Gangrene or Myonecrosis?
                                                                       preemptive antibiotics (strong, low). Other wounds may be ap-
Recommendations
                                                                       proximated (weak, low).
  37. Urgent surgical exploration of the suspected gas gangrene
site and surgical debridement of involved tissue should be per-
formed (severe nonpurulent; Figure 1) (strong, moderate).              XV. What Is the Appropriate Treatment of Cutaneous Anthrax?
  38. In the absence of a deﬁnitive etiologic diagnosis, broad-        Recommendations
spectrum treatment with vancomycin plus either piperacillin/            45. Oral penicillin V 500 mg 4 times daily (qid) for 7–10
tazobactam, ampicillin/sulbactam, or a carbapenem antimicrobial        days is the recommended treatment for naturally acquired cuta-
is recommended (strong, low). Deﬁnitive antimicrobial therapy          neous anthrax (strong, high).
with penicillin and clindamycin (Figure 1) is recommended               46. Ciproﬂoxacin 500 mg by mouth ( po) bid or levoﬂoxacin
for treatment of clostridial myonecrosis (strong, low).                500 mg intravenously (IV)/po every 24 hours × 60 days is rec-
  39. Hyperbaric oxygen (HBO) therapy is not recommended               ommended for bioterrorism cases because of presumed aerosol
because it has not been proven as a beneﬁt to the patient and          exposure (strong, low).
may delay resuscitation and surgical debridement (strong,
low).                                                                  XVI. What Is the Appropriate Approach for the Evaluation and
                                                                       Treatment of Bacillary Angiomatosis and Cat Scratch Disease?
                                                                       Recommendations
XI. What Is the Role of Preemptive Antimicrobial Therapy to
                                                                        47. Azithromycin is recommended for cat scratch disease
Prevent Infection for Dog or Cat Bites?
                                                                       (strong, moderate) according to the following dosing protocol:
Recommendations
  40. Preemptive early antimicrobial therapy for 3–5 days is             (a) Patients >45 kg: 500 mg on day 1 followed by 250 mg
recommended for patients who (a) are immunocompromised;                  for 4 additional days (strong, moderate).
(b) are asplenic; (c) have advanced liver disease; (d) have preex-       (b) Patients <45 kg: 10 mg/kg on day 1 and 5 mg/kg for 4
isting or resultant edema of the affected area; (e) have moderate        more days (strong, moderate).
to severe injuries, especially to the hand or face; or (f ) have in-    48. Erythromycin 500 mg qid or doxycycline 100 mg bid for
juries that may have penetrated the periosteum or joint capsule        2 weeks to 2 months is recommended for treatment of bacillary
(strong, low).                                                         angiomatosis (strong, moderate).
  41. Postexposure prophylaxis for rabies may be indi-
cated; consultation with local health ofﬁcials is recommend-           XVII. What Is the Preferred Treatment for Erysipeloid?
ed to determine if vaccination should be initiated (strong,            Recommendation
low).                                                                   49. Penicillin (500 mg qid) or amoxicillin (500 mg 3 times
                                                                       daily [tid]) for 7–10 days is recommended for treatment of er-
XII. What Is the Treatment for Infected Animal Bite–Related            ysipeloid (strong, high).
Wounds?
Recommendation                                                         XVIII. What Is the Appropriate Treatment of Glanders?
 42. An antimicrobial agent or agents active against both aer-         Recommendation
obic and anaerobic bacteria such as amoxicillin-clavulanate             50. Ceftazidime, gentamicin, imipenem, doxycycline, or ciproﬂo-
(Table 5) should be used (strong, moderate).                           xacin is recommended based on in vitro susceptibility (strong, low).


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XIX. What Is the Appropriate Diagnosis and Treatment of Bubonic            61. Risk-stratify patients with fever and neutropenia accord-
Plague?                                                                  ing to susceptibility to infection: high-risk patients are those
Recommendation                                                           with anticipated prolonged (>7 days) and profound neutropenia
 51. Bubonic plague should be diagnosed by Gram stain and                (absolute neutrophil count <100 cells/µL) or with a Multina-
culture of aspirated material from a suppurative lymph node              tional Association for Supportive Care (MASCC) score of
(strong, moderate). Streptomycin (15 mg/kg intramuscularly               <21; low-risk patients are those with anticipated brief (<7
[IM] every 12 hours) or doxycycline (100 mg bid po) is recom-            days) periods of neutropenia and few comorbidities (strong,
mended for treatment of bubonic plague (strong, low). Genta-             low) or with a MASCC score of ≥21 (strong, moderate).
micin could be substituted for streptomycin (weak, low).                   62. Determine the extent of infection through a thorough




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                                                                         physical examination, blood cultures, chest radiograph, and ad-
XX. What Is Appropriate for Diagnosis and Treatment for                  ditional imaging (including chest CT) as indicated by clinical
Tularemia?                                                               signs and symptoms (strong, low).
Recommendations
  52. Serologic tests are the preferred method of diagnosing tu-
laremia (weak, low).                                                     XXIII. What Is the Appropriate Antibiotic Therapy for Patients With
                                                                         SSTIs During the Initial Episode of Fever and Neutropenia?
  53. Streptomycin (15 mg/kg every 12 hours IM) or gentami-
                                                                         Recommendations
cin (1.5 mg/kg every 8 hours IV) is recommended for treatment
                                                                           63. Hospitalization and empiric antibacterial therapy with
of severe cases of tularemia (strong, low).
                                                                         vancomycin plus antipseudomonal antibiotics such as cefepime,
  54. Tetracycline (500 mg qid) or doxycycline (100 mg bid po) is
                                                                         a carbapenem (imipenem-cilastatin or meropenem or doripe-
recommended for treatment of mild cases of tularemia (strong, low).
                                                                         nem) or piperacillin-tazobactam is recommended (strong, high).
  55. Notify the microbiology laboratory if tularemia is suspect-
                                                                           64. Documented clinical and microbiologic SSTIs should be
ed (strong, high).
                                                                         treated based on antimicrobial susceptibilities of isolated organ-
                                                                         isms (strong, high).
XXI. What Is the Appropriate Approach to Assess SSTIs in                   65. It is recommended that the treatment duration for most
Immunocompromised Patients?                                              bacterial SSTIs should be 7–14 days (strong, moderate).
Recommendations                                                            66. Surgical intervention is recommended for drainage of
  56. In addition to infection, differential diagnosis of skin le-       soft tissue abscess after marrow recovery or for a progressive
sions should include drug eruption, cutaneous inﬁltration with           polymicrobial necrotizing fasciitis or myonecrosis (strong, low).
the underlying malignancy, chemotherapy- or radiation-in-                  67. Adjunct colony-stimulating factor therapy (granulocyte
duced reactions, Sweet syndrome, erythema multiforme, leuko-             colony-stimulating factor [G-CSF], granulocyte macrophage
cytoclastic vasculitis, and graft-vs-host disease among                  colony-stimulating factor [GM-CSF]) or granulocyte transfu-
allogeneic transplant recipients (strong, high).                         sions are not routinely recommended (weak, moderate).
  57. Differential diagnosis for infection of skin lesions should          68. Acyclovir should be administered to patients suspected
include bacterial, fungal, viral, and parasitic agents (strong, high).   or conﬁrmed to have cutaneous or disseminated varicella zoster
  58. Biopsy or aspiration of the lesion to obtain material for          virus (herpes simplex virus [HSV] or varicella zoster virus
histological and microbiological evaluation should always be             [VZV]) infection (strong, moderate).
implemented as an early diagnostic step (strong, high).

                                                                         XXIV. What Is the Appropriate Antimicrobial Therapy for Patients
XXII. What Is the Appropriate Approach to Assess SSTIs in
                                                                         With SSTIs During Persistent or Recurrent Episodes of Fever and
Patients With Fever and Neutropenia?
                                                                         Neutropenia?
Recommendations
                                                                         Recommendations
 59. Determine whether the current presentation of fever and
                                                                          69. Yeasts and molds remain the primary cause of infection-
neutropenia is the patient’s initial episode of fever and neutro-
                                                                         associated with persistent and recurrent fever and neutropenia;
penia, or persistent unexplained fever of their initial episode
                                                                         therefore, empiric antifungal therapy (Table 6) should be added
(after 4–7 days) or a subsequent episode of fever and neutrope-
                                                                         to the antibacterial regimen (strong, high).
nia (recurrent) (strong, low).
 60. Aggressively determine the etiology of the SSTI by aspi-              (a) Empiric administration of vancomycin or other agents
ration and/or biopsy of skin and soft tissue lesions and submit            with gram-positive activity (linezolid, daptomycin, or ceftaroline,
these for thorough cytological/histological assessments, micro-            Table 7) should be added if not already being administered
bial staining, and cultures (strong, low).                                 (strong, high).


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   (b) Candida species SSTIs should be treated with an echi-            the primary team, dermatology, infectious disease, and other
   nocandin or, if Candida parapsilosis has been isolated, lipid        consulting teams (strong, moderate).
   formulation amphotericin B (strong, high) with ﬂuconazole
   as an acceptable alternative (strong, moderate). Treatment           INTRODUCTION
   should be administered for 2 weeks after clearance of blood-
   stream infection or resolution of skin lesions (strong, moderate).   This practice guideline provides recommendations for the diag-
   (c) Aspergillus SSTIs should be treated with voriconazole            nosis and management of skin and soft tissue infections (SSTIs)
   (strong, high), or alternatively, lipid formulations of am-          in otherwise healthy hosts and compromised hosts of all age
   photericin B, posaconazole, or echinocandin for 6–12                 groups. These recommendations take on new importance be-




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   weeks (strong, low). Mucor/Rhizopus infections should be             cause of a dramatic increase in the frequency and severity of
   treated with lipid formulation amphotericin B (strong,               infections and the emergence of resistance to many of the anti-
   moderate) or posaconazole (strong, low) (Table 6). The ad-           microbial agents commonly used to treat SSTIs in the past. For
   dition of an echinocandin could be considered based on               example, there was a 29% increase in the total hospital admis-
   synergy in murine models of mucormycosis, and observa-               sions for these infections between 2000 and 2004 [5]. In addi-
   tional clinical data (weak, low).                                    tion, 6.3 million physician’s ofﬁce visits per year are attributable
   (d) Fusarium species infections should be treated with               to SSTIs [6]. Similarly, between 1993 and 2005, annual emer-
   high-dose IV voriconazole or posaconazole (strong, low).             gency department visits for SSTIs increased from 1.2 million
   (e) Begin treatment for antibiotic-resistant bacterial organ-        to 3.4 million patients [7]. Some of this increased frequency is
   isms (Table 7), in patients currently on antibiotics (strong,        related to the emergence of community-associated methicillin-
   moderate).                                                           resistant Staphylococcus aureus (MRSA) [5].
   (f ) Intravenous acyclovir should be added to the patient’s             These infections have diverse etiologies that depend, in part,
   antimicrobial regimen for suspected or conﬁrmed cutaneous            on different epidemiological settings. As a result, obtaining a
   or disseminated HSV or VZV infections (strong, moderate).            careful history that includes information about the patient’s im-
 70. Blood cultures should be obtained and skin lesions in this         mune status, geographic locale, travel history, recent trauma or
population of patients should be aggressively evaluated by culture      surgery, previous antimicrobial therapy, lifestyle, hobbies, and
aspiration, biopsy, or surgical excision, as they may be caused by      animal exposure or bites is essential when developing an ade-
resistant microbes, yeast, or molds (strong, moderate).                 quate differential diagnosis and an appropriate index of suspi-
 71. The sensitivity of a single-serum fungal antigen test              cion for speciﬁc etiological agents. Recognition of the physical
(1,3-β-D-glucan or galactomannan tests) is low particularly in          examination ﬁndings and understanding the anatomical rela-
patients receiving antifungal agents, and beneﬁts from laborato-        tionships of skin and soft tissue are crucial for establishing
ry tests for fungal antigen or DNA detection remain inconsis-           the correct diagnosis. In some cases, this information is insufﬁ-
tent (strong, moderate).                                                cient and biopsy or aspiration of tissue may be necessary. In ad-
 72. Polymerase chain reaction (PCR) in peripheral blood for            dition, radiographic procedures may be critical in a small subset
HSV and VZV might be helpful in establishing a diagnosis of             of patients to determine the level of infection and the presence
disseminated infection in patients with unexplained skin lesions        of gas, abscess, or a necrotizing process. Last, surgical explora-
(weak, moderate).                                                       tion or debridement is an important diagnostic, as well as ther-
                                                                        apeutic, procedure in patients with necrotizing infections or
XXV. What Is the Appropriate Approach to Assess SSTIs in                myonecrosis and may be important for selected immunocom-
Patients With Cellular Immunodeﬁciency?                                 promised hosts.
Recommendations                                                            Clinical evaluation of patients with SSTI aims to establish the
  73. Consider immediate consultation with a dermatologist              cause and severity of infection and must take into account path-
familiar with cutaneous manifestations of infection in patients         ogen-speciﬁc and local antibiotic resistance patterns. Many dif-
with cellular immune defects (eg, those with lymphoma, lym-             ferent microbes can cause soft tissue infections, and although
phocytic leukemia, recipients of organ transplants, or those re-        speciﬁc bacteria may cause a particular type of infection, con-
ceiving immunosuppressive drugs such as anti–tumor necrosis             siderable overlaps in clinical presentation occur. Clues to the di-
factors or certain monoclonal antibodies) (weak, low).                  agnosis and algorithmic approaches to diagnosis are covered in
  74. Consider biopsy and surgical debridement early in the             detail in the text to follow. Speciﬁc recommendations for ther-
management of these patients (weak, low).                               apy are given, each with a rating that indicates the strength of
  75. Empiric antibiotics, antifungals, and/or antivirals should        and evidence for recommendations according to the Infectious
be considered in life-threatening situations (weak, moderate).          Diseases Society of America (IDSA)/US Public Health Service
The use of speciﬁc agents should be decided with the input of           grading system for rating recommendations in clinical


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guidelines (Table 1) [2]. The following 24 clinical questions are    (XXV) What is the appropriate approach to assess SSTIs in
answered:                                                           patients with cellular immunodeﬁciency?

  (I) What is appropriate for the evaluation and treatment of
                                                                    PRACTICE GUIDELINES
impetigo and ecthyma?
  (II) What is the appropriate evaluation and treatment for cu-     “Practice guidelines are systematically developed statements to
taneous abscesses, furuncles, carbuncles, and inﬂamed epider-       assist practitioners and patients in making decisions about
moid cysts?                                                         appropriate health care for speciﬁc clinical circumstances” [8].
  (III) What is the appropriate treatment for recurrent skin        Attributes of high-quality guidelines include validity, reliability,




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abscesses?                                                          reproducibility, clinical applicability, clinical ﬂexibility, clarity,
  (IV) What is appropriate for the evaluation and treatment of      multidisciplinary process, review of evidence, and documenta-
erysipelas and cellulitis?                                          tion [8].
  (V) Should corticosteroids be used to complement antibiotic
treatment of cellulitis?
                                                                    METHODOLOGY
  (VI) What is the preferred evaluation and management of
patients with recurrent cellulitis?
                                                                    Panel Composition
  (VII) What is the preferred management of surgical site
                                                                    A panel of 10 multidisciplinary experts in the management of
infections?
                                                                    SSTIs in children and adults was convened in 2009. Efforts
  (VIII) What is the preferred evaluation and treatment of
                                                                    were made to include representatives from diverse geographic
necrotizing fasciitis, including Fournier gangrene?
                                                                    areas, pediatric and adult practitioners, and a wide breadth of
  (IX) What is the appropriate approach to the management
                                                                    specialties. The panel consisted of 10 members of IDSA. Repre-
of pyomyositis?
                                                                    sentation included 8 adult infectious disease physicians, 1 pedi-
  (X) What is the appropriate approach to the evaluation and
                                                                    atric infectious disease physician, and 1 general surgeon. Panel
treatment of clostridial gas gangrene or myonecrosis?
                                                                    members were selected based on their clinical and research ex-
  (XI) What is the role of preemptive antimicrobial therapy to
                                                                    pertise on diverse SSTIs including infections in compromised
prevent infection for dog or cat bites?
                                                                    hosts, necrotizing fasciitis, gas gangrene, cellulitis, and cutane-
  (XII) What is the treatment for infected animal bite–related
                                                                    ous abscesses and infections following surgery and animal and
wounds?
                                                                    human bites. Finally, some members were selected on the basis
  (XIII) Should tetanus toxoid be administered for animal bite
                                                                    of their expertise for speciﬁc microbes such as staphylococci,
wounds?
                                                                    streptococci, Clostridium species, and anaerobes. Two members
  (XIV) In which patients is primary wound closure appropri-
                                                                    were selected to provide congruency with the IDSA/MRSA
ate for animal bite wounds?
                                                                    Guidelines Panel.
  (XV) What is the appropriate treatment of cutaneous
anthrax?                                                            Literature Review and Analysis
  (XVI) What is the appropriate approach for the evaluation         The recommendations in this guideline have been developed
and treatment of bacillary angiomatosis and cat scratch disease?    following a review of studies published in English, although for-
  (XVII) What is the preferred treatment for erysipeloid?           eign-language articles were included in some of the Cochrane
  (XVIII) What is appropriate treatment of glanders?                reviews summarized in this guideline. Studies were identiﬁed
  (XIX) What is the appropriate diagnosis and treatment of          through Library of Congress, LISTA (EBSCO), and PubMed
bubonic plague?                                                     searches with no date restrictions using subject headings. Exam-
  (XX) What is appropriate for diagnosis and treatment for          ples of keywords used to conduct literature searches were as fol-
tularemia?                                                          lows: skin abscess (recurrent and relapsing), dog bites, skin and
  (XXI) What is the appropriate approach to assess SSTIs in         soft tissue infections, cellulitis, erysipelas, surgical site infec-
immunocompromised patients?                                         tions, wounds, staphylococcus, streptococcus, cat bites, tetanus,
  (XXII) What is the appropriate approach to assess SSTIs in        bite wounds (care and closure), irrigation, amoxicillin, amoxi-
patients with fever and neutropenia?                                cillin clavulanate, cefuroxime, levoﬂoxacin, moxiﬂoxacin, sulfa-
  (XXIII) What is the appropriate antibiotic therapy for patients   methoxazole-trimethoprim, erythromycin, azithromycin.
with SSTIs during the initial episode of fever and neutropenia?
  (XXIV) What is the appropriate antimicrobial therapy for          Process Overview
patients with SSTIs during persistent or recurrent episodes of      To evaluate evidence, the panel followed a process consistent
fever and neutropenia?                                              with other IDSA guidelines. The process for evaluating the


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evidence was based on the IDSA Handbook on Clinical Practice            RECOMMENDATIONS FOR IMPETIGO AND
Guideline Development and involved a systematic weighting of            ECTHYMA
the quality of the evidence and the grade of recommendation
using the Grading of Recommendations Assessment, Develop-               I. What Is Appropriate for the Evaluation and Treatment
ment, and Evaluation (GRADE) system (Table 1) [1–4, 9, 10].             of Impetigo and Ecthyma?
GRADE is a newly created system for grading the quality of ev-          Recommendations
idence and strength of recommendations for healthcare [2, 11].            1. Gram stain and culture of the pus or exudates from skin
   Panel members were divided into pairs, consisting of primary         lesions of impetigo and ecthyma are recommended to help
and secondary authors. Each author was asked to review the lit-         identify whether Staphylococcus aureus and/or a β-hemolytic




                                                                                                                                                      Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
erature, evaluate the evidence, and determine the strength of the       Streptococcus is the cause (strong, moderate), but treatment
recommendations along with an evidence summary supporting               without these studies is reasonable in typical cases (strong,
each recommendation. The panel reviewed all recommenda-                 moderate).
tions, their strength, and quality of evidence. Discrepancies             2. Bullous and nonbullous impetigo can be treated with oral
were discussed and resolved, and all panel members are in               or topical antimicrobials, but oral therapy is recommended for
agreement with the ﬁnal recommendations.                                patients with numerous lesions or in outbreaks affecting several
                                                                        people to help decrease transmission of infection. Treatment for
Consensus Development Based on Evidence                                 ecthyma should be an oral antimicrobial.
The panel met twice for face-to-face meetings and conducted               (a) Treatment of bullous and nonbullous impetigo should
teleconferences on 6 occasions to complete the work of the                be with either topical mupirocin or retapamulin twice daily
guideline. The purpose of the teleconferences was to discuss              (bid) for 5 days (strong, high).
the clinical questions to be addressed, assign topics for review          (b) Oral therapy for ecthyma or impetigo should be a 7-day
and writing of the initial draft, and discuss recommendations.            regimen with an agent active against S. aureus unless cultures
The panel as a whole reviewed all individual sections. The                yield streptococci alone (when oral penicillin is the re-
guideline was reviewed and approved by the IDSA Standards                 commended agent) (strong, high). Because S. aureus isolates
and Practice Guidelines Committee (SPGC) and Board of Di-                 from impetigo and ecthyma are usually methicillin suscepti-
rectors and endorsed by the Pediatric Infectious Diseases Soci-           ble, dicloxacillin or cephalexin is recommended. When
ety (PIDS).                                                               MRSA is suspected or conﬁrmed, doxycycline, clindamycin,
                                                                          or sulfamethoxazole-trimethoprim (SMX-TMP) is recom-
Guidelines and Conﬂicts of Interest                                       mended (strong, moderate).
The expert panel complied with the IDSA policy on conﬂicts of             (c) Systemic antimicrobials should be used for infections
interest, which requires disclosure of any ﬁnancial or other in-          during outbreaks of poststreptococcal glomerulonephritis to
terest that might be construed as constituting an actual, poten-          help eliminate nephritogenic strains of Streptococcus pyo-
tial, or apparent conﬂict. Panel members were provided IDSA’s             genes from the community (strong, moderate).
conﬂicts of interest disclosure statement and were asked to iden-
tify ties to companies developing products that might be affect-        Evidence Summary
ed by promulgation of the guideline. Information was requested          Impetigo can be either bullous or nonbullous [12]. Bullous im-
regarding employment, consultancies, stock ownership, hono-             petigo is caused by strains of S. aureus that produce a toxin that
raria, research funding, expert testimony, and membership on            cleaves the dermal-epidermal junction to form fragile, thin-
company advisory committees. Decisions were made on a                   roofed vesicopustules. These lesions may rupture, creating
case-by-case basis as to whether an individual’s role should be         crusted, erythematous erosions, often surrounded by a collar
limited as a result of a conﬂict. Potential conﬂicts of interests are   of the roof ’s remnants. Nonbullous impetigo can occur from in-
listed in the Acknowledgments section.                                  fections with β-hemolytic streptococci or S. aureus, or both in
                                                                        combination [12]. Impetigo begins as erythematous papules
Revision Dates                                                          that rapidly evolve into vesicles and pustules that rupture,
At annual intervals, the panel chair, the SPGC liaison advisor,         with the dried discharge forming honey-colored crusts on an er-
and the chair of the SPGC will determine the need for revisions         ythematous base.
to the guideline based on an examination of current literature. If         Ecthyma is a deeper infection than impetigo, and S. aureus
necessary, the entire panel will reconvene to discuss potential         and/or streptococci may be the cause. Lesions begin as vesicles
changes. When appropriate, the panel will recommend revision            that rupture, resulting in circular, erythematous ulcers with ad-
of the guideline to the SPGC and IDSA board and other collab-           herent crusts, often with surrounding erythematous edema. Un-
orating organizations for review and approval.                          like impetigo, ecthyma heals with scarring [12].


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   Cultures of the vesicle ﬂuid, pus, erosions, or ulcers establish   but S. aureus alone causes a large percentage of skin abscesses,
the cause. Unless cultures yield streptococci alone, antimicrobial    with a substantial number due to MRSA strains [16–18].
therapy should be active against both S. aureus and streptococci         Epidermoid (or epidermal inclusion) cysts, often erroneously
[12]. Oral penicillinase–resistant penicillin or ﬁrst-generation      labeled sebaceous cysts, ordinarily contain skin ﬂora in a cheesy
cephalosporins are usually effective as most staphylococcal iso-      keratinous material. When inﬂammation and purulence occur,
lates from impetigo and ecthyma are methicillin susceptible           they are a reaction to rupture of the cyst wall and extrusion of its
[13]. Alternatives for penicillin-allergic patients or infections     contents into the dermis, rather than an actual infectious pro-
with MRSA include doxycycline, clindamycin, or SMX-TMP.               cess [19].
When streptococci alone are the cause, penicillin is the drug            Incision, evacuation of pus and debris, and probing of the




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of choice, with a macrolide or clindamycin as an alternative          cavity to break up loculations provides effective treatment of cu-
for penicillin-allergic patients. Topical treatment with mupiro-      taneous abscesses and inﬂamed epidermoid cysts. A random-
cin [12] or retapamulin [14] is as effective as oral antimicrobials   ized trial comparing incision and drainage of cutaneous
for impetigo. Clinical experience suggests that systemic therapy      abscesses to ultrasonographically guided needle aspiration of
is preferred for patients with numerous lesions or in outbreaks       the abscesses showed that aspiration was successful in only
affecting several people, to help decrease transmission of infec-     25% of cases overall and <10% with MRSA infections [20]. Ac-
tion [15] (Table 2).                                                  cordingly, this form of treatment is not recommended. Simply
                                                                      covering the surgical site with a dry dressing is usually the eas-
                                                                      iest and most effective treatment of the wound [21, 22]. Some
RECOMMENDATIONS FOR PURULENT SKIN                                     clinicians close the wound with sutures or pack it with gauze
AND SOFT TISSUE INFECTIONS                                            or other absorbent material. One small study, however, found
                                                                      that packing caused more pain and did not improve healing
II. What Is the Appropriate Evaluation and Treatment for Purulent     when compared to just covering the incision site with sterile
SSTIs (Cutaneous Abscesses, Furuncles, Carbuncles, and                gauze [23].
Inﬂamed Epidermoid Cysts)? (Figure 1)
                                                                         The addition of systemic antibiotics to incision and drainage
Recommendations
                                                                      of cutaneous abscesses does not improve cure rates [17, 21, 22,
  3. Gram stain and culture of pus from carbuncles and ab-
                                                                      24, 25], even in those due to MRSA, but did have a modest effect
scesses are recommended, but treatment without these studies
                                                                      on the time to recurrence of other abscesses [17, 25]. However,
is reasonable in typical cases (strong, moderate).
                                                                      systemic antibiotics should be given to patients with severely
  4. Gram stain and culture of pus from inﬂamed epidermoid
                                                                      impaired host defenses or signs or symptoms of systemic infec-
cysts are not recommended (strong, moderate).
                                                                      tion (Figure 1, Table 2). In addition, multiple abscesses, ex-
  5. Incision and drainage is the recommended treatment for
                                                                      tremes of age, and lack of response to incision and drainage
inﬂamed epidermoid cysts, carbuncles, abscesses, and large fu-
                                                                      alone are additional settings in which systemic antimicrobial
runcles (strong, high).
                                                                      therapy should be considered.
  6. The decision to administer antibiotics directed against
                                                                         Furuncles and Carbuncles. Furuncles (or “boils”) are in-
S. aureus as an adjunct to incision and drainage should
                                                                      fections of the hair follicle, usually caused by S. aureus, in
be made based on the presence or absence of systemic inﬂam-
                                                                      which suppuration extends through the dermis into the subcu-
matory response syndrome (SIRS) such as temperature >38°C
                                                                      taneous tissue, where a small abscess forms. They differ from
or <36°C, tachypnea >24 breaths per minute, tachycardia >90
                                                                      folliculitis, in which the inﬂammation is more superﬁcial and
beats per minute, or white blood cell count >12 000 or <400
                                                                      pus is limited to the epidermis. Clinically, furuncles are in-
cells/µL (moderate; Figure 1) (strong, low). An antibiotic
                                                                      ﬂammatory nodules with overlying pustules through which
active against MRSA is recommended for patients with car-
                                                                      hair emerges. Infection involving several adjacent follicles pro-
buncles or abscesses who have markedly impaired host
                                                                      duces a carbuncle, a coalescent inﬂammatory mass with pus
defenses and in patients with SIRS (Figure 1, Table 2)
                                                                      draining from multiple follicular oriﬁces. Carbuncles develop
(strong, low).
                                                                      most commonly on the back of the neck, especially in individ-
Evidence Summary                                                      uals with diabetes. These are typically larger and deeper than
Cutaneous Abscesses. Cutaneous abscesses are collections of           furuncles.
pus within the dermis and deeper skin tissues. They are usually          Furuncles often rupture and drain spontaneously or follow-
painful, tender, and ﬂuctuant red nodules, often surmounted by        ing treatment with moist heat. Most large furuncles and all car-
a pustule and encircled by a rim of erythematous swelling. Cu-        buncles should be treated with incision and drainage. Systemic
taneous abscesses can be polymicrobial, containing regional           antimicrobials are usually unnecessary, unless fever or other ev-
skin ﬂora or organisms from the adjacent mucous membranes,            idence of systemic infection is present (Figure 1).


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RECOMMENDATIONS FOR RECURRENT SKIN                                  patients who develop abscesses during adulthood do not need
ABSCESSES                                                           evaluation of neutrophil function.

III. What Is the Appropriate Treatment for Recurrent Skin
Abscesses?
                                                                    RECOMMENDATIONS FOR ERYSIPELAS AND
Recommendations
                                                                    CELLULITIS
 7. A recurrent abscess at a site of previous infection should
prompt a search for local causes such as a pilonidal cyst, hidra-   IV. What Is Appropriate for the Evaluation and Treatment of
denitis suppurativa, or foreign material (strong, moderate).        Erysipelas and Cellulitis?




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 8. Recurrent abscesses should be drained and cultured early        Recommendations
in the course of infection (strong, moderate).                        12. Cultures of blood or cutaneous aspirates, biopsies, or
 9. Culture recurrent abscess and treat with a 5- to 10-day         swabs are not routinely recommended (strong, moderate).
course of an antibiotic active against the pathogen isolated          13. Cultures of blood are recommended (strong, moderate),
(weak, low).                                                        and cutaneous and microscopic examination of cutaneous aspi-
 10. Consider a 5-day decolonization regimen twice daily of         rates, biopsies, or swabs should be considered in patients with
intranasal mupirocin, daily chlorhexidine washes, and daily de-     malignancy on chemotherapy, neutropenia, severe cell-mediat-
contamination of personal items such as towels, sheets, and         ed immunodeﬁciency, immersion injuries, and animal bites
clothes for recurrent S. aureus infection (weak, low).              (weak, moderate).
 11. Adult patients should be evaluated for neutrophil disor-         14. Typical cases of cellulitis without systemic signs of infec-
ders if recurrent abscesses began in early childhood (strong,       tion should receive an antimicrobial agent that is active against
moderate).                                                          streptococci (mild; Figure 1) (strong, moderate). For cellulitis
                                                                    with systemic signs of infection (moderate nonpurulent SSTI;
Evidence Summary                                                    Figure 1) systemic antibiotics are indicated. Many clinicians
A recurrent abscess at a previous site of infection may be caused   could include coverage against MSSA (weak, low). For patients
by local factors such as foreign material, hidradenitis suppura-    whose cellulitis is associated with penetrating trauma, evidence
tiva, or pilonidal cyst [26, 27], eradication of which can be cu-   of MRSA infection elsewhere, nasal colonization with MRSA,
rative. Incision and drainage should be performed for recurrent     injection drug use, purulent drainage, or SIRS (severe nonpur-
abscesses. The beneﬁts of adjunctive antimicrobial therapy in       ulent), vancomycin or another antimicrobial effective against
preventing recurrences are unknown. Older randomized trials         both MRSA and streptococci is recommended (strong, moder-
showed that twice-daily intranasal mupirocin for 5 days each        ate). In severely compromised patients (as deﬁned in question
month [28] or a 3-month program of oral clindamycin 150             13), broad-spectrum antimicrobial coverage may be considered
mg daily [29] reduced the rate of further infections. Whether       (weak, moderate). Vancomycin plus either piperacillin-tazobac-
such regimens are effective in the current era of community-        tam or imipenem-meropenem is recommended as a reasonable
acquired MRSA is unclear [30]. In one randomized trial, twice-      empiric regimen for severe infection (strong, moderate).
daily application of nasal mupirocin for 5 days among military        15. The recommended duration of antimicrobial therapy is 5
personnel who carried MRSA in the nose did not reduce the fre-      days, but treatment should be extended if the infection has not
quency of subsequent skin infections [30, 31]. Scrubbing the        improved within this time period (strong, high).
body thrice weekly with chlorhexidine-impregnated cloths              16. Elevation of the affected area and treatment of predispos-
after showering was also deemed ineffective [32]. A 5-day de-       ing factors, such as edema or underlying cutaneous disorders,
colonization with twice-daily intranasal mupirocin and daily        are recommended (strong, moderate).
bathing with chlorhexidine [32] or dilute bleach (1/4–1/2 cup         17. In lower extremity cellulitis, clinicians should carefully
of bleach per full bath) for prevention of recurrences may be       examine the interdigital toe spaces because treating ﬁssuring,
considered, but data about efﬁcacy are sparse. One uncontrolled     scaling, or maceration may eradicate colonization with patho-
study reported termination of an epidemic of furunculosis in a      gens and reduce the incidence of recurrent infection (strong,
village by use of mupirocin, antibacterial hand cleanser, and       moderate).
daily washing of towels, sheets, combs, and razors [33]. A recent     18. Outpatient therapy is recommended for patients who do
study in children found employing preventive measures for the       not have SIRS, altered mental status, or hemodynamic instabil-
patient and the household contacts resulted in signiﬁcantly         ity (mild nonpurulent; Figure 1) (strong, moderate). Hospitali-
fewer recurrences in the patient than employing the measures        zation is recommended if there is concern for a deeper or
in the patient only [34]. Because patients with neutrophil dys-     necrotizing infection, for patients with poor adherence to ther-
function develop recurrent abscesses in early childhood,            apy, for infection in a severely immunocompromised patient, or


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if outpatient treatment is failing (moderate or severe nonpuru-         abscesses, and the determination of whether isolates are patho-
lent; Figure 1) (strong, moderate).                                     gens or contaminants.
                                                                            Cultures of punch biopsy specimens yield an organism in
Evidence Summary                                                        20%–30% of cases [39, 47], but the concentration of bacteria
“Cellulitis” and “erysipelas” refer to diffuse, superﬁcial, spread-     in the tissues is usually quite low [47]. Combined data from
ing skin infections. The term “cellulitis” is not appropriate for       specimen cultures, serologic studies [41, 48–51], and other
cutaneous inﬂammation associated with collections of pus, such          methods (eg, immunohistochemical staining to detect antigens
as in septic bursitis, furuncles, or skin abscesses. For example,       in skin biopsies [51, 52]), suggests that the vast majority of these
when cutaneous redness, warmth, tenderness, and edema en-               infections arise from streptococci, often group A, but also from




                                                                                                                                                Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
circle a suppurative focus such as an infected bursa, the appro-        other groups, such as B, C, F, or G. The source of these patho-
priate terminology is “septic bursitis with surrounding                 gens is frequently unclear, but in many cases of leg cellulitis, the
inﬂammation,” rather than “septic bursitis with surrounding             responsible streptococci reside in macerated, scaly, or ﬁssured
cellulitis.” This distinction is clinically crucial, for the primary    interdigital toe spaces [53, 54]. This observation underscores
treatment of cellulitis is antimicrobial therapy, whereas for pu-       the importance of detecting and treating tinea pedis, erythras-
rulent collections the major component of management is                 ma, and other causes of toe web abnormalities. Occasionally,
drainage of the pus, with antimicrobial therapy either being un-        the reservoir of streptococci is the anal canal [55] or the vagina,
necessary or having a subsidiary role (Figure 1 and Table 2).           especially for group B streptococcal cellulitis in patients with
   The term “erysipelas” has 3 different meanings: (1) for some,        previous gynecologic cancer treated with surgery and radiation
erysipelas is an infection limited to the upper dermis, including       therapy. Staphylococcus aureus less frequently causes cellulitis,
the superﬁcial lymphatics, whereas cellulitis involves the deeper       but cases due to this organism are typically associated with an
dermis and subcutaneous fat, and on examination erysipelas              open wound or previous penetrating trauma, including sites of
putatively has more clearly delineated borders of inﬂammation           illicit drug injection. Several other organisms can cause celluli-
than cellulitis; (2) for many, erysipelas has been used to refer to     tis, but usually only in special circumstances, such as animal
cellulitis involving the face only; and (3) for others, especially in   bites, freshwater or saltwater immersion injuries, neutropenia,
European countries, cellulitis and erysipelas are synonyms [35].        or severe cell-mediated immunodeﬁciency.
   These infections cause rapidly spreading areas of erythema,              Cultures of blood, tissue aspirates, or skin biopsies are unnec-
swelling, tenderness, and warmth, sometimes accompanied by              essary for typical cases of cellulitis. Blood cultures should be ob-
lymphangitis and inﬂammation of the regional lymph nodes.               tained and cultures of skin biopsy or aspirate considered for
The skin surface may resemble an orange peel ( peau d’orange)           patients with malignancy, severe systemic features (such as
due to superﬁcial cutaneous edema surrounding hair follicles            high fever and hypotension), and unusual predisposing factors,
and causing skin dimpling because the follicles remain tethered         such as immersion injury, animal bites, neutropenia, and severe
to the underlying dermis. Vesicles, bullae, and cutaneous hem-          cell-mediated immunodeﬁciency [42].
orrhage in the form of petechiae or ecchymoses may develop.                 Therapy for typical cases of cellulitis should include an antibi-
Systemic manifestations are usually mild, but fever, tachycardia,       otic active against streptococci (Table 2). A large percentage of
confusion, hypotension, and leukocytosis are sometimes pre-             patients can receive oral medications from the start for typical
sent and may occur hours before the skin abnormalities appear.          cellulitis [56], and suitable antibiotics for most patients include
   These infections arise when microbes breach the cutaneous            penicillin, amoxicillin, amoxicillin-clavulanate, dicloxacillin,
surface, especially in patients with fragile skin or diminished         cephalexin, or clindamycin. In cases of uncomplicated cellulitis,
local host defenses from such conditions as obesity, previous           a 5-day course of antimicrobial therapy is as effective as a 10-day
cutaneous trauma (including surgery), prior episodes of cellu-          course, if clinical improvement has occurred by 5 days [57]. In a
litis, and edema from venous insufﬁciency or lymphedema                 retrospective study of cellulitis and abscesses requiring hospital-
[36, 37]. The origin of the disrupted skin surface may be obvi-         ization, the average duration of treatment was 2 weeks and only
ous, such as trauma, ulceration, and preexisting cutaneous in-          about one-third of patients received speciﬁc treatment for gram-
ﬂammation, but often the breaks in the skin are small and               positive pathogens [58]. Two-thirds received very-broad-spec-
clinically unapparent. These infections are most common on              trum treatment, and the failure rate of 12% was not different re-
the lower legs. Blood cultures are generally positive in ≤5% of         gardless of spectrum of treatment. In some patients, cutaneous
cases [38]. The yield of cultures of needle aspirations of the in-      inﬂammation and systemic features worsen after initiating ther-
ﬂamed skin ranges from ≤5% to approximately 40% [39–46].                apy, probably because sudden destruction of the pathogens re-
The differences in diagnostic sensitivity and speciﬁcity are            leases potent enzymes that increase local inﬂammation.
due to the variety of patient populations studied, the deﬁnitions           MRSA is an unusual cause of typical cellulitis. A prospective
of cellulitis, the inclusion or exclusion of cases with associated      study of patients with cellulitis in a medical center with a high


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incidence of other MRSA-related SSTIs demonstrated that                fever, delirium, or hypotension. Other indications include
treatment with β-lactams, such as cefazolin or oxacillin, was          poor response to outpatient therapy, severe immunocompro-
successful in 96% of patients, suggesting that cellulitis due to       mise, and problems with a patient’s adherence to treatment.
MRSA is uncommon and treatment for that organism is usually
unnecessary [50]. However, coverage for MRSA may be prudent
                                                                       RECOMMENDATIONS FOR PATIENTS WITH
in cellulitis associated with penetrating trauma, especially from
                                                                       RECURRENT CELLULITIS
illicit drug use, purulent drainage, or with concurrent evidence
of MRSA infection elsewhere. Options for treatment of MRSA
                                                                       VI. What Is the Preferred Evaluation and Management of Patients
in those circumstances (Table 2) include intravenous drugs             with Recurrent Cellulitis?




                                                                                                                                                     Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
(vancomycin, daptomycin, linezolid, or telavancin) or oral ther-       Recommendations
apy with doxycycline, clindamycin, or SMX-TMP. If coverage              20. Identify and treat predisposing conditions such as
for both streptococci and MRSA is desired for oral therapy, op-        edema, obesity, eczema, venous insufﬁciency, and toe web ab-
tions include clindamycin alone or the combination of either           normalities (strong, moderate). These practices should be per-
SMX-TMP or doxycycline with a β-lactam (eg, penicillin, ceph-          formed as part of routine patient care and certainly during the
alexin, or amoxicillin). The activity of doxycycline and SMX-          acute stage of cellulitis (strong, moderate).
TMP against β-hemolytic streptococci is not known, and in               21. Administration of prophylactic antibiotics, such as oral
the absence of abscess, ulcer, or purulent drainage, β-lactam          penicillin or erythromycin bid for 4–52 weeks, or intramuscular
monotherapy is recommended. This is further substantiated              benzathine penicillin every 2–4 weeks, should be considered in
by a recent double-blind study showing that a combination of           patients who have 3–4 episodes of cellulitis per year despite at-
SMX-TMP plus cephalexin was no more efﬁcacious than ceph-              tempts to treat or control predisposing factors (weak, moder-
alexin alone in pure cellulitis [59]. Elevation of the affected area   ate). This program should be continued so long as the
hastens improvement by promoting gravity drainage of edema             predisposing factors persist (strong, moderate).
and inﬂammatory substances. Patients should also receive ther-
apy for any predisposing conditions, such as tinea pedis, trau-        Evidence Summary
ma, or venous eczema (“stasis dermatitis”).                            Patients with a previous attack of cellulitis, especially involving
                                                                       the legs, have annual recurrences rates of about 8%–20% [65–
V. Should Anti-inﬂammatory Agents Be Used to Complement
Antibiotic Treatment of Cellulitis?
                                                                       67]. The infection usually occurs in the same area as the previ-
Recommendation                                                         ous episode. Edema, especially lymphedema and other local risk
 19. Systemic corticosteroids (eg, prednisone 40 mg daily for          factors such as venous insufﬁciency, prior trauma (including
7 days) could be considered in nondiabetic adult patients with         surgery) to the area, and tinea pedis or other toe web abnormal-
cellulitis (weak, moderate).                                           ities [65–71], increase the frequency of recurrences. Other pre-
                                                                       disposing conditions include obesity, tobacco use, a history of
Evidence Summary                                                       cancer, and homelessness [66, 67, 71]. Addressing these factors
Treating the inﬂammation in these infections by combining an-          might decrease the frequency of recurrences, but evidence for
timicrobial therapy with either a nonsteroidal anti-inﬂammatory        any such a beneﬁt is sparse. For patients with recurrences de-
agent (ibuprofen 400 mg 4 times daily [qid] for 5 days) or system-     spite such efforts, antimicrobial prophylaxis may reduce the
ic corticosteroids signiﬁcantly hastens clinical improvement com-      frequency of future episodes. Two randomized trials using
pared with antimicrobial therapy alone [60, 61]. A randomized,         twice-daily oral penicillin or erythromycin demonstrated a sub-
double-blind, placebo-controlled trial involving 108 adult nondi-      stantial reduction in recurrences among the antibiotic recipients
abetic patients, demonstrated that an 8-day course of oral cortico-    compared to controls [72, 73]. An observational trial of monthly
steroids in combination with antimicrobial therapy led to a            intramuscular injections of 1.2 million units of benzathine pen-
signiﬁcantly more rapid clinical resolution of cellulitis (primarily   icillin found that this regimen was beneﬁcial only in the sub-
of the legs) than antimicrobial therapy alone [61, 62]. Long-term      group of patients who had no identiﬁable predisposing factors
follow-up of these patients showed no difference in relapse or re-     for recurrence [74]. In a study of patients with recurrent cellu-
currence [61, 62]. The beneﬁts of systemic corticosteroids in this     litis involving arm lymphedema caused by breast cancer treat-
situation are consistent with their efﬁcacy and safety as adjunctive   ment, 2.4 million units of biweekly intramuscular benzathine
treatment in other infections [63]. The clinician must ensure that     penicillin seemed to reduce the frequency of episodes, but
a deeper infection such as necrotizing fasciitis is not present.       there was no control group [75]. The duration of therapy is in-
   Most patients can receive treatment without hospitalization         deﬁnite, and infections may recur once prophylaxis is discon-
[63, 64]. Hospitalization is indicated for suspicion of necrotizing    tinued. For example, a recent double-blind comparative trial
infection or for patients with severe systemic features, such as       demonstrated that phenoxymethyl-penicillin given as 250 mg


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twice daily for 12 months increased the time to recurrence to         of the surgery, and are documented with at least 1 of the follow-
626 days compared with 532 days in the control group and de-          ing: (1) purulent incisional drainage, (2) positive culture of
creased the frequency of recurrence from 37% to 22% [76].             aseptically obtained ﬂuid or tissue from the superﬁcial
                                                                      wound, (3) local signs and symptoms of pain or tenderness,
                                                                      swelling, and erythema after the incision is opened by the sur-
RECOMMENDATIONS FOR SURGICAL SITE
                                                                      geon (unless culture negative), or (4) diagnosis of SSI by the at-
INFECTIONS
                                                                      tending surgeon or physician based on their experience and
                                                                      expert opinion. A deep incisional infection involves the deeper
VII. What Is the Preferred Management of Surgical Site
Infections?
                                                                      soft tissue (eg, fascia and muscle), and occurs within 30 days of




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Recommendations                                                       the operation or within 1 year if a prosthesis was inserted and
  22. Suture removal plus incision and drainage should be per-        has the same ﬁndings as described for a superﬁcial incisional
formed for surgical site infections (strong, low).                    SSI. An organ/space SSI has the same time constraints and ev-
  23. Adjunctive systemic antimicrobial therapy is not routine-       idence for infection as a deep incisional SSI, and it may involve
ly indicated, but in conjunction with incision and drainage may       any part of the anatomy (organs or spaces) other than the orig-
be beneﬁcial for surgical site infections associated with a signiﬁ-   inal surgical incision [78]. Examples would include postopera-
cant systemic response (Figure 2) such as erythema and indura-        tive peritonitis, empyema, or joint space infection. Any deep SSI
tion extending >5 cm from the wound edge, temperature >38.5°          that does not resolve in the expected manner following treat-
C, heart rate >110 beats/minute, or white blood cell (WBC)            ment should be investigated as a possible superﬁcial manifesta-
count >12 000/µL (weak, low).                                         tion of a deeper organ/space infection. Diagnosis and treatment
  24. A brief course of systemic antimicrobial therapy is indi-       of organ space infections in the abdomen are discussed in other
cated in patients with surgical site infections following clean op-   guidelines. Tedizolid and dalbavancin are also effective treat-
erations on the trunk, head and neck, or extremities that also        ments of SSTI including those caused by MRSA and may be ap-
have systemic signs of infection (strong, low).                       proved by the US Food and Drug Administration (FDA) in June
  25. A ﬁrst-generation cephalosporin or an antistaphylococ-          2014.
cal penicillin for methicillin-susceptible Staphylococcus aureus         Local signs of pain, swelling, erythema, and purulent drain-
(MSSA) or vancomycin, linezolid, daptomycin, telavancin, or           age provide the most reliable information in diagnosing an SSI.
ceftaroline where risk factors for MRSA are high (nasal coloni-       In morbidly obese patients or in those with deep, multilayer
zation, prior MRSA infection, recent hospitalization, recent an-      wounds such as after thoracotomy, external signs of SSI may
tibiotics) is recommended (strong, low).                              be delayed. While many patients with a SSI will develop fever,
  26. Agents active against gram-negative bacteria and anaer-         it usually does not occur immediately postoperatively, and in
obes, such as a cephalosporin or ﬂuoroquinolone in combina-           fact, most postoperative fevers are not associated with an SSI
tion with metronidazole are recommended for infections                [80]. Flat, erythematous skin changes can occur around or
following operations on the axilla, gastrointestinal (GI) tract,      near a surgical incision during the ﬁrst week without swelling
perineum, or female genital tract (Table 2) (strong, low).            or wound drainage. Most resolve without any treatment. The
                                                                      cause is unknown but may relate to tape sensitivity or other
Evidence Summary                                                      local tissue insult not involving bacteria. Numerous experimen-
Wound infections, or surgical site infections (SSIs) are the most     tal studies and clinical trials demonstrate that antibiotics begun
common adverse event affecting hospitalized surgical patients         immediately postoperatively or continued for long periods after
[77]. Data from the National Nosocomial Infection Surveillance        the procedure do not prevent or cure this inﬂammation or in-
System (NNIS) show an average incidence of SSI of 2.6%, ac-           fection [81–88]. Therefore, the suspicion of possible SSI does
counting for 38% of nosocomial infections in surgical patients        not justify use of antibiotics without a deﬁnitive diagnosis
[78]. The frequency of SSI is clearly related to the category of      and the institution of other therapeutic measures such as open-
operation, with clean and low-risk operations (by NNIS classi-        ing the wound (Figure 2).
ﬁcation) having the lowest incidence, and contaminated and               SSIs rarely occur during the ﬁrst 48 hours after surgery, and
high-risk operations having higher infection rates [79]. Unfor-       fever during that period usually arises from noninfectious or
tunately, there are no studies that have objectively compared         unknown causes. SSIs that do occur in this time frame are al-
treatments for SSI.                                                   most always due to S. pyogenes or Clostridium species. After
   SSIs are divided into the categories of superﬁcial incisional      48 hours, SSI is a more common source of fever, and careful in-
SSI, deep incisional SSI, and organ/space SSI [78]. Superﬁcial        spection of the wound is indicated; by 4 days after surgery, a
incisional SSIs involve only the subcutaneous space, between          fever is equally likely to be caused by an SSI or by another in-
the skin and underlying muscular fascia, occur within 30 days         fection or other unknown sources [80]. Later infections are less


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likely, but surveillance standards mandate 30 days of follow-up        intestinal or genital tracts, S. aureus and streptococcal species
for operations without placement of prosthetic material and for        are the most common organisms. If the institution in which
1 year for operations where a prosthesis was inserted.                 the operation was performed has a signiﬁcant proportion of in-
   Accordingly, fever or systemic signs during the ﬁrst several        fections with MRSA or the patient has had prior MRSA infec-
postoperative days should be followed by direct examination            tion, nasal colonization or was previously on antibiotics, the
of the wound to rule out signs suggestive of streptococcal or          initial antibiotic should include vancomycin, linezolid, dapto-
clostridial infection (see section on necrotizing soft tissue infec-   mycin, telavancin, or ceftaroline for MRSA coverage as well as
tions and clostridial myonecrosis), but should not otherwise           one of the following for gram-negative and anaerobic coverage:
cause further manipulation of the wound. Patients with an              (1) piperacillin-tazobactam, (2) a carbapenem, or (3) ceftriax-




                                                                                                                                                     Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
early infection due to streptococci or clostridia have wound           one and metronidazole (Table 3).
drainage with the responsible organisms present on Gram                   Infections following surgical operations on the axilla also
stain (Figure 2). White blood cells may not be evident in the          have a signiﬁcant recovery of gram-negative organisms, and
drainage in most clostridial and some early streptococcal in-          those in the perineum have a higher incidence of gram-negative
fections. Another rare cause of early fever and systemic signs         organisms and anaerobes [100, 103, 104]; antibiotic selections
following operation is staphylococcal wound toxic shock syn-           should provide coverage for these organisms (Table 3). Figure 2
drome [89, 90]. In these cases the wound is often deceptively          presents a schematic algorithm to approach patients with sus-
benign in appearance. Erythroderma occurs early and desqua-            pected SSIs and includes speciﬁc antibiotic recommendations
mation occurs late. Fever, hypotension, abnormal hepatic and           [105]. Infections developing after surgical procedures involving
renal blood studies, and diarrhea are early ﬁndings. Appropriate       nonsterile areas such as colonic, vaginal, biliary, or respiratory
treatment is to open the incision, perform culture, and begin          mucosa may be caused by a combination of aerobic and anaer-
antistaphylococcal treatment.                                          obic bacteria [18, 87, 88, 101]. These infections can rapidly pro-
   The most important therapy for an SSI is to open the inci-          gress and involve deeper structures than just the skin, such as
sion, evacuate the infected material, and continue dressing            fascia, fat, or muscle (Tables 3 and 4).
changes until the wound heals by secondary intention. Most
textbooks of surgery, infectious diseases, or even surgical infec-
                                                                       RECOMMENDATIONS FOR EVALUATION AND
tious diseases extensively discuss the epidemiology, prevention,
                                                                       TREATMENT OF NECROTIZING FASCIITIS
and surveillance of SSIs, but not their treatment [91–97]. Two
contain simple, unreferenced, recommendations to open an in-
                                                                       VIII. What Is the Preferred Evaluation and Treatment of
fected wound without using antibiotics [96, 98]. Thus, if there is     Necrotizing Fasciitis, Including Fournier Gangrene?
<5 cm of erythema and induration, and if the patient has min-          Recommendations
imal systemic signs of infection (temperature <38.5°C, WBC               27. Prompt surgical consultation is recommended for pa-
count <12 000 cells/µL, and pulse <100 beats/minute), antibiot-        tients with aggressive infections associated with signs of system-
ics are unnecessary [99]. Studies of subcutaneous abscesses            ic toxicity or suspicion of necrotizing fasciitis or gas gangrene
found little or no beneﬁt for antibiotics when combined with           (severe nonpurulent; Figure 1) (strong, low).
drainage [18, 21, 100, 101]. The single published trial of antibi-       28. Empiric antibiotic treatment should be broad (eg, vanco-
otic administration for SSI speciﬁcally found no clinical beneﬁt       mycin or linezolid plus piperacillin-tazobactam or plus a carba-
[99]. Incision and drainage of superﬁcial abscesses rarely causes      penem, or plus ceftriaxone and metronidazole), as the etiology
bacteremia [102], and thus prophylactic antibiotics are not            can be polymicrobial (mixed aerobic-anaerobic microbes) or
recommended.                                                           monomicrobial (group A Streptococcus, community-acquired
   Patients with temperature >38.5°C or heart rate >110 beats/         MRSA) (strong, low).
minute or erythema extending beyond the wound margins for                29. Penicillin plus clindamycin is recommended for treat-
>5 cm may require a short course (eg, 24–48 hours) of antibi-          ment of documented group A streptococcal necrotizing fasciitis
otics, as well as opening of the suture line (Figure 2). The anti-     (strong, low).
biotic choice is usually empiric but can be supported by Gram
stain, culture of the wound contents (Table 2), and the site of        Evidence Summary
surgery. For example, an SSI following an operation on the in-         Necrotizing SSTIs differ from the milder, superﬁcial infections
testinal tract or female genitalia has a high probability of a         by clinical presentation, coexisting systemic manifestations, and
mixed gram-positive and gram-negative ﬂora with both faculta-          treatment strategies (Table 4). These deep infections involve the
tive and anaerobic organisms. Antibiotics considered suitable          fascial and/or muscle compartments and are potentially devas-
for treatment of intra-abdominal infection are appropriate. If         tating due to major tissue destruction and death. They usually
the operation was a clean procedure that did not enter the             develop from an initial break in the skin related to trauma or


                                                                          IDSA Practice Guidelines for SSTIs   •   CID 2014:59 (15 July)   •   e27
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Table 3. Antibiotics for Treatment of Incisional Surgical Site                  muscular fascia or aponeurosis is involved, but in fact it is the
Infections                                                                      superﬁcial fascia that is most commonly involved.

Surgery of Intestinal or Genitourinary Tract                                    Clinical Features
Single-drug regimens                                                            Extension from a skin lesion is seen in most cases. The initial
  Ticarcillin-clavulanate 3.1 g every 6 h IV                                    lesion can be trivial, such as a minor abrasion, insect bite, injec-
  Piperacillin-tazobactam 3.375 g every 6 h or 4.5 g every 8 h IV               tion site (as in drug addicts), or boil, and a small minority of
  Imipenem-cilastatin 500 mg every 6 h IV                                       patients have no visible skin lesion. The initial presentation is
  Meropenem 1 g every 8 h IV
                                                                                that of cellulitis, which can advance rapidly or slowly. As it pro-




                                                                                                                                                           Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
  Ertapenem 1 g every 24 h IV
                                                                                gresses, there is systemic toxicity, often including high temper-
Combination regimens
                                                                                atures, disorientation, and lethargy. Examination of the local
  Ceftriaxone 1 g every 24 h + metronidazole 500 mg every 8 h IV
  Ciprofloxacin 400 mg IV every 12 h or 750 mg po every
                                                                                site typically reveals cutaneous inﬂammation, edema, and dis-
    12 h + metronidazole 500 mg every 8 h IV                                    coloration or gangrene and anesthesia. A distinguishing clinical
  Levofloxacin 750 mg IV every 24 h + metronidazole 500 mg every                feature is the wooden-hard induration of the subcutaneous tis-
    8 h IV
                                                                                sues. In cellulitis, the subcutaneous tissues are palpable and
  Ampicillin-sulbactam 3 g every 6 h + gentamicin or tobramycin
    5 mg/kg every 24 h IV                                                       yielding; in fasciitis the underlying tissues are ﬁrm, and the fas-
Surgery of trunk or extremity away from axilla or perineum                      cial planes and muscle groups cannot be discerned by palpation.
  Oxacillin or nafcillin 2 g every 6 h IV                                       A broad erythematous tract is sometimes evident along the
  Cefazolin 0.5–1 g every 8 h IV                                                route of the infection, as it advances proximally in an extremity.
  Cephalexin 500 mg every 6 h po                                                If there is an open wound, probing the edges with a blunt in-
  SMX-TMP 160–800 mg po every 6 h                                               strument permits ready dissection of the superﬁcial fascial
  Vancomycin 15 mg/kg every 12 h IV                                             planes well beyond the wound margins.
Surgery of axilla or perineuma
  Metronidazole 500 mg every 8 h IV
                                                                                Bacteriology
  plus
                                                                                In the monomicrobial form, the usual pathogens are S. pyo-
  Ciprofloxacin 400 mg IV every 12 h or 750 mg po every 12 h IV po
                                                                                genes, S. aureus, V. vulniﬁcus, A. hydrophila, and anaerobic
  Levofloxacin 750 mg every 24 h IV po
  Ceftriaxone 1 g every 24 h
                                                                                streptococci (Peptostreptococcus). Infection with staphylococci
                                                                                and hemolytic streptococci can occur simultaneously. Most in-
Abbreviations: IV, intravenous; po, by mouth; SMX-TMP, sulfamethoxazole-
trimethoprim.                                                                   fections are community acquired and present in the limbs, with
a
  May also need to cover for methicillin-resistant Staphylococcus aureus with   approximately two-thirds in the lower extremities. There is
vancomycin 15 mg/kg every 12 h.                                                 often a predisposing condition, such as diabetes, arteriosclerotic
                                                                                vascular disease, venous insufﬁciency with edema, venous stasis
surgery. They can be monomicrobial, usually from streptococci                   or vascular insufﬁciency, ulcer, or injection drug use. Cases
or less commonly community-acquired MRSA, Aeromonas hy-                         of necrotizing fasciitis that arise after varicella or trivial injuries,
drophila, or Vibrio vulniﬁcus, or polymicrobial, involving a                    such as minor scratches or insect bites, are usually due to
mixed aerobe–anaerobe bacterial ﬂora. Although many speciﬁc                     S. pyogenes or, far less commonly, community-acquired MRSA
variations of necrotizing soft tissue infections have been de-                  [108]. The mortality in patients with group A streptococcal nec-
scribed based on etiology, microbiology, and speciﬁc anatomic                   rotizing fasciitis, hypotension, and organ failure is high, ranging
location of the infection, the initial approach to diagnosis, anti-             from 30% to 70% [109, 110]. Nearly 50% of patients with nec-
microbial treatment, and surgical intervention is similar for all               rotizing fasciitis caused by S. pyogenes have no portal of entry
forms and is more important than determining the speciﬁc var-                   but develop deep infection at the exact site of nonpenetrating
iant. Early in the course, distinguishing between a cellulitis that             trauma such as a bruise or muscle strain. Some cases are asso-
should respond to antimicrobial treatment alone and a necrotiz-                 ciated with child delivery and involve the uterus or episiotomy
ing infection that requires operative intervention is critical but              site. Severe pain may be the initial clinical symptom with little
may be difﬁcult.                                                                cutaneous evidence due to the deep infection.
                                                                                   Polymicrobial infection is most commonly associated with 4
Necrotizing Fasciitis                                                           clinical settings: (1) perianal abscesses, penetrating abdominal
Necrotizing fasciitis is an aggressive subcutaneous infection that              trauma, or surgical procedures involving the bowel; (2) decubitus
tracks along the superﬁcial fascia, which comprises all the tissue              ulcers; (3) injection sites in illicit drug users; and (4) spread from a
between the skin and underlying muscles [106, 107]. The term                    genital site such as Bartholin abscess, episiotomy wound, or a
“fasciitis” sometimes leads to the mistaken impression that the                 minor vulvovaginal infection. In the polymicrobial form,


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                                                                                                                                                                                                                                                        Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
                                     Table 4.      Treatment of Necrotizing Infections of the Skin, Fascia, and Muscle

                                                                First-line Antimicrobial                                                                                               Antimicrobial Agent for Patients With Severe Penicillin
                                     Type of Infection                    Agent                 Adult Dosage            Pediatric Dosage Beyond the Neonatal Period                                      Hypersensitivity
                                     Mixed infections           Piperacillin-tazobactam     3.37 g every 6–8 h IV       60–75 mg/kg/dose of the piperacillin                   Clindamycin or metronidazolea with an aminoglycoside or
                                                                plus                        30 mg/kg/d in 2               component every 6 h IV                                  fluoroquinolone
                                                                vancomycin                    divided doses             10–13 mg/kg/dose every 8 h IV
                                                                Imipenem-cilastatin         1 g every 6–8 h IV          N/A                                                    N/A
                                                                Meropenem                   1 g every 8 h IV            20 mg/kg/dose every 8 h IV
                                                                Ertapenem                   1 g daily IV                15 mg/kg/dose every 12 h IV for children
                                                                                                                          3 mo-12 y
                                                                Cefotaxime                  2 g every 6 h IV            50 mg/kg/dose every 6 h IV                             N/A
                                                                plus                        500 mg every 6 h IV         7.5 mg/kg/dose every 6 h IV
                                                                metronidazole               600–900 mg every            10–13 mg/kg/dose every 8 h IV
                                                                or                            8 h IV
                                                                clindamycin
                                     Streptococcus              Penicillin                  2–4 million units           60 000–100 000 units/kg/dose every 6 h IV              Vancomycin, linezolid, quinupristin/dalfopristin, daptomycin
                                                                plus                          every 4–6 h IV            10–13 mg/kg/dose every 8 h IV
                                                                clindamycin                   (adult)
                                                                                            600–900 mg every
                                                                                              8 h IV
                                     Staphylococcus             Nafcillin                   1–2 g every 4 h IV          50 mg/kg/dose every 6 h IV                             Vancomycin, linezolid, quinupristin/dalfopristin, daptomycin
                                       aureus                   Oxacillin                   1–2 g every 4 h IV          50 mg/kg/dose every 6 h IV
                                                                Cefazolin                   1 g every 8 h IV            33 mg/kg/dose every 8 h IV
                                                                Vancomycin (for             30 mg/kg/d in 2             15 mg/kg/dose every 6 h IV
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                                                                   resistant strains)         divided doses IV
                                                                Clindamycin                 600–900 mg every            10–13 mg/kg/dose every 8 h IV                          Bacteriostatic; potential cross-resistance and emergence of resistance
                                                                                              8 h IV                                                                             in erythromycin-resistant strains; inducible resistance in MRSAb
                                     Clostridium                Clindamycin                 600–900 mg every            10–13 mg/kg/dose every 8 h IV                          N/A
                                       species                  plus penicillin                8 h IV                   60 000–100 00 units/kg/dose every 6 h IV
                                                                                            2–4 million units
                                                                                               every 4–6 h IV
                                                                                               (adult)
                                     Aeromonas                  Doxycycline                 100 mg every 12 h           Not recommended for children but may need              N/A
                                       hydrophila               plus                        IV                            to use in life-threatening situations
                                                                ciprofloxacin               500 mg every 12 h
                                                                or                          IV
•




                                                                ceftriaxone                 1 to 2 g every 24 h IV
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                                     Vibrio vulnificus          Doxycycline                 100 mg every 12 h           Not recommended for children but may need              N/A
                                                                plus                        IV                            to use in life-threatening situations
                                                                ceftriaxone                 1 g qid IV
                                                                or                          2 g tid IV
                                                                cefotaxime

                                     Abbreviations: IV, intravenous; MRSA, methicillin-resistant Staphylococcus aureus; N/A, not applicable; qid, 4 times daily; tid, 3 times daily.
                                     a
                                         If staphylococcus present or suspected, add an appropriate agent.
•




                                     b
                                         If MRSA is present or suspected, add vancomycin not to exceed the maximum adult daily dose.
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numerous different anaerobic and aerobic organisms can be cul-          patient. Biopsy for frozen section analysis may also be used to
tured from the involved fascial plane, with an average of 5 path-       make the diagnosis, but, if enough suspicion exists to do a biopsy,
ogens in each wound. Most of the organisms originate from the           the diagnosis is usually evident on gross inspection without his-
bowel or genitourinary ﬂora (eg, coliforms and anaerobic                tologic conﬁrmation. In addition, sampling errors of biopsy
bacteria).                                                              alone may produce a false-negative result.

Diagnosis                                                               Treatment
The diagnosis of fasciitis may not be apparent upon ﬁrst seeing         Surgical intervention is the primary therapeutic modality in
the patient. Overlying cutaneous inﬂammation may resemble               cases of necrotizing fasciitis and is indicated when this infection




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cellulitis. However, features that suggest involvement of deeper        is conﬁrmed or suspected. Features suggestive of necrotizing
tissues include (1) severe pain that seems disproportional to the       fasciitis include (1) the clinical ﬁndings described above; (2)
clinical ﬁndings; (2) failure to respond to initial antibiotic ther-    failure of apparently uncomplicated cellulitis to respond to an-
apy; (3) the hard, wooden feel of the subcutaneous tissue, ex-          tibiotics after a reasonable trial; (3) profound toxicity; fever, hy-
tending beyond the area of apparent skin involvement; (4)               potension, or advancement of the SSTI during antibiotic
systemic toxicity, often with altered mental status; (5) edema          therapy; (4) skin necrosis with easy dissection along the fascia
or tenderness extending beyond the cutaneous erythema; (6)              by a blunt instrument; or (5) presence of gas in the soft tissues.
crepitus, indicating gas in the tissues; (7) bullous lesions; and          Most patients with necrotizing fasciitis should return to the
(8) skin necrosis or ecchymoses.                                        operating room 24–36 hours after the ﬁrst debridement and
   Computed tomography (CT) or magnetic resonance imaging               daily thereafter until the surgical team ﬁnds no further need
(MRI) may show edema extending along the fascial plane, al-             for debridement. Although discrete pus is usually absent,
though the sensitivity and speciﬁcity of these imaging studies          these wounds can discharge copious amounts of tissue ﬂuid,
are ill deﬁned. CT or MRI also may delay deﬁnitive diagnosis            and aggressive ﬂuid administration is a necessary adjunct.
and treatment. In practice, clinical judgment is the most impor-           In the absence of deﬁnitive clinical trials, antimicrobial ther-
tant element in diagnosis. The most important diagnostic feature        apy should be administered until further debridement is no lon-
of necrotizing fasciitis is the appearance of the subcutaneous tis-     ger necessary, the patient has improved clinically, and fever has
sues or fascial planes at operation. The fascia at the time of direct   been absent for 48–72 hours. Empiric treatment of polymicro-
visual examination is swollen and dull gray in appearance with          bial necrotizing fasciitis should include agents effective against
stringy areas of necrosis; a thin, brownish exudate may be pre-         both aerobes, including MRSA, and anaerobes (Table 4).
sent. Even after deep dissection, there is typically no true pus de-    Among the many choices is vancomycin, linezolid, or daptomycin
tected. Extensive undermining of surrounding tissues is usually         combined with one of the following options: (1) piperacillin-
present, and the tissue planes can be readily dissected with a          tazobactam, (2) a carbapenem (imipenem-cilastatin, meropenem,
gloved ﬁnger or a blunt instrument. Several clinical scoring sys-       and ertapenem), (3) ceftriaxone plus metronidazole, or (4) a ﬂu-
tems have been proposed, but all of these are more useful for ex-       oroquinolone plus metronidazole (Table 4). Once the microbial
cluding necrotizing soft tissue infections than identifying them.       etiology has been determined, the antibiotic coverage should be
A high index of suspicion remains paramount [111].                      appropriately modiﬁed.
   A deﬁnitive bacteriologic diagnosis is best established by cul-         Necrotizing fasciitis and/or streptococcal toxic shock syn-
ture and Gram stain of deep tissue obtained at operation or by          drome caused by group A streptococci should be treated with
positive blood cultures. Cultures of the superﬁcial wound may           both clindamycin and penicillin. Clindamycin suppresses strep-
be misleading because results may not reﬂect organisms in the           tococcal toxin and cytokine production. Clindamycin was
deep tissue infection. Direct needle aspiration of an area of cu-       found to be superior to penicillin in animal models, and 2 ob-
taneous inﬂammation may yield ﬂuid for Gram stain and cul-              servational studies show greater efﬁcacy for clindamycin than β-
ture. In suspected cases a small, exploratory incision made in          lactam antibiotics [112, 113]. Penicillin should be added because
the area of maximum suspicion can be useful for excluding or            of potential resistance of group A streptococci to clindamycin.
conﬁrming the diagnosis. Gram stains of the exudate will                Macrolide resistance in the United States is <5.0% among group
demonstrate the pathogens and provide an early guide to anti-           A streptococci [114], but in Germany macrolide resistance is
microbial therapy. Gram-positive cocci in chains suggest Strep-         8.2%, and in Spain 18.3% [115, 116]. Some of these strains are
tococcus (either group A or anaerobic). Large gram-positive             also clindamycin resistant. Interestingly, in the United States, no
cocci in clusters suggest S. aureus. If a necrotizing infection is      resistance to clindamycin was found from invasive strains of
present, it will be obvious from the ﬁndings described above.           group A streptococci in Chicago [117].
If there is no necrosis on exploratory incision, the procedure             The efﬁcacy of intravenous immunoglobulin (IVIG) in
can be terminated with very little risk or morbidity to the             treating streptococcal toxic shock syndrome has not been


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deﬁnitively established. As extracellular streptococcal toxins          PYOMYOSITIS
have a role in organ failure, shock, and tissue destruction, neu-
tralization of these toxins theoretically could be beneﬁcial. Be-       IX. What Is the Appropriate Approach to the Management of
cause a standardized antitoxin is unavailable, IVIG has been            Pyomyositis?
studied. However, there is considerable batch-to-batch variation        Recommendations
of IVIG in terms of the quantity of neutralizing antibodies, and          30. MRI is the recommended imaging modality for estab-
clinical data of efﬁcacy are lacking [118]. One observational           lishing the diagnosis of pyomyositis. CT scan and ultrasound
study demonstrated better outcomes in patients receiving                studies are also useful (strong, moderate).
IVIG, but this report was confounded because IVIG recipients              31. Cultures of blood and abscess material should be ob-




                                                                                                                                                      Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
were more likely to have had surgery and to have received clin-         tained (strong, moderate).
damycin than the historical controls [119]. A double-blind, pla-          32. Vancomycin is recommended for initial empirical ther-
cebo-controlled trial from Northern Europe in which both                apy. An agent active against enteric gram-negative bacilli should
groups were similar in terms of surgery and clindamycin treat-          be added for infection in immunocompromised patients or fol-
ment showed no statistically signiﬁcant improvement in surviv-          lowing open trauma to the muscles (strong, moderate).
al and a statistically nonsigniﬁcant reduction in the median              33. Cefazolin or antistaphylococcal penicillin (eg, nafcillin or
time to no further progression of necrotizing fasciitis or celluli-     oxacillin) is recommended for treatment of pyomyositis caused
tis (20 hours for the IVIG group vs 24 hours for the placebo            by MSSA (strong, moderate).
group) [120]. Additional studies of the efﬁcacy of IVIG are nec-          34. Early drainage of purulent material should be performed
essary before a recommendation can be made supporting its use           (strong, high).
in this setting.                                                          35. Repeat imaging studies should be performed in the pa-
                                                                        tient with persistent bacteremia to identify undrained foci of in-
Fournier Gangrene                                                       fection (strong, low).
This variant of necrotizing soft tissue infection involves the            36. Antibiotics should be administered intravenously initially,
scrotum and penis or vulva [121, 122]. The average age at               but once the patient is clinically improved, oral antibiotics are ap-
onset is 50–60 years. Eighty percent of patients have signiﬁcant        propriate for patients whose bacteremia cleared promptly and
underlying diseases, particularly diabetes mellitus.                    those with no evidence of endocarditis or metastatic abscess.
                                                                        Two to 3 weeks of therapy is recommended (strong, low).
Clinical Features
Fournier gangrene usually occurs from a perianal or retroperito-
                                                                        Evidence Summary
neal infection that has spread along fascial planes to the genitalia;
                                                                        Pyomyositis is the presence of pus within individual muscle
a urinary tract infection, most commonly secondary to a urethral
                                                                        groups, caused mainly by S. aureus. Due to geographical distri-
stricture, that involves the periurethral glands and extends into
                                                                        bution, this condition is often called tropical pyomyositis, but
the penis and scrotum; or previous trauma to the genital area,
                                                                        cases can occur in temperate climates, especially in patients
providing access of organisms to the subcutaneous tissues.
                                                                        with human immunodeﬁciency virus (HIV) infection or diabe-
Bacteriology                                                            tes mellitus [123]. Presenting ﬁndings are localized pain in a
The pace of infection can begin insidiously or abruptly with fever      single muscle group, muscle tenderness, and fever. The disease
and pain, erythema, and swelling in the genitalia [121, 122]. As the    typically occurs in an extremity, but any muscle group can be
disease progresses, cutaneous necrosis and crepitus, indicating gas     involved, including the psoas or trunk muscles. Initially, it
in the soft tissue, may develop. The gangrene is usually limited to     may not be possible to palpate a discrete ﬂuctuance because
skin and subcutaneous tissue. The testes, glans penis, and sper-        the infection is deep within the muscle, but the area may have
matic cord are typically spared, as they have a separate blood sup-     a ﬁrm, “woody” feel, along with pain and tenderness. In more
ply. The infection may extend to the perineum and the anterior          advanced cases, a bulging abscess may become clinically appar-
abdominal wall. Most cases are caused by mixed aerobic and an-          ent. Local trauma or vigorous use of muscles may precede this
aerobic ﬂora. Staphylococcus aureus and Pseudomonas species are         infection.
sometimes present, usually in mixed culture. Staphylococcus aure-          Staphylococcus aureus accounts for about 90% of pathogens
us is known to cause this infection as the sole pathogen.               causing pyomyositis; community-acquired MRSA isolates in
                                                                        this infection have been reported in many nontropical commu-
Treatment                                                               nities [124–126]. Group A streptococci, Streptococcus pneumo-
As with other necrotizing infections, prompt, aggressive surgi-         niae, and gram-negative enteric bacteria are other possible
cal debridement is necessary to remove all necrotic tissue, spar-       etiologic agents [127]. Blood cultures are positive in 5%–30%
ing the deeper structures when possible.                                of patients. Serum creatine kinase concentrations are typically


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normal in patients with a single area of pyomyositis related to        histolyticum, or Clostridium septicum. Clostridium perfringens
hematogenous seeding of muscle [124].                                  is the most frequent cause of trauma-associated gas gangrene
   MRI is the imaging modality that demonstrates pyomyositis           [136]. Increasingly severe pain beginning within 24 hours at
most effectively [128, 129]. Muscle inﬂammation and abscess for-       the injury site is the ﬁrst reliable clinical symptom. The skin
mation are readily noted; other sites of infection such as osteomy-    may initially appear pale, but quickly changes to bronze, then
elitis or septic arthritis may also be observed or a venous            purplish-red. The infected region becomes tense and tender,
thrombosis detected [130, 131]. In patients with disseminated S.       and bullae ﬁlled with reddish-blue ﬂuid appear. Gas in the tis-
aureus infection, multiple small areas of pyomyositis may become       sue, detected as crepitus or by imaging, is usually present by this
apparent. If an MRI cannot be performed, a CT scan can be use-         late stage. Signs of systemic toxicity, including tachycardia,




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ful, but it lacks the detail seen with MRI. Ultrasound is helpful if   fever, and diaphoresis, develop rapidly, followed by shock and
the infected muscle groups are superﬁcial. Plain radiographs are       multiple organ failure.
sometimes used, but may demonstrate only soft tissue swelling.            Spontaneous gangrene, in contrast to trauma-associated gan-
   In most cases of abscess, drainage is critical for optimal ther-    grene, is principally associated with the more aerotolerant C.
apy [132]. Given the prevalence of community-acquired MRSA             septicum and occurs predominantly in patients with neutrope-
in the United States [124, 132], vancomycin is recommended             nia or gastrointestinal malignancy. It develops in normal soft
for initial empirical therapy. Other agents active against MRSA        tissue in the absence of trauma as a result of hematogenous
(eg, linezolid, daptomycin, telavancin, or ceftaroline; clindamycin    spread from a colonic lesion, usually cancer. A rather innocuous
for susceptible isolates) may also be effective; however, clinical     early lesion evolves over the course of 24 hours into an infection
data are lacking because pyomyositis was an exclusion in ran-          with all of the cardinal manifestations of gas gangrene. The di-
domized trials comparing these agents to vancomycin in treating        agnosis is frequently not considered until gas is detected in
complicated SSTIs [133–135]. Cefazolin or antistaphylococcal           tissue or systemic signs of toxicity appear. Early surgical inspec-
penicillin is recommended for deﬁnitive therapy of pyomyositis         tion and debridement are necessary, and tissue Gram stain
caused by MSSA. A broader spectrum of organisms causes                 shows large, gram-positive or gram-variable rods at the site of
pyomyositis in patients with underlying conditions [126], and          infection [136].
empirical coverage with vancomycin plus 1 of the following                Clostridial gas gangrene is a fulminant infection that requires
is recommended: (a) piperacillin-tazobactam, (b) ampicillin-           meticulous intensive care, supportive measures, emergent surgi-
sulbactam, or (c) a carbapenem antimicrobial.                          cal debridement, and appropriate antibiotics. Because bacteria
                                                                       other than clostridia produce tissue gas, initial coverage should
                                                                       be broad as for necrotizing fasciitis until the diagnosis is estab-
RECOMMENDATIONS FOR EVALUATION AND
                                                                       lished by culture or Gram stain. Treatment of experimental gas
TREATMENT OF CLOSTRIDIAL GAS GANGRENE
                                                                       gangrene has demonstrated that tetracycline, clindamycin, and
AND MYONECROSIS
                                                                       chloramphenicol are more effective than penicillin [137, 138].
                                                                       Because 5% of strains of C. perfringens are clindamycin resis-
X. What Is the Appropriate Approach to the Evaluation and
Treatment of Clostridial Gas Gangrene or Myonecrosis?
                                                                       tant, the combination of penicillin plus clindamycin is the rec-
Recommendations                                                        ommended antibiotic treatment [137, 138].
  37. Urgent surgical exploration of the suspected gas gangrene           The value of adjunctive HBO treatment for gas gangrene is
site and surgical debridement of involved tissue should be per-        controversial [139]. HBO is advocated on the basis of laboratory
formed (severe nonpurulent; Figure 1) (strong, moderate).              studies showing that it suppressed log-phase growth of C. per-
  38. In the absence of a deﬁnitive etiologic diagnosis, broad-        fringens, but not the more aerotolerant C. septicum [140, 141].
spectrum treatment with vancomycin plus either piperacillin-           Studies in animal models demonstrate little efﬁcacy of HBO
tazobactam, ampicillin-sulbactam, or a carbapenem antimicro-           when used alone, whereas antibiotics alone, especially those
bial is recommended (strong, low). Deﬁnitive antimicrobial             that inhibit bacterial protein synthesis, have marked beneﬁt
therapy along with penicillin and clindamycin is recommended           [139].
for treatment of clostridial myonecrosis (strong, low).                   Clinical data for a role of HBO are very poor quality and are
  39. Hyperbaric oxygen (HBO) therapy is not recommended               entirely based on uncontrolled, observational case series [142].
because it has not been proven as a beneﬁt to the patient and          The absence of criteria to identify patients who may beneﬁt
may delay resuscitation and surgical debridement (strong, low).        from HBO therapy, the appropriate time to initiate therapy,
                                                                       and its association with serious adverse events are additional
Evidence Summary                                                       concerns [142, 143].
Clostridial gas gangrene or myonecrosis is most commonly caused           Emergent and aggressive surgical debridement and adminis-
by Clostridium perfringens, Clostridium novyi, Clostridium             tration of systemic antimicrobials are the cornerstones of


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effective therapy and crucial to ensure survival [144–146]. Un-        review supported a recommendation to limit prophylactic anti-
necessary delay because of ancillary procedures such as CT             biotics in mammalian bites to only those with hand injuries and
scans or MRI should be avoided. Some trauma centers associat-          human bites [145, 154, 155]. However, the 8 studies analyzed in
ed with HBO units may have greater expertise in managing               the review had serious limitations including small numbers of
these aggressive infections, but proximity and speed of transfer       patients (range, 12–190), inappropriate choices of empiric anti-
should be carefully considered before transporting the patient to      biotics, failure to perform intention-to-treat analysis (4 of 8
HBO units, which may delay potentially life-saving surgical            studies), and unspeciﬁed method of randomization (4 of 8 stud-
intervention.                                                          ies) [155]. Proper selection of patients beneﬁting from prophy-
                                                                       laxis could reduce the incidence of infection and save drug costs




                                                                                                                                                     Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
                                                                       and diminish side effects. Unfortunately, some patients who
RECOMMENDATIONS FOR ANIMAL AND
                                                                       may beneﬁt from therapy may not receive it in a timely fashion
HUMAN BITE WOUNDS PREVENTION AND
                                                                       and become infected. Research with controlled aspects of
TREATMENT
                                                                       wound care and standard deﬁnitions for inclusion would help
                                                                       further deﬁne the role of wound care compared with antimicro-
XI. What Is the Role of Preemptive Antimicrobial Therapy to
Prevent Infection for Dog or Cat Bites?
                                                                       bial agents for prevention of infection. The need for rabies pro-
Recommendations                                                        phylaxis and/or therapy should be addressed.
  40. Preemptive early antimicrobial therapy for 3–5 days is
recommended for patients who (a) are immunocompromised,                XII. What Is the Treatment for Infected Animal Bite–Related
(b) are asplenic, (c) have advanced liver disease, (d) have preex-     Wounds?
isting or resultant edema of the affected area, (e) have moderate      Recommendation
to severe injuries, especially to the hand or face, or (f ) have in-    42. An antimicrobial agent or agents active against both aer-
juries that may have penetrated the periosteum or joint capsule        obic and anaerobic bacteria such as amoxicillin-clavulanate
(strong, low).                                                         (Table 5) should be used (strong, moderate).
  41. Postexposure prophylaxis for rabies may be indicated;
consultation with local health ofﬁcials is recommended to de-          Evidence Summary
termine if vaccination should be initiated (strong, low).              Purulent bite wounds and abscess are more likely to be polymi-
                                                                       crobial (mixed aerobes and anaerobes), whereas nonpurulent
Evidence Summary                                                       wounds commonly yield staphylococci and streptococci [156,
Numerous studies highly variable in quality and employing di-          157]. Pasteurella species are commonly isolated from both non-
verse and nonstandardized approaches to basic wound care and           purulent wounds with or without lymphangitis and from ab-
a variety of antimicrobial agents, have failed to deﬁnitively de-      scesses. Additionally, nonpurulent wound infections may also
termine who should receive early, preemptive therapy for bite          be polymicrobial [156].
wounds. Consequently, the decision to give “prophylactic” an-             Based on this bacteriology, amoxicillin-clavulanate is appro-
tibiotics should be based on wound severity and host immune            priate oral therapy that covers the most likely aerobes and an-
competence [147, 148].                                                 aerobes found in bite wounds. Alternative therapies could
   Prophylactic or early preemptive therapy seems to provide           include second-generation cephalosporins (intravenously [IV]
marginal beneﬁt to wound care for patients with dog bites              or by mouth [ po]) (eg, cefuroxime, other second- or third-gen-
who present within 12–24 hours after injury, particularly in           eration cephalosporins), plus anaerobic coverage (clindamycin
low-risk wounds—that is, those that are not associated with            or metronidazole) if required (Table 5). A carbapenem, moxi-
puncture wounds; those in patients with no history of an immu-         ﬂoxacin, or doxycycline is also appropriate. If SMX-TMP or lev-
nocompromising disorder or use of immunosuppressive drugs;             oﬂoxacin is used, anaerobic coverage with either clindamycin or
or wounds not involving the face, hand, or foot [149–152]. A           metronidazole should be added (Table 5). Unless no alternative
meta-analysis of 8 randomized trials of dog bite wounds                agents are available, macrolides should be avoided due to vari-
found a cumulative incidence of infection of 16%, with a relative      able activity against Pasteurella multocida and fusobacteria.
risk of infection in patients treated with antibiotics compared        Pregnancy is a relative contraindication for use of tetracyclines
with controls to be 0.56 [153]. The authors concluded that an-         and ﬂuoroquinolones, whereas SMX-TMP may be safely pre-
tibiotics reduced the risk of infection in dog bite wounds but         scribed except in the third trimester of pregnancy [140, 141,
suggested limiting this to “high risk” wounds. Amoxicillin-clav-       143, 156–160].
ulanate administered in one study for a variety of full-skin              Human bites may occur from accidental injuries, purposeful
thickness animal bites in patients presenting >9 hours after           biting, or closed-ﬁst injuries. The bacteriologic characteristics of
the bite resulted in a lower infection rate [144]. A Cochrane          these wounds are complex, but include aerobic bacteria, such as


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Table 5. Recommended Therapy for Infections Following Animal or Human Bites

                                                                                          Therapy Type
Antimicrobial Agent by
Type of Bite                                 Oral                      Intravenous                                        Comments
Animal bite
  Amoxicillin-clavulanate         875/125 mg bid                           ...                Some gram-negative rods are resistant; misses MRSA
  Ampicillin-sulbactam                        ...               1.5–3.0 g every 6–8 h         Some gram-negative rods are resistant; misses MRSA
  Piperacillin-tazobactam                     ...               3.37 g every 6–8 h            Misses MRSA
  Carbapenems                                                   See individual info.          Misses MRSA




                                                                                                                                                                      Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
  Doxycycline                     100 mg bid                    100 mg every 12 h             Excellent activity against Pasteurella multocida; some
                                                                                                streptococci are resistant
  Penicillin plus                 500 mg qid/500 mg qid                    ...
    dicloxacillin
  SMX-TMP                         160–800 mg bid                5–10 mg/kg/day of TMP         Good activity against aerobes; poor activity against
                                                                  component                     anaerobes
  Metronidazole                   250–500 mg tid                500 mg every 8 h              Good activity against anaerobes; no activity against aerobes
  Clindamycin                     300 mg tid                    600 mg every 6–8 h            Good activity against staphylococci, streptococci, and
                                                                                                anaerobes; misses P. multocida
Second-generation                                                                             Good activity against P. multocida; misses anaerobes
  cephalosporin
  Cefuroxime                      500 mg bid                    1 g every 12 h
  Cefoxitin                                ...                  1 g every 6–8 h
Third-generation cephalosporin
  Ceftriaxone                                 ...               1 g every 12 h
  Cefotaxime                                  ...               1–2 g every 6–8 h
Fluoroquinolones                                                                              Good activity against P. multocida; misses MRSA and some
                                                                                                anaerobes
  Ciproﬂoxacin                    500–750 mg bid                400 mg every 12 h
  Levofloxacin                    750 mg daily                  750 mg daily
  Moxiﬂoxacin                     400 mg daily                  400 mg daily                  Monotherapy; good for anaerobes also
Human bite
  Amoxicillin-clavulanate         875/125 mg bid                           ...                Some gram-negative rods are resistant; misses MRSA
  Ampicillin-sulbactam                        ...               1.5–3.0 g every 6 h           Some gram-negative rods are resistant; misses MRSA
Carbapenems                                                                                   Misses MRSA
Doxycycline                       100 mg bid                               ...                Good activity against Eikenella species, staphylococci, and
                                                                                                anaerobes; some streptococci are resistant
Abbreviations: bid, twice daily; MRSA, methicillin-resistant Staphylococcus aureus; qid, 4 times daily; SMX-TMP, sulfamethoxazole-trimethoprim; tid, 3 times daily.




streptococci, S. aureus, and Eikenella corrodens, as well as with                   isolates per wound and whether additional coverage for anaer-
multiple anaerobic organisms, including Fusobacterium, Pep-                         obes is required.
tostreptococcus, Prevotella, and Porphyromonas species. Eikenel-
la corrodens is resistant to ﬁrst-generation cephalosporins,
                                                                                    XIII. Should Tetanus Toxoid Be Administered for Animal Bite
macrolides, clindamycin, and aminoglycosides (Table 5).                             Wounds?
Therefore, treatment with amoxicillin-clavulanate, ampicillin-                      Recommendation
sulbactam, or ertapenem is recommended; if there is history                          43. Tetanus toxoid should be administered to patients with-
of hypersensitivity to β-lactams, a ﬂuoroquinolone, such as cip-                    out toxoid vaccination within 10 years. Tetanus, diptheria, and
roﬂoxacin or levoﬂoxacin plus metronidazole, or moxiﬂoxacin                         pertussis (Tdap) is preferred over Tetanus and diptheria (Td) if
as a single agent is recommended. Broader empirical coverage                        the former has not been previously given (strong, low).
for abscesses might yield better therapeutic results. Additional-
ly, a more focused therapy for nonpurulent infected wounds                          Evidence Summary
could allow narrower therapy. Cultures are often not done on                        Tetanus is a severe and often fatal disease preventable through
wounds, and empirical therapy might miss pathogens. The bac-                        routine vaccination (ie, primary series and decennial boosters).
teriology of these wounds can differentiate the number of                           The incidence of tetanus in the United States has declined


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steadily since introduction of tetanus toxoid vaccines [146], and       46. Ciproﬂoxacin 500 mg po bid or levoﬂoxacin 500 mg IV/
all 50 states have legal requirements that children receive at least   po every 24 hours × 60 days is recommended for bioterrorism
a primary series (ie, 3 doses) of tetanus toxoid before entering       cases because of presumed aerosol exposure (strong, low).
school. Although no recent cases of tetanus from a bite have
been reported, dogs and cats are coprophagic and could poten-          Evidence Summary
tially transmit tetanus. Administering tetanus vaccine/toxoid          One of several clinical manifestations of anthrax is a cutaneous
after animal bite wounds is predicated upon the Advisory Com-          lesion. After an incubation period of 1–12 days, pruritus begins
mittee on Immunization Practices (ACIP) recommendations                at the entry site, followed by a papule, development of vesicles
[142]. The beneﬁts of regular tetanus toxoid boosters in adults        on top of the papule, and, ﬁnally, a painless ulcer with a black




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who have had a primary series have been questioned although            scab. This eschar generally separates and sloughs after 12–14
its use in “dirty wounds” seems sensible [161, 162]. Persons who       days. Variable amounts of swelling that range from minimal
have not completed the vaccine series should do so. A booster          to severe (“malignant edema”) surround the lesion. Mild to
dose of tetanus toxoid vaccine should be administered for dirty        moderate fever, headaches, and malaise often accompany the
wounds if >5 years has elapsed since the last dose and for clean       illness. Regional lymphadenopathy is common, but pus in the
wounds, if >10 years. Tdap is preferred over Td if the former has      lesion is absent unless a secondary infection occurs. White
not been previously given.                                             blood cell counts are generally normal, but mild leukocytosis
                                                                       can occur. Blood cultures are almost always negative. Cultures
XIV. In Which Patients Is Primary Wound Closure Appropriate for        of untreated lesions, depending upon the stage of evolution, are
Animal Bite Wounds?                                                    positive >80% of the time. Methods of specimen collection for
Recommendation                                                         culture depend on the type of lesion. Regarding vesicles, the
 44. Primary wound closure is not recommended for wounds               blister should be unroofed and 2 dry swabs soaked in the
with the exception of those to the face, which should be man-          ﬂuid. At a later stage, 2 moist swabs should be rotated in
aged with copious irrigation, cautious debridement, and pre-           the ulcer base or beneath the eschar’s edge. Patients who have
emptive antibiotics (strong, low). Other wounds may be                 previously received antimicrobials or have negative studies, but
approximated (weak, low).                                              still have suspected cutaneous anthrax, should undergo a punch
                                                                       biopsy that can be submitted for special studies (eg, immuno-
Evidence Summary                                                       histochemical staining and/or polymerase chain reaction
Although initial wound care is deemed to be an important ele-          [PCR]). When obtaining specimens, lesions should not be
ment in bite wound management, limited randomized con-                 squeezed to produce material for culture. Additional diagnostic
trolled studies have addressed the issue of wound closure              methods may include serological and skin tests.
following animal bites. In one study, primary closure of dog              No randomized, controlled trials of therapy of cutaneous an-
bite lacerations and perforations was associated with an infec-        thrax exist. Most published data indicate that penicillin is effec-
tion rate of <1% [163], but closing wounds of the hand may             tive therapy and will “sterilize” most lesions within a few hours
be associated with a higher infection rate than other locations        to 3 days but does not accelerate healing. Its value seems to be
[164]. Based on their 10-year experience with 116 patients,            primarily in reducing mortality from as high as 20% to zero.
Schultz and McMaster recommend that excised wounds, but                Based on even less evidence, tetracyclines, chloramphenicol,
not puncture wounds, should be closed [164]. Anecdotal reports         and erythromycin also appear effective.
of infection following closure suggest against closure, although          Suggested antimicrobials and dosages derive from 3 publica-
approximation may be acceptable [165]. These reports and               tions [167–169]. The optimal duration of treatment is un-
recommendations have major limitations including lack of a             certain, but 7–10 days appears adequate in naturally acquired
control group and their anecdotal nature, and lack of standard-        cases. Sixty days of treatment is recommended when associated
ization of the type of wound, its location, severity, or circum-       with bioterrorism as concomitant inhalation may have
stances surrounding the injury. Bite wounds to the face that           occurred. Until susceptibilities are available, ciproﬂoxacin is
are copiously irrigated and treated with preemptive antimicro-         rational empiric therapy for bioterrorism-related cases. Other
bial therapy may be closed [166].                                      ﬂuoroquinolones such as levoﬂoxacin, gatiﬂoxacin, or moxi-
                                                                       ﬂoxacin are also likely to be effective. Initiation of intravenous
XV. What Is the Appropriate Treatment of Cutaneous Anthrax?            vs oral therapy depends upon the severity of the illness, partic-
Recommendations                                                        ularly the degree of edema.
 45. Oral penicillin V 500 mg qid for 7–10 days is the recom-             Some have suggested systemic corticosteroids for patients
mended treatment for naturally acquired cutaneous anthrax              who develop malignant edema, especially of the head and
(strong, high).                                                        neck, but studies supporting this recommendation are lacking.


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Airway compromise requiring intubation or tracheostomy may          azithromycin for patients weighing ≥45.5 kg (100 lb) is 500 mg
occur with malignant edema.                                         on day 1, then 250 mg once daily for 4 additional days; for
                                                                    those weighing <45.5 kg, the dose is 10 mg/kg orally on day 1,
RECOMMENDATIONS FOR EVALUATION AND                                  then 5 mg/kg on days 2–5 [124]. Cutaneous bacillary angiomato-
TREATMENT OF BACILLARY ANGIOMATOSIS                                 sis therapy has not been systematically examined. Based on case
AND CAT SCRATCH DISEASE                                             reports and small series, either erythromycin (500 mg qid) or
                                                                    doxycycline (100 mg bid) appears effective [171]. The duration
XVI. What Is the Appropriate Approach for the Evaluation and        of initial therapy, while not standardized, should be for 2 weeks
Treatment of Bacillary Angiomatosis and Cat Scratch Disease?        to 2 months. With relapses, retreatment with prolonged therapy




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Recommendations                                                     (months) should be entertained until immunocompetence re-
 47. Azithromycin is recommended for cat scratch disease            turns. HIV-infected patients may require lifelong treatment [171].
(strong, moderate) according to the following dosing protocol:
                                                                    XVII. What Is the Preferred Treatment for Erysipeloid?
  (a) Patients >45 kg: 500 mg on day 1 followed by 250 mg
                                                                    Recommendation
  for 4 additional days (strong, moderate).
                                                                     49. Penicillin (500 mg qid) or amoxicillin (500 mg 3 times
  (b) Patients <45 kg: 10 mg/kg on day 1 and 5 mg/kg for 4
                                                                    daily [tid]) for 7–10 days is recommended for treatment of er-
  more days (strong, moderate).
                                                                    ysipeloid (strong, high).
 48. Erythromycin 500 mg qid or doxycycline 100 mg bid for
2 weeks to 2 months is recommended for treatment of bacillary       Evidence Summary
angiomatosis (strong, moderate).                                    Erysipeloid is a cutaneous infection caused by Erysipelothrix
                                                                    rhusiopathiae a thin, pleomorphic, non-spore-forming gram-
Evidence Summary
                                                                    positive rod. It is a zoonosis acquired by handling ﬁsh, marine
In classic cat scratch disease, a papule or pustule develops from
                                                                    animals, swine, or poultry. One day to 7 days after exposure, a
3–30 days following a scratch or a bite. Lymph nodes that drain
                                                                    red maculopapular lesion develops, usually on ﬁngers or hands.
the infected area enlarge about 3 weeks after inoculation. The
                                                                    Erythema spreads centrifugally, with central clearing. A blue
disease course varies, but lymphadenopathy generally resolves
                                                                    ring with a peripheral red halo may appear, giving the lesion
within 1–6 months. In about 10% of cases, the nodes suppurate.
                                                                    a target appearance. Regional lymphangitis/lymphadenopathy
Extranodal disease (eg, central nervous system, liver, spleen,
                                                                    occurs in about one-third of cases. A severe generalized cutane-
bone, and lung) develops in ≤2% of cases. Bartonella henselae
                                                                    ous variety also occurs. Systemic symptoms and leukocytosis are
causes most cases of cat scratch disease in immunocompetent
                                                                    unusual. Culture of an aspirate and/or biopsy of the lesion es-
hosts. Bacillary angiomatosis, seen in immunocompromised pa-
                                                                    tablish the diagnosis; blood cultures are rarely positive. Untreat-
tients, especially with AIDS, can occur from either B. henselae
                                                                    ed erysipeloid resolves over about 3–4 weeks, but treatment
or Bartonella quintana.
                                                                    probably hastens healing and may reduce systemic complica-
   Bacillary angiomatosis typically occurs in individuals with
                                                                    tions. Based on in vitro susceptibilities and anecdotal experienc-
AIDS and has 2 clinical appearances: (1) red papules that
                                                                    es, penicillin is appropriate. Cephalosporins, clindamycin, or
vary in size from a millimeter to several centimeters, numbering
                                                                    ﬂuoroquinolones should be effective for those intolerant of pen-
from 1 to >1000; (2) subcutaneous, painful nodules with the
                                                                    icillin. Erysipelothrix rhusiopathiae is resistant to vancomycin,
overlying skin having a normal or dusky hue.
                                                                    teicoplanin, and daptomycin [133, 134, 172, 173].
   Diagnosis of Bartonella infections may be difﬁcult because
the organism is fastidious and difﬁcult to grow in culture. Sero-   XVIII. What Is the Appropriate Treatment of Glanders?
logical testing supports the diagnosis, although there is cross-    Recommendation
reactivity between B. henselae and B. quintana as well as with       50. Ceftazidime, gentamicin, imipenem, doxycycline, or cip-
a few other organisms. PCR is a diagnostic option. A positive       roﬂoxacin is recommended based on in vitro susceptibility
Warthin-Starry silver stain of infected lymph node tissue is use-   (strong, low).
ful to conﬁrm the diagnosis, although it cannot differentiate
species of Bartonella.                                              Evidence Summary
   Treatment of cat scratch disease with antimicrobial agents       Glanders, characterized by ulcerating nodular lesions of the skin
has had variable, but rarely dramatic, results. A single, dou-      and mucous membrane, is caused by the aerobic gram-negative
ble-blind placebo-controlled study involved 29 patients, 14 of      rod Burkholderia mallei. Glanders is mainly a disease mainly
whom received azithromycin [170]. The lymph node size re-           of solipeds (eg, horses and mules). Humans become acci-
gressed by 80% at 30 days more frequently in the azithromy-         dental hosts either by inhalation or skin contact. Although
cin-treated patients (P = .02). The recommended dose of             other organs may be involved, pustular skin lesions and


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lymphadenopathy with suppurative nodes can be a prominent             XX. What Is Appropriate for Diagnosis and Treatment for
feature. Optimal therapy of glanders is poorly deﬁned. The or-        Tularemia?
ganism is susceptible to ceftazidime, gentamicin, imipenem,           Recommendations
doxycycline, and ciproﬂoxacin [174]. A recent laboratory-ac-            52. Serologic tests are the preferred method of diagnosing tu-
quired case was successfully treated with imipenem and doxy-          laremia (weak, low).
cycline for 2 weeks, followed by azithromycin and doxycycline           53. Streptomycin (15 mg/kg every 12 hours IM) or gentami-
for an additional 6 months [175].                                     cin (1.5 mg/kg every 8 hours IV) is recommended for treatment
                                                                      of severe cases of tularemia (strong, low).
                                                                        54. Tetracycline (500 mg qid) or doxycycline (100 mg bid




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XIX. What Is the Appropriate Diagnosis and Treatment of Bubonic
                                                                      given by mouth) is recommended for treatment of mild cases
Plague?
                                                                      of tularemia (strong, low).
Recommendation
                                                                        55. Notify the microbiology laboratory if tularemia is sus-
 51. Bubonic plague should be diagnosed by Gram stain and
                                                                      pected (strong, high).
culture of aspirated material from a suppurative lymph node
(strong, moderate). Streptomycin (15 mg/kg intramuscularly
[IM] every 12 hours) or doxycycline (100 mg bid po) is recom-         Evidence Summary
mended for treatment of bubonic plague (strong, low). Genta-          Francisella tularensis, while hardy and persistent in nature, is a
micin could be substituted for streptomycin (strong, low).            fastidious, aerobic, gram-negative coccobacillus. Illness can
                                                                      often be categorized into several fairly distinct syndromes:
Evidence Summary                                                      ulceroglandular, glandular, typhoidal, pneumonic, and oculo-
Plague results from infection with Yersinia pestis, a facultative     glandular or oropharyngeal. The glandular varieties are gener-
anaerobic gram-negative coccobacillus. It primarily affects ro-       ally acquired by handling infected animals, by tick bites, and
dents, being maintained in nature by several species of ﬂeas          sometimes by animal bites, especially cats. Biting ﬂies occasion-
that feed on them. Three plague syndromes occur in humans:            ally transmit the illness in the United States, while mosquitoes
septicemic, pneumonic, and bubonic. Bubonic plague, the               are common vectors in Europe. After an incubation period of
most common and classic form, develops when humans are bit-           3–10 days, the patient typically develops a skin lesion (ulcer
ten by infected ﬂeas or have a breach in the skin when handling       eschar) at the entry site of the organism along with tender
infected animals. Domestic cat scratches or bites may also trans-     adenopathy in regional lymph nodes, hence the name ulcero-
mit bubonic plague. Patients usually develop fever, headache,         glandular. In some patients, the skin lesion is inconspicuous
chills, and tender regional lymphadenopathy 2–6 days after            or healed by the time they seek medical care, resulting in “glan-
contact with the organism. A skin lesion at the portal of entry       dular” tularemia. The illness is often associated with substantial
is sometimes present. Patients with bubonic plague may develop        fever, chills, headache, and malaise.
septicemia and secondary plague pneumonia, which is trans-               Conﬁrmation of the diagnosis is usually serological. Routine
missible person-to-person. Diagnosis can be made by blood             cultures are often negative unless cysteine-supplemented media
cultures and by aspirating lymph nodes for staining and culture.      are utilized. The laboratory should be notiﬁed when tularemia is
PCR is available at reference laboratories. Serologic tests may       suspected because of the health risks posed to laboratory per-
provide retrospective conﬁrmation.                                    sonnel. Unsuspected growth of F. tularemia can cause laboratory-
   No controlled comparative trials of therapy for plague exist.      acquired disease. PCR may also be useful for diagnosis.
Streptomycin 15 mg/kg every 12 hours (adjusted for renal func-           No prospective controlled or randomized trials of therapy for
tion) is the treatment of choice, although tetracycline and chlor-    tularemia have been performed, nor has the optimal duration of
amphenicol are also considered appropriate therapy [175, 176].        treatment been established. Streptomycin has been considered
Gentamicin is a reasonable substitute for streptomycin if the lat-    the drug of choice for tularemia for several decades [130].
ter is not available, although there is but limited experience with   Since then, a few patients have been received ﬂuoroquinolones.
gentamicin in the treatment of plague. Based on in vitro suscep-      Francisella is resistant to most β-lactam antibiotics, which should
tibilities and murine models, ﬂuoroquinolones are another op-         be avoided. When static drugs such as tetracyclines or chloram-
tion. Ciproﬂoxacin has been suggested as a drug for both              phenicol are used, relapses may be more common, but often the
treatment and prevention of plague due to biowarfare agents de-       patients have received brief therapy (ie, <7–10 days).
spite a lack of documented efﬁcacy in humans. The optimal du-            Acutely ill adults or children should receive an aminoglyco-
ration for treating bubonic plague is unknown, but 10–14 days         side, preferably streptomycin or possibly gentamicin. For adults,
is probably adequate. Patients with bubonic plague may develop        the regimen for streptomycin is 30 mg/kg/day in 2 divided
secondary pneumonic plague and should be placed in respira-           doses (no more than 2 g daily) or gentamicin 1.5 mg/kg every
tory isolation until after 48 hours of effective drug therapy.        8 hours, with appropriate dose adjustment based on renal


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function. For children, streptomycin should be administered at       pathogenic in normal hosts (opportunistic organisms such as
30 mg/kg/day in 2 divided doses or gentamicin at 6 mg/kg/day         Aspergillus fumigatus). However, infectious agents commonly
in 3 divided doses [130]. Although no data exist, treatment with     found in immunocompetent patients (eg, S. pyogenes,
a parenteral agent until the acute illness is controlled, followed   S. aureus) still need to be entertained in the differential diagno-
by an oral agent, seems rational for the duration of 7–10 days.      sis of skin and soft tissue lesions in immunocompromised pa-
Treatment of severe cases should be extended to 14 days.             tients even if the dermatological ﬁndings are atypical for these
   For mild to moderate disease, oral tetracycline (500 mg qid)      common organisms. A careful epidemiologic history (eg, expo-
or doxycycline (100 mg bid) is appropriate. A few cases have         sure to raw seafood, pets, and travel) should also be obtained in
been treated with ﬂuoroquinolones with mixed results [177].          these patients to consider organisms potentially associated with




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Oral levoﬂoxacin (500 mg daily) or ciproﬂoxacin (750 mg              these exposures when appropriate (eg, V. vulniﬁcus, B. henselae,
bid) in adults may be reasonable in mild to moderate illness.        cutaneous leishmaniasis). Use of antimicrobial prophylaxis in
For oral regimens, patients should receive at least 14 days of       these patients has shown to ultimately impact the pathogens
therapy. Despite clinical responses and appropriate treatment        that will be isolated when infection develops, and this informa-
in one study from France, 38.6% of patients relapsed [177].          tion should be available to the clinician when assessing im-
                                                                     munocompromised patients with skin and soft tissue lesions
                                                                     [182, 183].
XXI. What Is the Appropriate Approach to Assess SSTIs in
Immunocompromised Patients?
                                                                        After considering the important speciﬁc factors concerning
Recommendations                                                      the patient’s immunocompromised status (eg, neutropenia or
  56. In addition to infection, differential diagnosis of skin le-   neutrophil defects, cellular immune defect, presence of intravas-
sions should include drug eruption, cutaneous inﬁltration with       cular catheters) [180, 181], the gross morphologic characteristics
the underlying malignancy, chemotherapy- or radiation-in-            of the skin lesion(s) should be characterized, the extent of the
duced reactions, Sweet syndrome, erythema multiforme, leuko-         infection determined (eg, localized vs disseminated), and ap-
cytoclastic vasculitis, and graft-vs-host disease among              propriate diagnostic tests undertaken to identify the infecting
allogeneic transplant recipients (strong, high).                     pathogen. Although blood cultures, tests for detection of anti-
  57. Differential diagnosis for infection of skin lesions should    gens in blood or vesicular ﬂuid, or nucleic acid ampliﬁcation
include bacterial, fungal, viral, and parasitic agents (strong,      techniques in body ﬂuids or tissues may be helpful, the most
high).                                                               speciﬁc method for an expedited diagnosis is biopsy or aspira-
  58. Biopsy or aspiration of the lesion to obtain material for      tion of the lesion to obtain material for histological and micro-
histological and microbiological evaluation should always be         biological evaluation. The use of newer molecular methods (eg,
implemented as an early diagnostic step (strong, high).              gene ampliﬁcation and sequencing) will likely impact the man-
                                                                     agement algorithms of immunocompromised patients with
Executive Summary                                                    skin and soft tissue lesions and result in the earlier use of path-
Skin and soft tissues are common sites of infection for HIV-         ogen-directed antimicrobial therapy [184, 185]. Peripheral
negative patients with a compromised immune system, posing           blood biomarkers such as galactomannan and 1,3-β-D-glucan
a major diagnostic challenge [178, 179], as the differential diag-   has been well studied over the past 20 years and has been report-
nosis is broad and includes drug eruption, skin or soft tissue in-   ed to be useful in the diagnosis of disseminated fungal infec-
ﬁltration with the underlying malignancy, chemotherapy- or           tions by several European investigators. However, sensitivity
radiation-induced skin reactions, graft-vs-host disease among        of these tests can be signiﬁcantly affected by the use of antifun-
allogeneic transplant recipients, Sweet syndrome, erythema           gal drugs, and in the United States their sensitivity has been re-
multiforme, and leukocytoclastic vasculitis [180, 181]. Because      ported to be lower than in Europe in various populations of
the intensity and type of immune defect diminishes or alters         immunocompromised patients [186].
dermatological ﬁndings, cutaneous lesions that appear localized         Empiric antimicrobial therapy should be initiated immedi-
or innocuous may actually be a manifestation of a systemic or        ately in these patients on the basis of their underlying disease,
potentially life-threatening infection. The differential diagnosis   primary immune defect, morphology of skin lesions, use of
for SSTIs in immunocompromised patients is usually wider             prior antimicrobial prophylaxis, allergy history, and inherent
than that for immunocompetent patients and often includes            and local proﬁles of antimicrobial resistance. Despite aggressive
bacterial, viral, fungal, and parasitic agents. Organisms that       empiric therapy, treatment failure may occur, and the reasons
cause these infections will vary based on the underlying im-         for this lack of response include the following: (1) the initial di-
mune defects (eg neutropenia, cellular immune defects, iatro-        agnosis and/or treatment chosen is incorrect; (2) the etiologic
genic related to the use of intravascular catheters), and many       pathogen is already resistant to the antimicrobial agent; (3) re-
of the infecting organisms are not typically considered              sistance develops during treatment; (4) if indicated, surgical


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debridement has not taken place; and/or (5) the patient’s im-       neutropenia, infection in recipients of hematopoietic stem cell
mune deﬁciency is profound and cannot be reversed. The              transplant), speciﬁc infections (eg, candidiasis, aspergillosis),
early identiﬁcation of an etiologic agent in immunocompro-          and iatrogenic infections (eg, intravascular catheter–related in-
mised hosts with SSTIs is essential when deciding whether sur-      fection). They are based on published clinical trials, descriptive
gical debridement is warranted because microbial resistance         studies, or reports of expert committees, and the clinical expe-
makes dogmatic empiric treatment regimens difﬁcult, if not          rience and opinions of respected authorities. Therefore, this
dangerous. For this reason, skin biopsy material should be ob-      section of the SSTI guideline will focus on existing recommen-
tained by an experienced dermatologist and evaluated in con-        dations that demand reinforcement, or that are truly speciﬁc to
junction with a pathologist who is familiar with this patient       SSTIs.




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population.                                                            Neutropenia is deﬁned as an ANC <500 cells/µL, or a neutro-
                                                                    phil count that is expected to decrease to <500 cells/µL within
                                                                    48 hours [187–189]. The development of fever during treat-
RECOMMENDATIONS FOR SKIN AND SOFT
                                                                    ment-associated neutropenia is common, but many patients
TISSUE INFECTIONS IN CANCER PATIENTS
                                                                    do not have an infectious etiology determined [184, 194].
WITH NEUTROPENIA
                                                                    More than 20% of patients with chemotherapy-induced neutro-
                                                                    penia develop a clinically documented infection involving the
XXII. What Is the Appropriate Approach to Assess SSTIs in
Patients With Fever and Neutropenia?
                                                                    skin and soft tissues, but many are due to hematogenous dis-
Recommendations                                                     semination [179].
  59. Determine whether the current presentation of fever and          Cancer patients with fever and neutropenia can be divided
neutropenia is the patient’s initial episode of fever and neutro-   into low- and high-risk groups [187]. The determination of dif-
penia, or persistent unexplained fever of their initial episode     ferences in patient risk of infection and infectious complications
(after 4–7 days) or a subsequent episode of fever and neutrope-     levels (high risk and low risk) during the period of neutropenia
nia (recurrent) (strong, low).                                      has been recognized and further validated since this clinical
  60. Aggressively determine the etiology of the SSTI by aspi-      guideline was last updated [195, 196]. The MASCC developed
ration and/or biopsy of skin and soft tissue lesions and submit     and validated a scoring method that formally differentiates be-
these for thorough cytological/histological assessments, micro-     tween high-risk and low-risk patients [195, 196]. High-risk pa-
bial staining, and cultures (strong, low).                          tients have a MASCC score <21. Low-risk patients have a
  61. Risk-stratify patients with fever and neutropenia accord-     MASCC score ≥21. Disseminated or complex SSTIs are more
ing to susceptibility to infection: high-risk patients are those    likely to occur among high-risk patients.
with anticipated prolonged (>7 days) and profound neutropenia
(absolute neutrophil count [ANC] <100 cells/µL) or with a           Clinical, Laboratory, and Radiological Evaluation of Patients With
Multinational Association for Supportive Care (MASCC)               Febrile Neutropenia Who Present With Skin and Soft Tissue
score of <21; low-risk patients are those with anticipated brief    Lesions
(<7 days) periods of neutropenia and few comorbidities (strong,     Signs and symptoms of inﬂammation and infection are often
low) or with a MASCC score of ≥21 (strong, moderate).               diminished or absent in patients with neutropenia. Skin lesions,
  62. Determine the extent of infection through a thorough          no matter how small or innocuous in appearance, should be
physical examination, blood cultures, chest radiograph, and ad-     carefully evaluated. Early involvement of an infectious diseases
ditional imaging (including chest CT) as indicated by clinical      specialist, a surgeon, and a dermatologist familiar with these pa-
signs and symptoms (strong, low).                                   tients may result in improved outcome. Initial clinical impres-
                                                                    sions should be supplemented with a systemic approach to
Evidence Summary                                                    enhance the diagnosis and management of infection. Blood cul-
SSTIs in patients with fever and neutropenia have rarely been       tures are critical, and at least 2 sets should be obtained. Radio-
carefully studied as a “separate entity.” Rather, recommenda-       graphic imaging should be performed as clinically indicated,
tions for these infections are extrapolated from broad group        but can be helpful to deﬁne the extent of SSTIs when patients
guidelines that include references to SSTIs and have been devel-    are neutropenic. Chest/sinus radiologic imaging may identify
oped by professional organizations including IDSA, the Nation-      the silent or subtle pulmonary site of infection that has resulted
al Comprehensive Cancer Network (NCCN), American Society            in dissemination to skin or soft tissues.
of Blood and Marrow Transplantation, the American Society of           The most speciﬁc method for evaluating SSTIs is biopsy or
Clinical Oncology, and the Centers for Disease Control and          aspiration of the lesion(s) to obtain material for histological, cy-
Prevention [187–193]. These guidelines are focused on the diag-     tological, and microbiological evaluation. Prospective studies
nosis and management of speciﬁc patient groups (eg, fever and       evaluating the yield of skin biopsy or aspiration have not been


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performed in adult immunocompromised patients, but most               initially be clinically subtle in compromised patients, but MRI
clinicians who manage these patients combine blood cultures,          scans of the involved area may be helpful in deﬁning the depth
serial antigen detection, nucleic acid ampliﬁcation techniques,       of infections. In such infections, immediate surgical exploration
radiographic imaging, and a biopsy or aspiration of the abnor-        by a team experienced in the management of these patients and
mal skin or soft tissue lesion in the hope of increasing the recov-   broad-spectrum antibiotic therapy targeted at gram-negative,
ery of the offending pathogen and directing pathogen-speciﬁc          gram-positive, and anaerobic bacteria are essential.
antimicrobial therapy.                                                   Gram-positive pathogens are now the most common bacteri-
   This can occur during “initial” episode fever and neutropenia      al organisms isolated from diagnostic cultures obtained from fe-
(ﬁrst episode of neutropenic fever that requires systemic antimi-     brile neutropenic patients [197, 198]. These pathogens in order




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crobial therapy) or during a “persisting episode” ( persistent        of decreasing prevalence include coagulase-negative staphylo-
neutropenic fever unresponsive to broad-spectrum antimicrobi-         cocci, viridans streptococci, enterococci, S. aureus, Corynebacte-
al therapy beyond days 4–7) or during recurrent episodes of           rium, Clostridium species, and Bacillus species. SSTIs associated
fever and neutropenia. This determination helps the clinician         with these organisms usually begin as a focal area of tender cu-
deﬁne the most likely pathogens and to construct the initial em-      taneous erythema, a macular or maculopapular eruption, or a
piric treatment.                                                      classic cellulitis. Although rare, they can also cause ecthyma
   During the initial episode gram-negative bacteria should be        gangrenosum–like lesions that are often confused with “spider
primarily targeted by the initial antibiotic regimen because          bites,” superﬁcial and deep abscesses that become apparent fol-
they are associated with high mortality rates. Although gram-         lowing marrow recovery, necrotizing fasciitis, myositis, and my-
positive bacteria are more common, the addition of antibiotics        onecrosis. Common infection sites are the groin, axilla, areas of
with gram-positive activity including MRSA is not recommend-          cutaneous disruption (eg, vascular catheter or bone marrow as-
ed unless physical ﬁndings suggestive of inﬂammation in the           piration sites), or other skin sites that are moist and frequently
skin and soft tissues are present, the patient is hemodynamically     abraded. Hematogenous dissemination of gram-positive bacte-
unstable, and risk factors for MRSA are present. For patients         rial organisms to the skin and soft tissue is uncommon except
with a persistent episode of fever and neutropenia or recurrent       for S. aureus and some Clostridium species. A toxic shock–like
episodes, antibiotic-resistant bacterial or fungal pathogens in-      syndrome with associated diffuse erythroderma has been de-
cluding Candida and molds become more common [197–199].               scribed with bacteremic toxin–producing streptococci. Painful
   Dermatologic manifestations in patients with fever and neu-        myositis may also occur with S. aureus infections as a compo-
tropenia include erythematous maculopapular lesions, focal or         nent of hematogenous dissemination.
progressive cellulitis, cutaneous nodules, “ecthyma gangreno-            HSV, varicella zoster virus (VZV), and enteroviruses are rare
sum,” and, occasionally, necrotizing fasciitis or myonecrosis         causes of cutaneous manifestations in patients with neutropenia
[179, 200]. Ecthyma gangrenosum is a cutaneous vasculitis             [202]. Their presence usually reﬂects either a disseminated in-
caused by invasion of the media and adventitia of the vessel          fection, or, in the case of HSV, the autoinoculation of virus from
wall by bacteria, which may be visible on histologic stains of bi-    mucosal sites to adjacent or distant cutaneous sites. HSV and
opsy specimens. Ecthyma gangrenosum frequently begins as              VZV in compromised patients may appear as vesicles similar
painless erythematous papule(s) that often progress and be-           to those in normal hosts, or as isolated or multiple benign-look-
come painful and necrotic within 24 hours. These skin lesions         ing papules with a central eschar (ecthyma gangrenosum–like
may be discrete or multiple, are found preferentially between         lesion). VZV in compromised hosts may present with the tradi-
the umbilicus and the knees, and can increase in size from 1          tional unilateral dermatome distribution, but may also appear as
cm to >10 cm in <24 hours. Ecthyma gangrenosum has classi-            discrete or multiple skin lesions in random distribution. Skin
cally been reported to occur with Pseudomonas aeruginosa              biopsy is the only reliable method to diagnose cutaneous or dis-
infections, but similar lesions may be caused by other Pseudo-        seminated HSV or VZV infection; peripheral blood PCR for
monas species, Aeromonas species, Serratia species, S. aureus,        HSV or VZV can be helpful in these patients.
Stenotrophomonas maltophilia, S. pyogenes, fungi including
Candida species, Aspergillus, Mucor, and Fusarium, and even           XXIII. What Is the Appropriate Antibiotic Therapy for Patients With
herpes simplex virus (HSV) [201].                                     SSTIs During the Initial Episode of Fever and Neutropenia?
   In contrast to immunocompetent patients, necrotizing fasci-        Recommendations
itis and/or myonecrosis are more frequently associated with            63. Hospitalization and empiric antibacterial therapy with
gram-negative or polymicrobial pathogens rather than a single         vancomycin plus antipseudomonal antibiotics such as cefe-
gram-positive bacterium. Necrotizing fasciitis can present alone      pime, a carbapenem (imipenem-cilastatin or meropenem or
or concurrently with myonecrosis in the patient with fever and        doripenem), or piperacillin-tazobactam are recommended
neutropenia. Rapidly progressive necrotizing SSTIs may                (strong, high).


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  64. Documented clinical and microbiologic SSTIs should be                        initial empiric regimen. Linezolid, daptomycin, or ceftaroline
treated based on antimicrobial susceptibilities of isolated organ-                 have activity against MRSA [204] and have received FDA ap-
isms (strong, high).                                                               proval for the treatment of SSTIs, but have not been compre-
  65. It is recommended that the duration of treatment for most                    hensively studied in patients with neutropenia. The use of
bacterial SSTIs should be for 7–14 days (strong, moderate).                        linezolid in this patient population has been associated with de-
  66. Surgical intervention is recommended for drainage of                         layed ANC recovery [205, 206].
soft tissue abscess after marrow recovery or for a progressive                        The combination of ciproﬂoxacin and amoxicillin-clavula-
polymicrobial necrotizing fasciitis or myonecrosis (strong, low).                  nate is the preferred oral antibiotic regimen for low-risk patients
  67. Adjunct colony-stimulating factor therapy (granulocyte                       [207, 208]. Levoﬂoxacin has better gram-positive activity than




                                                                                                                                                                   Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
colony-stimulating factor [G-CSF], granulocyte macrophage                          ciproﬂoxacin, but is less potent than ciproﬂoxacin against P.
colony-stimulating factor [GM-CSF]) or granulocyte transfu-                        aeruginosa, causing some to suggest that a higher dose of levo-
sions are not routinely recommended (weak, moderate).                              ﬂoxacin therapy (750 mg daily) may be required.
  68. Acyclovir should be administered to patients suspected                          Fluoroquinolone prophylaxis should preclude the use of ﬂu-
or conﬁrmed to have cutaneous or disseminated HSV or VZV                           oroquinolones for empiric therapy, and instead broad-spectrum
infection (strong, moderate).                                                      β-lactam antibiotics should be considered. Intravenous acyclo-
                                                                                   vir should be added to the empiric antimicrobial regimen of the
Evidence Summary
                                                                                   rare patient who has not been receiving antiviral prophylaxis ef-
The appropriate antibiotics for patients with suspected or con-
                                                                                   fective against HSV or VZV, but has developed skin lesions sus-
ﬁrmed SSTI (initial infection) should be broad-spectrum agents
                                                                                   pected or conﬁrmed to be caused by these viruses.
administered at the ﬁrst clinical signs or symptoms of infection
[203]. No single empiric regimen is superior, but all recommend-                   XXIV. What Is the Appropriate Antimicrobial Therapy for Patients
ed regimens should meet the following criteria: broad-spectrum                     With SSTIs During Persistent or Recurrent Episodes of Fever and
antimicrobial activity including P. aeruginosa, bactericidal in the                Neutropenia?
absence of circulating neutrophils, and low antibiotic-associated                  Recommendations
toxicity (Table 7). Infections caused by gram-negative bacilli                      69. Yeasts and molds remain the primary cause of infection-
including P. aeruginosa have been associated with the highest                      associated with persistent or recurrent fever and neutropenia;
infection-associated mortality [198, 203]. Despite an increased                    therefore, empiric antifungal therapy (Table 6) should be added
prevalence of gram-positive bacteria, antibiotics speciﬁcally                      to the antibacterial regimen (strong, high).
aimed against this group of organisms are not required [187,                          (a) Empiric administration of vancomycin or other agents
189] unless patients exhibit physical ﬁndings of SSTI or cathe-                       with gram-positive activity (linezolid, daptomycin, or cef-
ter-associated infection or are hemodynamically unstable [204].                       taroline) should be added if not already being administered
   Antibiotic selection should follow the clinical care guidelines                    (Table 7) (strong, high).
developed by IDSA and the NCCN [187, 189]. Excellent results                          (b) Candida species SSTIs should be treated with an echi-
have been reported for gram-negative infections using broad-                          nocandin or, if Candida parapsilosis has been isolated, lipid
spectrum monotherapy with carbapenems, cephalosporins that                            formulation amphotericin B (strong, high) with ﬂuconazole
possess antipseudomonal activity, or piperacillin/tazobactam.                         as an acceptable alternative (strong, moderate). Treatment
   For patients in whom vancomycin may not be an option,                              should be for 2 weeks after clearance of bloodstream infection
daptomycin, ceftaroline, or linezolid should be added to the                          or resolution of skin lesions (strong, moderate).

Table 6. Standard Doses of Antifungal Agents

Antifungal Agent                      Oral Dose                               IV Dose                                            Comments
Fluconazole                  100–400 mg every 24 h             800 mg loading dose, then 400 mg           Candida krusei and Candida glabrata are
                                                                 daily                                      resistant
Voriconazolea                400 mg bid × 2 doses,             6 mg/kg IV every 12 h for 2 doses,         Accumulation of cyclodextrin vehicle with
                               then 200 mg every 12 h            followed by 4 mg/kg IV every 12 h          IV formulation with renal insufficiency
Posaconazole                 400 mg bid with meals             N/A                                        Covers Mucorales
Lipid complex                N/A                               5 mg/kg/d                                  Not active against fusaria
  amphotericin B
Liposomal                    N/A                               3–5 mg/kg/d                                Not active against fusaria
  amphotericin B
Abbreviations: bid, twice daily; IV, intravenous; N/A, not applicable.
a
    The use of patient-specific pharmacokinetics is recommended to improve clinical outcome [247].




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Table 7. Standard Doses of Antimicrobial Agents Active Against Multidrug-Resistant Organisms

Antimicrobial                     IV Dose                                                              Comments
Vancomycin        30–60 mg/kg/d in 2–4 divided doses        Target serum trough concentrations of 15–20 µg/mL in severe infections
Daptomycin        4–6 mg/kg/d                               Covers VRE, strains nonsusceptible to vancomycin may be cross-resistant to daptomycin
Linezolid         600 mg every 12 h                         100% oral bioavailability; so oral dose same as IV dose. Covers VRE and MRSA
Colistin          5 mg/kg load, then 2.5 mg/kg              Nephrotoxic; does not cover gram-positives or anaerobes, Proteus, Serratia, Burkholderia
                    every 12 h

Abbreviations: IV, intravenous; MRSA, methicillin-resistant Staphylococcus aureus; VRE, vancomycin-resistant enterococci.




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   (c) Aspergillus SSTIs should be treated with voriconazole                      against MRSA (eg, vancomycin, linezolid, daptomycin, or cef-
   (strong, high), or, alternatively, lipid formulations of ampho-                taroline) [209]. Multiple antibiotic-resistant gram-negative
   tericin B, posaconazole, or echinocandin for 6–12 weeks                        bacilli are more commonly being recovered from cultures of
   (strong, low). Mucor/Rhizopus infections should be treated                     blood and soft tissues, and antibiotic modiﬁcation is necessary
   with lipid formulation amphotericin B (strong, moderate) or                    when their presence is suspected or documented (Table 7)
   posaconazole (strong, low) (Table 6). The addition of an echi-                 [204]. Treatment of yeast and mold infections should follow
   nocandin could be considered based on synergy in murine                        IDSA and NCCN guideline recommendations [187, 189].
   models of mucormycosis and observational clinical data                            Although skin and soft tissues are less frequent sites of infec-
   (weak, low).                                                                   tion in patients with persisting or recurrent fever and neutropenia
   (d) Fusarium species infections should be treated with                         (<10%), they often represent a site of infection dissemina-
   high-dose IV voriconazole or posaconazole (strong, low).                       tion. Among the responsible pathogens, 10%–15% are caused
   (e) Begin treatment for antibiotic-resistant bacterial organ-                  by antibiotic-resistant gram-negative bacilli; 30%–40% by anti-
   isms, in patients currently on antibiotics (strong, moderate).                 biotic-resistant gram-positive organisms (coagulase-negative
   (f ) Intravenous acyclovir should be added to the patient’s                    staphylococci, MRSA, and vancomycin-resistant enterococci),
   antimicrobial regimen for suspected or conﬁrmed cutaneous                      but most (>50%) are caused by yeast or molds [198, 210,
   or disseminated HSV or VZV infections (strong, moderate).                      211]. In 2012, infections caused by yeast and molds were the
 70. Blood cultures should be obtained, and skin lesions in this                  major cause of associated morbidity and mortality in patients
population of patients should be aggressively evaluated by culture                with prolonged and profound neutropenia [198, 210]. Diagnosis
aspiration, biopsy, or surgical excision as they may be caused by                 of fungal infections remains difﬁcult, and beneﬁts from fungal
resistant microbes, yeast, or molds (strong, moderate).                           antigen or DNA detection remain inconsistent [212, 213]. How-
 71. The sensitivity of a single serum fungal antigen test (1,3-                  ever, recovery of fungi from aspiration or biopsy of skin or deep
β-D-glucan or galactomannan tests) is low particularly in                         soft tissues warrants aggressive systemic antifungal therapy.
patients receiving antifungal agents, and beneﬁts from laborato-                  Surgical treatment should be also considered in patients with
ry tests for fungal antigen or DNA detection remain inconsis-                     skin and soft tissue changes caused by angioinvasive molds
tent (strong, moderate).                                                          (eg, Mucor, Rhizopus, and Aspergillus).
 72. PCR in peripheral blood for HSV and VZV might be                                The incidence of invasive candidiasis prior to the routine use
helpful in establishing a diagnosis of disseminated infection in                  of azole antifungal prophylaxis was 12% in patients with pro-
patients with unexplained skin lesions (weak, moderate).                          found and prolonged neutropenia [214]. Candida albicans
                                                                                  is the most frequently isolated species; however, ﬂuconazole-
Evidence Summary                                                                  resistant yeast (ie, Candida krusei and Candida glabrata) are
In patients with persistent unexplained fever of their ﬁrst epi-                  increasingly common due to the widespread use of azole prophy-
sode (after 4–7 days) or recurrent fever, yeast and molds are                     laxis [214]. Superﬁcial cutaneous candidiasis presents as intertri-
the major cause of infection-related morbidity and mortality                      go, vaginitis, balanitis, perleche, and paronychia [215] and rarely
(Table 7) [187, 189, 203]. These later infections are most com-                   causes dissemination. However, up to 13% of patients with inva-
mon among high-risk patients with prolonged and profound                          sive disseminated candidiasis develop single or multiple nodular
neutropenia and they should be considered in any patient                          skin lesions [216, 217]. These lesions can appear as discrete pink
with neutropenia and skin and soft tissue lesions suggestive of                   to red papules (0.5–1.0 cm) and are usually found on the trunk
infection. In addition, MRSA should also be considered if                         and extremities [215, 217]. Candida skin lesions are usually non-
patients are not receiving antimicrobial agents with activity                     tender, but may develop central pallor, or become hemorrhagic if


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the patient is thrombocytopenic. Painful myositis can develop as         lymphocytic leukemia, recipients of organ transplants, or re-
a consequence of hematogenous infection and is most common               ceiving immunosuppressive drugs such as anti–tumor necrosis
with Candida tropicalis [218, 219]. Muscle and soft tissue abscess       factor (TNF) or certain monoclonal antibodies) (weak, low).
formation is uncommon, but when identiﬁed it has usually oc-               74. Consider biopsy and surgical debridement early in the
curred following marrow recovery.                                        management of these patients (weak, low).
   Trichosporon beigelii is an uncommon but frequently fatal dis-          75. Empiric antibiotics, antifungals, and/or antivirals should
seminated fungal infection that often involves the skin [220].           be considered in life-threatening situations (weak, moderate).
Dermatologic manifestations vary from multiple erythematous              The use of speciﬁc agents should be decided with the input of
macules to maculopapular lesions. Biopsy often reveals a mixture         the primary team, dermatology, infectious disease, and other




                                                                                                                                                       Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
of true hyphae, pseudohyphae, budding yeast, and arthroconidia           consulting teams (strong, moderate).
that may be easily mistaken for Candida species
                                                                         Evidence Summary
   Cutaneous mold infections are unusual, but there could be
                                                                         Patients with lymphoma or acute or chronic lymphocytic leuke-
local infections at sites of IV catheter insertion or at nail bed
                                                                         mia, recipients of hematopoietic stem cell transplant (HSCT) or
and cuticle junctions on ﬁngers and toes, or secondary to hema-
                                                                         solid organ transplant (SOT), patients receiving corticosteroids
togenous dissemination [221]. Aspergillus, Rhizopus, and Mucor
                                                                         and other immunosuppressive drugs (eg, monoclonal antibodies,
species cause painful erythematous skin nodules that become ne-
                                                                         anti-TNF drugs), and patients with primary cellular immunode-
crotic and can resemble ecthyma gangrenosum because of their
                                                                         ﬁciencies are predisposed to infection. These patients are at in-
tendency for angioinvasion [222]. Aspergillus species infections
                                                                         creased risk for infection caused by a select group of bacteria,
occur in 10%–14% of patients with profound and prolonged neu-
                                                                         fungi, viruses, protozoa, and helminths, and some of these path-
tropenia, and mortality remains high [223]. Aspergillus fumigatus
                                                                         ogens have the capacity to cause SSTIs. Infection should always be
is the most frequently isolated species (50%), followed by Asper-
                                                                         high in the differential of a skin lesion or skin lesions in patients
gillus ﬂavus, Aspergillus niger, and Aspergillus terreus. Isolation of
                                                                         with cellular immunodeﬁciency. These patients may not have sys-
Aspergillus from blood cultures is rare, but dissemination is com-
                                                                         temic manifestations of infection, and the initial dermatological
monly detected at autopsy [224]. Local Mucor infections have oc-
                                                                         presentation may be atypical or misleading. Thus clinicians
curred as a consequence of contaminated bandages or other skin
                                                                         should have a very low threshold to obtain a skin biopsy (Table 6).
trauma, but patients with pulmonary Mucor infection may also
develop secondary cutaneous involvement from presumed hema-
togenous dissemination [225, 226].                                       Nontuberculous Mycobacteria
   Fusarium species are frequently identiﬁed as the infecting            Although most infections occur after primary inoculation at
pathogen among patients with prolonged and profound neutro-              sites of skin disruption or trauma, hematogenous dissemination
penia [227]. Patients commonly present with myalgias and per-            does occur. The most common manifestations of nontuberculous
sistent fever despite antimicrobial therapy. Skin lesions are very       mycobacteria (NTM) infection in SOT recipients include cutane-
common (60%–80% of infections), and often begin as multiple              ous and pleuropulmonary disease, and, in HSCT recipients, cath-
erythematous macules with central pallor that quickly evolve to          eter-related infection and bacteremia [228]. Disseminated infection
papules and necrotic nodules. The lesions frequently may have a          with Mycobacterium avium complex occurs preferentially among
ring of erythema surrounding an area of central necrosis. Le-            patients with HIV disease, whereas bloodstream and cutaneous in-
sions localize preferentially to the extremities, especially the         fections with Mycobacterium fortuitum, Mycobacterium chelonae,
feet, but may also be found on the face and trunk. Blood cul-            Mycobacterium abscessus, Mycobacterium ulcerans, Mycobacte-
tures are frequently positive (40%–50%) when cutaneous le-               rium kansasii, Mycobacterium haemophilum, Mycobacterium
sions appear. Mortality from this infection remains high,                marinum, or Mycobacterium mucogenicum are more frequent
although new azole antifungal agents appear promising [227].             among non-HIV-immunocompromised hosts [228]. Dermato-
                                                                         logic manifestations include a poorly resolving cellulitis, painless
RECOMMENDATIONS FOR PATIENTS WITH                                        1- to 2-cm nodules, necrotic ulcers, and subcutaneous abscesses.
CELLULAR IMMUNODEFICIENCY                                                   Treatment of NTM infections of the skin and soft tissues re-
                                                                         quires prolonged combination therapy (duration, 6–12 weeks)
XXV. What Is the Appropriate Approach to Assess SSTIs in                 that should consist of a macrolide antibiotic (eg, clarithromy-
Patients With Cellular Immunodeﬁciency?                                  cin) and a second agent to which the isolate is susceptible. Sur-
Recommendations                                                          gical debridement is crucial for cultures and sensitivities and in
 73. Consider immediate consultation with a dermatologist                addition is necessary to remove devitalized tissue and to pro-
familiar with cutaneous manifestations of infection in patients          mote skin and soft tissue healing. Deﬁnitive guidelines for treat-
with cellular immune defects (eg, those with lymphoma,                   ment of these entities have been published [229].


                                                                            IDSA Practice Guidelines for SSTIs   •   CID 2014:59 (15 July)   •   e43
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Nocardia                                                              documented cryptococcal meningitis by several weeks. Cutane-
Cutaneous Nocardia infections usually represent metastatic foci       ous cryptococcal infections may appear as papules (often simi-
of infection that have originated from a primary pulmonary            lar to molluscum contagiosum lesions), nodules, pustules,
source [230]. Nocardia farcinica, Nocardia brasiliensis, and          chronic draining necrotic ulcers, or, more subtly, as cellulitis
other Nocardia species have been associated with cutaneous dis-       [235]. Cryptococcal cellulitis has occurred in recipients of
ease. The dermatologic manifestations are usually limited to          blood, bone marrow, or SOT, although the incidence has dra-
subcutaneous nodules or abscesses and panniculitis. Soft tissue       matically decreased with the prophylactic use of the newer
abscesses are frequently painless and are described as being cold     azole agents, particularly ﬂuconazole. Fluconazole is often
to the touch. The incidence of local and disseminated Nocardia        used as initial treatment, for patients with mild infections, or




                                                                                                                                            Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
infections has decreased with the routine use of SMX-TMP              to complete treatment after the patient has shown clinical and
prophylaxis for patients who experience prolonged periods of          microbiologic improvement with amphotericin B and 5-ﬂucy-
cellular immune deﬁciency. SMX-TMP remains the treatment              tosine induction therapy [236]. Surgical debridement and/or
of choice, but other sulfa antibiotics (eg, sulfadiazine and sulfa-   drainage are not helpful in the management of skin or soft tis-
soxazole), amikacin, imipenem, meropenem, third-generation            sue cryptococcal infections.
cephalosporins (ceftriaxone and cefotaxime), minocycline, ex-            Cutaneous manifestations of acute progressive disseminated
tended-spectrum ﬂuoroquinolones (eg, moxiﬂoxacin), linezol-           histoplasmosis are rare and usually occur in patients with severe
id, and dapsone are effective in vitro and in animal models           cellular immune deﬁciency [237, 238]. Skin lesions appear as
(Table 6). Combination therapy with other agents should be            nonspeciﬁc maculopapular eruptions that become hemorrhag-
considered in patients with severe infections or profound and         ic, but oral or cutaneous ulcers are sometimes present, particu-
lasting immunodeﬁciency. Prolonged therapy is important,              larly in the subacute, disseminated form of the disease.
and the duration of treatment (6–24 months) should take               Histopathologic analysis of these skin lesions reveals necrosis
into account the presence of disseminated disease and the ex-         surrounding the superﬁcial dermal vessels, and with special
tent of the patient’s underlying immunosuppression. Surgical          stains, both intracellular and extracellular yeast may be seen.
debridement is recommended for necrotic nodules or large sub-         Prompt administration of amphotericin B therapy is the recom-
cutaneous abscesses.                                                  mended treatment for patients with cellular immune deﬁciency
                                                                      and acute, life-threatening, progressive disseminated histoplas-
Fungi                                                                 mosis. Patients often show a rapid clinical improvement within
Cutaneous mold infections have been increasingly reported in          1–2 weeks, and itraconazole can then replace amphotericin B to
immunocompromised patients with primarily cellular immu-              complete at least 6–12 months of treatment [237]. Patients with
nodeﬁciency. Skin lesions can occur as a manifestation of a dis-      illnesses that result in profound and prolonged immune sup-
seminated disease, a primary cutaneous inoculation, or in the         pression should receive long-term suppressive therapy with itra-
skin site of a previous IV line [221, 230]. The most common           conazole after the initial treatment course is complete.
molds causing cutaneous manifestations in these patients in-
clude Aspergillus, Mucormycosis, Scedosporium, and Fusarium           Viruses
species [231–234]. Skin lesions can present as papules, nodules,      VZV is one of the 2 most frequent herpesviruses to cause cuta-
or ulcers, or with the dermatological appearance of ecthyma           neous infection in immunosuppressed patients [239]. Patients
gangrenosum. Skin biopsy should be performed for diagnostic           without a preceding history of VZV exposure are at signiﬁcant
purposes and resection of the entire lesion or “debulking” pro-       risk of developing severe chickenpox if exposed, but herpes zos-
cedures should be considered in cases where there is either a         ter (also known as shingles) with or without dissemination is a
single lesion or localized disease is present. In instances of As-    more frequent clinical concern. Between 65% and 70% of adult
pergillus species, Scedosporium apiospermum, and Fusarium             patients are seropositive for VZV, and this identiﬁes those pa-
species infections, voriconazole is the best therapeutic option.      tients at risk for future reactivation infection. Herpes zoster oc-
Amphotericin B is an excellent alternative. Posaconazole is           curs most frequently during the ﬁrst year following
also a reasonable alternative in combination with amphotericin        chemotherapy treatment, or following receipt of an HSCT or
B or as a transition to oral therapy (Table 7).                       a SOT. Depending on the intensity of treatment or type of trans-
   Cryptococcal infections originate in the lungs, often with         plant, 25%–45% of such patients develop dermatomal zoster,
early hematogenous dissemination to the meninges and skin             with a 10%–20% risk of developing dissemination without
or soft tissues, but primary cutaneous cryptococcosis also oc-        prompt and effective antiviral therapy. A few patients present
curs [235]. Single or multiple painless skin lesions involving        initially with disseminated cutaneous infection that may
the face and scalp develop in 5%–10% of clinically infected pa-       mimic atypical varicella, but some patients may present with
tients, and in some patients, these lesions may precede               nonspeciﬁc lesions that do not initially have the vesicular


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appearance of varicella. Herpes zoster typically causes a unilat-     Suppression of HSV reactivation or continued treatment until
eral, vesicular eruption with dermatomal pain that often pre-         the ulcerated skin or mucosal lesions have totally healed may
cedes the skin ﬁndings by 24–72 hours (and sometimes                  decrease the incidence of infections caused by acyclovir-resis-
longer). Early lesions are erythematous macules that rapidly          tant HSV strains.
evolve to papules and then to vesicles. The vesicles frequently          The treatment of acyclovir-resistant HSV isolates requires a
coalesce, form bullae, and scab before healing. Lesions in other-     prolonged course of intravenous foscarnet, but continuous infu-
wise healthy hosts continue to erupt for at least 4–6 days, with      sion of high-doses of acyclovir has been reported to be success-
the entire disease duration being approximately 2 weeks. How-         ful in HSCT patients [242]. Surgery should be avoided in
ever, among immunocompromised hosts, skin lesions may con-            patients with HSV infections, unless a documented bacterial




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tinue to develop over a longer period (7–14 days) and generally       or fungal abscess is identiﬁed.
heal more slowly unless effective antiviral therapy is adminis-
tered. Without adequate treatment, some immunocompro-
                                                                      Parasites
mised patients develop chronic ulcerations with persistent
                                                                      The skin and soft tissue structures of immunosuppressed pa-
viral replication that is complicated by secondary bacterial
                                                                      tients can also rarely be affected by parasites, including but
and fungal superinfections.
                                                                      not limited to Strongyloides stercoralis [242], free-living ameba
   High-dose IV acyclovir remains the treatment of choice for
                                                                      (Acanthamoeba species and Balamuthia species) [243], Trypa-
VZV infections in compromised hosts. Oral acyclovir, famciclo-
                                                                      nosoma cruzi (Chagas disease) [244], and Sarcoptes scabiei
vir, and valacyclovir are beneﬁcial for VZV infections in other-
                                                                      (Norwegian scabies) [245]. A high index of suspicion, a careful
wise healthy hosts, but oral therapy should be reserved for mild
                                                                      medical history, and early skin biopsy are important for success-
cases of VZV disease in patients with transient immune sup-
                                                                      ful diagnosis and successful treatment.
pression or as treatment to complete therapy once the patient
has shown a clinical response to IV acyclovir. Recipients of al-
logeneic blood and bone marrow transplants routinely take acy-        FUTURE DIRECTIONS
clovir (800 mg bid) or valacyclovir (500 mg bid) during the ﬁrst
year following transplant for the prevention of VZV and HSV           Highly speciﬁc treatment directed against an identiﬁed patho-
reactivation [240]. Should skin lesions suspicious of VZV or          gen is the ultimate goal of clinical practitioners. In terms of di-
HSV develop in patients already taking such antivirals, antiviral     agnosis, we currently face major problems in the rapid
resistance should be investigated and taken into account in the       identiﬁcation of the pathogen and thus we must still rely on
selection of the empiric regimen.                                     clinical skills and experience. The ﬁrst decision pathway in-
   HSV infections in compromised hosts are almost exclusively         volves determining if the SSTI is caused by an endogenous or
due to viral reactivation. Orofacial and genital sites are the most   exogenous pathogen. Endogenous pathogens can be largely re-
common cutaneous locations, but autoinoculation can occur in          stricted to S. aureus or streptococcal species such as groups A, B,
almost any area. Infections of the ﬁngernail bed and cuticle          C, or G, and together these account for the vast majority of
(herpetic whitlow) occur because of inoculation of HSV at epi-        SSTIs. Previously, the empiric treatment of SSTIs of endoge-
dermal sites.                                                         nous origin was relatively easy because semisynthetic penicillin,
   Skin lesions are often preceded by localized pain or a tingling    cephalosporins, erythromycin, and clindamycin were effective
sensation. Early skin lesions are usually focal, erythematous,        treatment of both S. aureus and streptococcal species. Recently,
and maculopapular lesions that evolve to form thin-walled ves-        resistance of S. aureus to methicillin, erythromycin, clindamy-
icles and then pustulate before becoming small ulcers. Lesions        cin, tetracycline, and SMX-TMP has dramatically increased and
frequently coalesce, and chronic, poorly healing ulcers are char-     resistance of streptococci to erythromycin and clindamycin has
acteristic of HSV infections among immunocompromised                  been reported as well. Therefore, in the future it will be more
hosts. Ulcerative lesions rarely include a vesicular component        important than ever to base treatment on cultures and sensitiv-
and thus make the clinical diagnosis of a chronic HSV infection       ities. In nonpurulent cellulitis, the clinical isolation rate of a
difﬁcult. Blood-borne HSV dissemination, manifested by mul-           pathogen is <20%. This leaves the modern clinician with an un-
tiple vesicles over a widespread area of the trunk or extremities,    conﬁrmed diagnosis 80% of the time.
is uncommon, but when seen among compromised hosts, it is                Therefore, this panel supports continued research into the
usually secondary to an HSV-2 infection. Acyclovir is the treat-      rapid diagnosis of causes of cellulitis speciﬁcally, but SSTIs in
ment of choice for HSV infections, although famciclovir and va-       general. This is of particular importance as the FDA has re-
lacyclovir are also highly effective. The development of              quired inclusion of patients with cellulitis into clinical trials.
acyclovir-resistant HSV isolates is well described and occurs         This poses a dilemma for the pharmaceutical industry and in-
more frequently among immunocompromised patients [241].               vestigators as identiﬁcation of a speciﬁc pathogen, as part of the


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inclusion criteria, is necessary for enrollment in the clinical                      for honoraria from Bayer, Merck, Wyeth-Ayerst, AstraZeneca, Pﬁzer,
                                                                                     Ortho-McNeil, Cubist, Vicuron, InterMune, Peninsula, Johnson & Johnson,
trial.
                                                                                     Cepheid, Replidyne, Kimberley-Clark, Targanta, Schering-Plough, Enturia,
   The priorities for further research are as follows:                               Optimer Pharmaceuticals, Cadence, Implicit, Cardinal, Durata, 3M, Applied
                                                                                     Medical, and BD-GeneOhm; and has received a clinical trial grant from
  1. Rapid and speciﬁc diagnostic assays are needed for iden-
                                                                                     Tetraphase. E. J. C. G. has served as a consultant to Schering-Plough, Vir-
tiﬁcation of microbes that cause cellulitis.                                         aPharm, Replidyne, Occulus Innovative Sciences, Theravance, Cerexa,
  2. Inexpensive agents are needed that are effective against                        Merck, and Optimer Pharmaceuticals; has received honoraria from
                                                                                     Merck, Johnson & Johnson; and has received research grants from Repli-
groups A, B, C, and G streptococci as well as staphylococci in-
                                                                                     dyne, Occulus Innovative Sciences, Cubist, Theravance, Pﬁzer, Cerexa,
cluding MRSA.                                                                        Johnson & Johnson, Merck, and Optimer Pharmaceuticals. S. L. G. has re-




                                                                                                                                                                        Downloaded from https://academic.oup.com/cid/article-abstract/59/2/e10/2895845 by Washington Hospital Center user on 05 March 2019
  3. Investigations are needed to determine the pathogenesis of                      ceived stocks/bonds from Optimer Pharmaceuticals, Cubist Pharmaceuti-
soft tissue infections caused by streptococci. This should in-                       cals, and Cempra Pharmaceuticals has received honoraria from IDSA
                                                                                     (Editor, Clinical Infectious Diseases); has served as a consultant to Cempra
clude the respective roles of toxins and host response molecules                     Pharmaceuticals; and has received grants from the National Institutes of
in the genesis of redness, swelling, pain, and edema.                                Health. S. L. K. has served as a consultant to Novartis, Pﬁzer, and Wyeth;
  4. Clinical trials should be performed that include patients                       has been a site PI for Cubist, Cerexa, and Optimer; and has received hono-
                                                                                     raria from UpToDate and Merck. All other authors report no potential
with severe soft tissue infections (eg, necrotizing fasciitis and
                                                                                     conﬂicts.
gas gangrene) and immunocompromised patients. The lack of                               All authors have submitted the ICMJE Form for Disclosure of Potential
evidence-based approaches results in clinical decisions being                        Conﬂicts of Interest. Conﬂicts that the editors consider relevant to the con-
                                                                                     tent of the manuscript have been disclosed.
made based on physicians’ best opinion, or extrapolation
from other patient populations.
  5. Investigations should determine host and pathogen fac-                          References
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  6. Larger clinical trials should determine if anti-inﬂammato-
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and erysipelas.                                                                           sus on rating quality of evidence and strength of recommendations.
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                                                                                       3. Guyatt GH, Oxman AD, Kunz R, Vist GE, Falck-Ytter Y, Schunemann
streptococci in terms of preferred agents, doses, and duration of                         HJ. What is “quality of evidence” and why is it important to clinicians?
therapy is needed to improve outcomes and potentially reduce                              BMJ 2008; 336:995–8.
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The panel thanks the IDSA for supporting the development of this guideline                CA Jr. Increased US emergency department visits for skin and soft tis-
and speciﬁcally, Vita Washington for her continued support throughout the                 sue infections, and changes in antibiotic choices, during the emer-
guideline development process. We thank Irene Collie and Dr Amy                           gence of community-associated methicillin-resistant Staphylococcus
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quires full disclosure of all relationships, regardless of relevancy to the guide-        Public Health Service on Clinical Practice Guidelines, United States.
line topic. Evaluation of such relationships as potential conﬂicts of interest is         Department of Health and Human Services. Clinical practice guide-
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